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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

STEVEN TERRY, ) CASE NO.
25805 Fairmount Boulevard )
Apartment 110 )
Beachwood, Ohio 44122-2230 )
) JUDGE:
Plaintiff,
Vv.
COMPLAINT

SHARON L. KENNEDY,

c/o The Supreme Court of Ohio
65 South Front Street
Columbus, Ohio 43215-343 1,

PATRICK F. FISCHER,

c/o The Supreme Court of Ohio
65 South Front Street
Columbus, Ohio 43215-3431,

R. PATRICK DEWINE,

c/o The Supreme Court of Ohio
65 South Front Street
Columbus, Ohio 43215-3431,

MICHAEL P. DONNELLY,
c/o The Supreme Court of Ohio
65 South Front Street
Columbus, Ohio 43215-3431,

MELODY J. STEWART,

c/o The Supreme Court of Ohio
65 South Front Street
Columbus, Ohio 43215-3431,

JENNIFER BRUNNER,

c/o The Supreme Court of Ohio
65 South Front Street
Columbus, Ohio 43215-3431,

JOSEPH T. DETERS,
c/o The Supreme Court of Ohio
65 South Front Street

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Columbus, Ohio 43215-3431, )

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THE SUPREME COURT OF OHIO,
65 South Front Street
Columbus, Ohio 43215-343] ,

Defendants.

Plaintiff Steven Terry, by and through undersigned counsel, for his Complaint, states as
follows:

PRELIMINARY STATEMENT

1. Plaintiff brings this action exclusively as a general challenge to the constitutionality
of the rules, regulations, policies, procedures, and practices of Defendants, including, but not

limited to, Ohio Supreme Court Rules for the Government of the Bar, Rule V, Section 12(B).

PARTIES
2. Plaintiff Steven Terry is a citizen of the United States of America and the State of
Ohio, residing in Cuyahoga County.
3. Defendant The Supreme Court of Ohio is tasked with the responsibility of

regulating and controlling the practice of law in Ohio and has exclusive authority to promulgate
disciplinary rules governing the Bar.

4, Defendant Sharon L. Kennedy is, and at all times relevant herein, has been, the
Chief Justice of The Supreme Court of Ohio. Defendant Sharon L. Kennedy is sued herein in her
official and individual capacities.

5, Defendant Patrick F. Fischer is, and at all times relevant herein, has been, a Justice
of The Supreme Court of Ohio. Defendant Patrick F . Fischer is sued herein in his official and

individual capacities.

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6. Defendant R. Patrick DeWine is, and at all times relevant herein, has been, a Justice
of The Supreme Court of Ohio. Defendant R. Patrick DeWine is sued herein in his official and
individual capacities.

7. Defendant Michael P. Donnelly is, and at all times relevant herein, has been, a
Justice of The Supreme Court of Ohio. Defendant Michael P. Donnelly is sued herein in his
official and individual capacities.

8. Defendant Melody J. Stewart is, and at all times relevant herein, has been, a Justice
of The Supreme Court of Ohio. Defendant Melody J. Stewart is sued herein in her official and
individual capacities.

9. Defendant Jennifer Brunner is, and at all times relevant herein, has been, a Justice
of The Supreme Court of Ohio. Defendant Jennifer Brunner is sued herein in her official and
individual capacities.

10. Defendant Joseph T. Deters is, and at all times relevant herein, has been, a Justice
of The Supreme Court of Ohio. Defendant Joseph T. Deters is sued herein in his official and
individual capacities.

11. Defendants Sharon L. Kennedy, Patrick F. Fischer, R. Patrick DeWine, Michael P.
Donnelly, Melody J. Stewart, Jennifer Brunner, and Joseph T. Deters, and each of them, exercise,
and at all times relevant herein have exercised, the ultimate power and final authority to establish
the rules, regulations, policies, practices, and procedures concerning the government of the Bar in
the State of Ohio, including, but not limited to, reinstatement to the Bar, and they have each
exercised that authority in an unconstitutional manner as set forth herein. Also, Defendants Sharon

L. Kennedy, Patrick F. Fischer, R. Patrick DeWine, Michael P. Donnelly, Melody J. Stewart,

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Jennifer Brunner, and Joseph T. Deters, and each of them, directly took action pursuant to an
unconstitutional governmental policy or custom as set forth herein.

12. Defendants Sharon F. Kennedy, Patrick F. Fischer, R. Patrick DeWine, Michael P.
Donnelly, Melody J. Stewart, Jennifer Brunner, and Joseph T. Deters, and each of them, acted
under the color of law and caused deprivations of clearly established constitutional and/or federal
rights.

13. Defendants Sharon F. Kennedy, Patrick F. Fischer, R. Patrick DeWine, Michael P.
Donnelly, Melody J. Stewart, Jennifer Brunner, and Joseph T. Deters, and each of them, have
maintained their official residence and/or have performed their official duties in Franklin County,
Ohio.

JURISDICTION AND VENUE

14. Jurisdiction is founded upon 28 U.S.C. §1343(a)(3) and (4) providing for the
original jurisdiction of the Court in any civil action authorized by law to redress the deprivation,
under the color of any law, statute, ordinance, regulation, custom, or usage of any right, privilege,
or immunity secured by the Constitution of the United States, or by any Act of Congress providing
for the civil or equal rights of citizens within the jurisdiction of the United States.

15. 42 U.S.C. §1983 is an Act of Congress providing for the protection of civil rights
of persons within the jurisdiction of the United States.

16. Jurisdiction is also found on 28 U.S.C. §1331 providing for the original jurisdiction
of this Court in all civil actions arising under the Constitution, laws, or treaties of the United States.

17. Plaintiff's claim for declaratory and injunctive relief is authorized by 28 U.S.C.
§2201 and §2202, by Rules 57 and 65 of the Federal Rules of Civil Procedure, and/or by the general

legal and equitable powers of the Court.
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18. Venue in this judicial district is proper pursuant to 28 U.S.C. §1391(b) because at
least one Defendant resides in this judicial district and a substantial part of the events or omissions
giving rise to the claims in this Complaint occurred in this judicial district.

19. There is no adequate remedy at law and deprivations of constitutional rights will
continue if the challenged rules, conduct, policies, and procedures remain,

20. Immunity under the Eleventh Amendment is inapplicable to Defendants insofar as
prospective injunctive and declaratory relief is sought as suits challenging the constitutionality of
a state official’s actions are not suits against the state. Ex Parte Young, 209 U.S. 123, 28 S. Ct. 44]
(1908).

FACTS

21. Plaintiff, an African American male, was admitted to the practice of law in the State
of Ohio on May 8, 1989.

22. — After gaining admittance, Plaintiff dedicated his craft to public service in various
capacities including Assistant Municipal Prosecutor for the City of Akron, Assistant Cuyahoga
County Prosecutor, Chief Counsel for the Law Department of the City of Cleveland, Assistant
Director for the Public Safety Department, and Director of Justice Affairs Department for
Cuyahoga County. Plaintiff was highly regarded among his professional peers and within his
community. Not once was Plaintiff subject to any grievance, sanction, or other form of discipline.

23. In April 2007, Governor Ted Strickland appointed Plaintiff to fill an open seat on
the Cuyahoga County Court of Common Pleas. Plaintiff had to run for election in November 2008
to retain this position. That election marked the first time Plaintiffran fora public position. During
the campaign, Cuyahoga County Auditor Frank P. Russo, regarded as one of the most influential

politicians in Cuyahoga County, provided substantial guidance and support to Plaintiff

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24. After his appointment, Plaintiff inherited many pending court cases, including K &
L Excavation, Ltd. v. Auburn Building Company, et al., Case No. CV-03-515172 and Avon Poured
Wall, Inc. v. Brian Lane, et al., Case No. CV-04-519620. Opposing motions for summary
judgment were filed in those matters. At some point, Frank P. Russo contacted Plaintiff and asked
him to deny one of the motions for summary judgment; and ultimately, Plaintiff signed an entry to
that effect, which according to expert testimony, was the appropriate ruling. Plaintiff did not
disclose his communication with Frank P. Russo to the parties involved in the K & L Excavation
and Avon Poured Wall cases.

25. On September 14, 2010, a five-count sndictment was filed against Plaintiff alleging
conspiracy to commit mail fraud and honest services mail fraud, mail fraud, and honest services
mail fraud. United States v. Terry, Case No. 1:10-CR-390 (N.D. Ohio 2010).

26. On June 13, 2011, the jury found Plaintiff guilty of Count One [conspiracy to
commit mail fraud and honest services mail fraud], Count Three [honest services mail fraud], and
Count Four [honest services mail fraud]. Plaintiff was acquitted of the two remaining counts
[including the issue of improper rulings in the K & L Excavation and Avon Poured Wall cases and
accepting gifts, payments, and other things of value from Frank P. Russo for his campaign].

27. Plaintiff was sentenced to sixty-three months incarceration and ordered to pay
restitution. Plaintiff was further sentenced to two years of supervised release and ordered to
complete 250 hours of community service, to be served following his release from federal
incarceration.

9g. Disciplinary proceedings before The Supreme Court of Ohio ensued, and through
a decision of February 25, 2016, The Supreme Court of Ohio permanently disbarred Plaintiff

(“Disbarment Order”).
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29. One justice dissented in that decision, recognizing that disbarment is the functional
equivalent of the death penalty for a lawyer. The justice further recognized the inequities arising
from Defendants’ rules, regulations, policies, procedures, and practices as evidenced by the
differing treatment and discipline issued against other attorneys. For example, Bridget McCafferty
was another judge on the Cuyahoga County Court of Common Pleas who was indicted and
convicted as part of the Cuyahoga County justice-for-sale corruption scandal. Ms. McCafferty
lied to federal agents and used her judicial position to orchestrate a settlement to benefit a friend
of Frank P. Russo. There was no meaningful difference between the conduct of Ms. McCafferty
and the conduct of Plaintiff. The only discernible difference between the two cases is that Ms.
McCafferty is a Caucasian female, and Plaintiff is an African American male. The Supreme Court
of Ohio indefinitely suspended Ms. McCafferty.

30, Another example exposing the inequities arising from Defendants’ rules,
regulations, policies, procedures, and practices is the treatment of Marc Dann. Mr. Dann served
as Attorney General of Ohio at the time of his misconduct. He entered an A/ford plea to the charge
of soliciting improper compensation and pled guilty to filing false financial disclosures. For this,
Mr. Dann received a mere six-month suspension of his law license. His license was subsequently
reinstated, and he holds an “active” license to practice law in Ohio today.

31. Eight years have passed since the Disbarment Order, during which time Plaintiff
has worked tirelessly to rehabilitate himself, serve his community, and better his fitness and moral

character.
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32. Under Ohio’s disciplinary rules, disbarment is permanent and marks the end of a
person’s ability to practice law. Gov. Bar. R. V, Section 12(B) (hereafter “Disbarment Rule”)
provides:

Disbarment or Resignation. A person who is disbarred, who has resigned with
discipline pending, or, who has retired from the practice of law on or after
September 1, 2007 shall not be readmitted to the practice of law in Ohio.

33. In contrast, Ohio’s disciplinary rules, Gov. Bar. R. V, Section 25 entitled
“Reinstatement Proceedings; Indefinite Suspension,” allows a person who has been indefinitely
suspended to petition The Supreme Court of Ohio for reinstatement to the practice of law two
years after imposition of the suspension.

34. Gov. Bar. R. V, Section 25(B) sets forth the requirements for reinstatement. In
addition to certain procedural requirements, the rule instructs that the attorney:

(5) [e]stablish by clear and convincing evidence that he or she possesses all the
mental, educational, and moral qualifications that were required of an applicant
for admission to the practice of law in Ohio at the time of his or her original
admission and that he or she is now a proper person to be readmitted to the
practice of law in Ohio, notwithstanding the previous disciplinary action.

35. Thus, persons who have been indefinitely suspended by Defendants may petition
for reinstatement to the Bar, whereas all persons who have been disbarred by Defendants (hereafter
“Disbarred Person” or “Disbarred Persons” of which Plaintiff is one) may not petition for
reinstatement, regardless of their fitness and moral character at the time reinstatement is requested.

36. Defendants have the final say on whether to reinstate a person to the practice of
law.

37. In the past, the Clerk of Courts for The Supreme Court of Ohio has been instructed
to refuse and not accept any petition for reinstatement filed by a Disbarred Person.

38. Following his rehabilitative efforts, Plaintiff without success sought reinstatement.

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39. Specifically, on January 19, 2024, Plaintiff filed a Motion to Vacate Judgment, or
Alternatively, Motion for Waiver of Gov. Bar. R. V(12)(B) (“Motion to Vacate”). See Exhibit 1.

40. On March 4, 2024, Chief Justice Sharon L. Kennedy entered an Order denying the
Motion to Vacate. No substantive opinion was provided. See Exhibit 2.

Al. Ohio’s “no-redemption” approach differs from most other jurisdictions. The
overwhelming majority of states and the District of Columbia allow disbarred persons to reapply
for reinstatement to the bar.

42. The continued enforcement of the Disbarment Rule along with the other
unconstitutional policies and practices addressed herein are ongoing violations of federal law and
rights, for which Plaintiff seeks prospective injunctive and declaratory relief.

43, The harm from the Disbarment Rule is real, immediate, and continuing as to all

persons affected, including Plaintiff.

FIRST CAUSE OF ACTION
(Fourteenth Amendment - Due Process)

44, Plaintiff reasserts and realleges each of the foregoing Paragraphs of the Complaint
as if fully restated.

45. The Fourteenth Amendment to the United States Constitution prohibits the
deprivation of a person’s life, liberty, or property without due process of law.

46. Under principles of substantive due process, a rule or law that impacts or limits a
constitutional right is only valid if it promotes a compelling governmental interest.

47, There is a constitutionally protected liberty interest in pursuing one’s chosen
profession, calling, or occupation. Partington vy. Houck, 840 F. Supp. 2d 236 (D.C. 2012).

48. The right to practice law is a fundamental right within the meaning of Baldwin vy.

Montana Fish & Game Commission, 436 U.S. 371, 98 S. Ct. 1852, 56 L.Ed.2d 354 (1978).
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49. An attorney has a property interest in his law license. Danner v. Commission on
Continuing Education, Case No. 3:06-0687, 2008 WL 1859964, *6 (M.D. Tenn. April 22, 2008).

50. The Disbarment Rule, which prohibits a Disbarred Person from so much as
applying for reinstatement under any circumstance, regardless of rehabilitation and present fitness
and moral character, deprives a person’s liberty interest in pursuing one’s chosen profession.

51. The Disbarment Rule, which prohibits a Disbarred Person from so much as
applying for reinstatement under any circumstance, regardless of rehabilitation and present fitness
and moral character, deprives Disbarred Persons of their fundamental right to practice law.

52. The Disbarment Rule, which prohibits a Disbarred Person from so much as
applying for reinstatement under any circumstance, regardless of rehabilitation and present fitness
and moral character, deprives Disbarred Persons of their property.

53. The Disbarment Rule deprives Disbarred Persons of due process by rendering
disbarment a “death sentence” as there is no possibility of reinstatement.

$4. There is no rational justification for an outright ban on the consideration of

reinstatement of Disbarred Persons.

55. A prior arrest record or bad acts are not a litmus test to ascertain present moral
character.
56. The Disbarment Rule does not promote a compelling governmental interest.

57. Defendants, through the Disbarment Rule, created an irrefutable presumption of
ongoing unfitness to practice law, which denies due process by depriving Disbarred Persons a
fundamental right to rehabilitation, property, and the liberty interest to pursue their chosen

profession.
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58. To arbitrarily and immutably ban the opportunity to seek reinstatement to the Bar,
regardless of a subsequent demonstrated record of rehabilitation, good conduct, and clean living,
is harsh, unremitting, and unconstitutional.

59.  Disbarred Persons are deprived of clearly established rights, privileges, and
‘mmunities secured by the Fourteenth Amendment to the United States Constitution, and laws
enacted thereunder, by reason of the Disbarment Rule and ancillary procedures and practices,
which are created, implemented, exercised, and enforced by Defendants.

SECOND CAUSE OF ACTION
(Fourteenth Amendment — Equal Protection)

60. Plaintiff reasserts and realleges each of the foregoing Paragraphs of the Complaint
as if fully restated.

61. The Fourteenth Amendment to the United States Constitution prohibits denial of
equal protection of the laws.

62. A State cannot exclude a person from the practice of law or from any other
occupation in a manner or for reasons that contravene the Equal Protection Clause of the
Fourteenth Amendment. Dent v. State of West Virginia, 129 U.S. 114, 9S. Ct. 231, 32 L. Ed. 623
(1889) (noting it is unconstitutional to prohibit a person from practicing law based on past conduct
when current conduct demonstrates high ideals, a deep sense of social justice, and good character).

63. The Disbarment Rule violates the Equal Protection Clause by irrationally
precluding a Disbarred Person from petitioning for reinstatement regardless of rehabilitation,
circumstance, or present fitness and moral character.

64. Defendants deprive Disbarred Persons equal protection by allowing first time
applicants to the Bar with criminal records and persons who have been indefinitely suspended to

demonstrate rehabilitation and present fitness and moral character, but not Disbarred Persons.

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65. It is a violation of the Equal Protection Clause to allow some persons to practice

law upon proof of rehabilitation or present fitness and moral character, regardless of prior acts, but

to deny that same opportunity to Disbarred Persons.

66. To arbitrarily and immutably cut off the opportunity to seek reinstatement to the

Bar, regardless of a subsequent demonstrated record of rehabilitation, good conduct, and clean

living, is harsh, unremitting, and unconstitutional.

67.  Disbarred Persons are deprived of clearly established rights, privileges, and

immunities secured by the Fourteenth Amendment to the United States Constitution, and laws

enacted thereunder by reason of the Disbarment Rule and ancillary policies and procedures, which

are created, implemented, exercised, and enforced by Defendants.

THIRD CAUSE OF ACTION
(Eighth Amendment — Excessive Fines)

68. Plaintiff reasserts and realleges each of the foregoing Paragraphs of the Complaint

as if fully restated.

69. The Eighth Amendment protects against excessive civil fines, including forfeitures.

Hudson v. United States, 522 U.S. 93, 118 S. Ct. 488, 495, 139 L.Ed.2d 450 (1997).

70. The Disbarment Rule has punitive implications insofar as it forever denies a

Disbarred Person from seeking reinstatement to the Bar.

71. The Disbarment Rule is a punitive forfeiture that violates the Excessive Fines

Clause as the penalty (permanent disbarment with no opportunity to petition for reinstatement) is

grossly disproportional to the gravity of a person’s offense and gives no consideration to concepts

of rehabilitation or present fitness and moral character.

72. Disbarred Persons are deprived of clearly established rights, privileges, and

immunities secured by the Eighth Amendment to the United States Constitution, and laws enacted

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thereunder by reason of the Disbarment Rule and ancillary policies and procedures, which are

created, implemented, exercised, and enforced by Defendants.

FOURTH CAUSE OF ACTION
(First and Fourteenth Amendments - Denial of Access to Courts)

73. Plaintiff reasserts and realleges each of the foregoing Paragraphs of the Complaint
as if fully restated.
74. The First and Fourteenth Amendments protect the rights of individuals to seek
access to courts. Efforts by state actors to impede an individual’s access to courts or administrative
agencies present the basis for a constitutional claim.
75. Defendants have instructed and continue to instruct the Clerk of Courts for the
Supreme Court of Ohio to refuse to accept petitions for reinstatement, thereby denying Disbarred
Persons access to courts for purposes of having a petition for reinstatement presented and heard.
76. By reason of the foregoing conduct of Defendants, Disbarred Persons are deprived
of rights, privileges, and immunities secured by the First and F ourteenth Amendments to the
United States Constitution and laws enacted thereunder.
WHEREFORE, Plaintiff Steven James Terry, as to each and every count against each and
every Defendant herein, respectfully requests this Honorable Court to enter judgment as follows:
A. A declaration that the Disbarment Rule is in violation of the United States
Constitution and cannot be enforced.

B. A declaration that persons disbarred by order of The Supreme Court of Ohio may
petition The Supreme Court of Ohio for reinstatement, and that the petition will be
heard in the same manner and under the same standards as persons who The

Supreme Court of Ohio indefinitely suspended.

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C. Prospective and permanent injunctive relief restraining Defendants from applying
the Disbarment Rule, and instead allowing persons disbarred by order of The

Supreme Court of Ohio to petition for reinstatement, such that the petition will be

__ heard in the same manner and under the same standards as persons who The

Supreme Court of Ohio indefinitely suspended.

D. Award Plaintiff reasonable attorneys’ fees and litigation costs, and
E. Award whatever further legal and/or equitable relief this Court deems just and
proper.

Respectfully submitted,

WO A )

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IN THE SUPREME COURT OF OHIO

DISCIPLINARY COUNSEL, )
) CASE NO. 2014-2157

Relator, )

)

)

Vv. )

)

STEVEN JAMES TERRY, )

)

Respondent. )

)

)

MOTION OF STEVEN JAMES TERRY TO VACATE JUDGMENT, OR
ALTERVATIVELY, MOTION FOR WAIVER OF GOV. BAR. R. V(12)(B)

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I. INTRODUCTION

It is often said that failure makes one stronger, wiser, better. People make mistakes. But
people can learn from their mistakes too. No one is altogether beyond redemption. This ideology
is no stranger to this Honorable Court. For decades, the Court has recognized that people can
change and turn their lives around. The present-day bar is filled with attorneys who have overcome
any number of obstacles, from addiction to theft to fraud. Steven James Terry (“Mr. Terry”) is no
different.

Mr. Terry acknowledges he made serious mistakes. But seven years have passed since the
Court disbarred him for his mistakes. Since that time, Mr. Terry has made significant strides to
better himself and to become an asset to his community. Since his release from federal prison
camp in December 2015, Mr. Terry has focused on serving the public good and building
community through “commitment, camaraderie, and collaboration.” He has worked as a
consultant for Neighborhood Development Corporation, providing affordable housing for
impoverished and underprivileged citizens. He has worked with senior citizens throughout
Northeast Ohio, assisting with their specific care needs. Mr. Terry has held several leadership
positions in his church and is an active volunteer in his resident City of Beachwood. Among other
activities, he championed a job mentoring program to assist underemployed and unemployed
community members, he initiated a re-entry program to assist individuals returning to the
community after incarceration, even providing transportation, and he helped develop the
Beachwood Community Garden, which provides opportunities to seniors and individuals with
challenges. Moreover, counseling and hours of personal self-reflection have strengthened Mr.
Terry’s moral compass. Mr. Terry has proven himself a model citizen, volunteer, and contributor
to his community. He wishes to continue his public service by working in criminal defense and

civil rights, advocating for criminal defendants and those harmed through civil injustice.
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The primary purpose of a disciplinary sanction is to protect the public and the integrity of
the judicial system, not to punish the offender. This purpose is not served by forever denying Mr.
Terry the opportunity to gain reinstatement to the bar. Mr. Terry is not a threat to the public nor
to the integrity of the judicial system. No laudatory purpose is served by holding Mr. Terry captive
to his past. Mr. Terry has served his criminal sentence, and he has worked hard to rehabilitate
himself and regain community trust. Equity commands that Mr. Terry be afforded the opportunity
to be heard on the issue of reinstatement. Doing so furthers the bedrock principle of rehabilitation
that has been a cornerstone of the Court’s regulation of the bar.

Il. STATEMENT OF FACTS

Steven James Terry, an African American male, was admitted to the practice of law in the
State of Ohio on May 8, 1989. After gaining admittance, Mr. Terry dedicated his craft to public
service in various capacities including Assistant Municipal Prosecutor for the City of Akron,
Assistant Cuyahoga County Prosecutor, Chief Counsel for the Law Department of the City of
Cleveland, Assistant Director for the Public Safety Department, and Director of Justice Affairs
Department for Cuyahoga County. Mr. Terry was highly regarded among his professional peers
and within his community. Not once was Mr. Terry subject to any grievance, sanction, or other
form of discipline.

In April 2007, Governor Ted Strickland appointed Mr. Terry to fill an open seat on the
Cuyahoga County Court of Common Pleas. Mr. Terry had to run for election in November 2008
to retain this position. That election marked the first time Mr. Terry ran for a public position.
During the campaign, then Cuyahoga County Auditor Frank P. Russo, regarded as one of the most
influential politicians in Cuyahoga County, provided substantial guidance and support to Mr.

Terry.

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After his appointment, Mr. Terry inherited many pending court cases, including K & L
Excavation, Ltd. vy. Auburn Building Company, et al., Case No. CV-03-515172 and Avon Poured
Wall, Inc. v. Brian Lane, et al., Case No. CV-04-519620. The K & L Excavation and Avon Poured
Wall cases involved a multiparty civil foreclosure action arising out of the construction of a home
by Brian and Erin Lane (collectively “the Lanes’). As part of the litigation, American Home Bank
sought $190,000 in damages from the Lanes. On November 27, 2006, the Lanes filed a motion
for summary judgment, and on March 28, 2008, American Home Bank filed a motion for summary
judgment. At some point, Frank Russo contacted Mr. Terry and asked him to deny American
Home Bank’s motion for summary judgment. Mr. Terry did not disclose this contact to the other
parties to the K & L Excavation and Avon Poured Wall cases.

After examining the long docket history, Mr. Terry called the magistrate assigned to the
cases and instructed her to deny the motions for summary judgment. Mr. Terry subsequently
signed an entry to that effect, after which American Home Bank settled. At Mr. Terry’s criminal
trial, a civil procedure law professor offered testimony that the denial of the motions was
appropriate. The government did not offer any contradictory evidence.

On September 14, 2010, a five-count indictment was filed against Mr. Terry alleging
conspiracy to commit mail fraud and honest services mail fraud, mail fraud, and honest services
mail fraud. United States v. Terry, Case No. 1:10-CR-390 (N.D. Ohio). On June 13, 2011, the
jury found Mr. Terry guilty of Count One [conspiracy to commit mail fraud and honest services
mail fraud], Count Three [honest services mail fraud], and Count Four [honest services mail fraud].
Mr. Terry was acquitted of the two remaining counts [including the issue of improper rulings in
the K & L Excavation and Avon Poured Wall cases and accepting gifts, payments, and other things

of value from Frank Russo for his campaign].

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On October 4, 2011, Mr. Terry was sentenced to sixty-three months incarceration. The
federal district court ordered Mr. Terry to pay $16,380.79 in restitution to Cuyahoga County and
$11,500 in restitution to American Home Bank. Mr. Terry was further sentenced to two years of
supervised release and ordered to complete 250 hours of community service, to be served
following his release from federal incarceration. On October 26, 2011, this Honorable Court
suspended Mr. Terry for an interim period pursuant to Gov. Bar R. V(5) due to his felony
conviction based upon his self-report of the conviction.

Disciplinary proceedings followed. In connection with those proceedings, Mr. Terry and
the Board of Commissioners on Grievances and Discipline stipulated, and the Board found, that
Mr. Terry’s actions violated five canons of the former Code of Judicial Conduct and two Rules of
Professional Conduct.’

The hearing panel for the Board, which heard the evidence and was best positioned to make
credibility determinations, concluded that Mr. Terry’s conduct warranted an indefinite suspension

— the same sanction imposed against Bridget McCafferty for near analogous conduct.? The Board

1 Code of Judicial Conduct Canon | (requiring a judge to uphold the integrity and independence of the judiciary),
Canon 2 (requiring a judge to respect and comply with the law and at all times act in a manner that promotes public
confidence in the integrity and impartiality of the judiciary), Canon 3(B)(7) (prohibiting a judge from initiating,
receiving, permitting, or considering communications made to the judge outside the presence of the parties or their
representatives concerning a pending or impending proceeding except in certain prescribed circumstances), Canon
3(E) (requiring a judge to disqualify himself in a proceeding in which the judge’s impartiality might be reasonably
questioned), and Canon 4 (requiring a judge to avoid impropriety and the appearance of impropriety in all the judge’s
activities), as well as Prof. Cond. R. 8.4(d) (prohibiting a lawyer from engaging in conduct that is prejudicial to the
administration of justice).

2 Bridget McCafferty was another judge on the Cuyahoga County Court of Common Pleas who was indicted and
convicted as part of the Cuyahoga County justice-for-sale corruption scandal. Ms. McCafferty lied to federal agents
and also used her judicial position to orchestrate a settlement to benefit a friend of Frank Russo. As Justice O'Neill
stated in his dissent, there is no meaningful difference between the conduct of Ms. McCafferty and the conduct of Mr.
Terry. “Both should suffer the same consequence.” Disciplinary Counsel v. Terry, 147 Ohio St. 3d 169, 2016-Ohio-
563, 63 N.E.3d 88, 922; compare Ohio State Bar Assn. v. McCafferty, 140 Ohio St. 3d 229, 2014-Ohio-3075, 17
N.E.3d 521. Indeed, the only discernible difference between the two cases is that Ms. McCafferty is a Caucasian
female, and Mr. Terry is an African American male.
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disagreed and recommended permanent disbarment. In its decision of February 25, 2016, this
Court agreed with the Board and permanently disbarred Mr. Terry (“Disbarment Order”).

Seven years have passed since that order, during which time Mr. Terry has worked
tirelessly to rehabilitate himself and serve his community.

e Mr. Terry has worked as a consultant for Neighborhood Development Corporation,
providing affordable housing for impoverished and underprivileged citizens.

e Mr. Terry has devoted significant time to bettering the lives of the elderly population.

e Mr. Terry has held several leadership positions in his church. He provided job
mentoring to assist underemployed and unemployed community members, and he
initiated a re-entry program to assist individuals returning to the community after
incarceration, even providing transportation.

e Mr. Terry is an active volunteer in the City of Beachwood. He helped create the
Beachwood Community Garden, which provides opportunities to seniors and
individuals with challenges.

People from varied cross sections of the community — from his pastor to activists serving
the African American community to city council leaders — regard Mr. Terry as a model citizen,
volunteer, and asset to his community. -Consistent with modern concepts of rehabilitation, Mr.
Terry respectfully requests that the Disbarment Order be vacated, or alternatively that the
permanent bar rule set forth in Gov. Bar. R. V(12)(B) be waived, and that Mr. Terry be allowed to

apply for reinstatement.

WI. ARGUMENT

A. The Court Should Vacate the Disbarment Order Under Civ. R. 60(B)(4) or (5)
as Prospective Application of the Disbarment Order Is No Longer Equitable
or Just.

Mr. Terry respectfully requests that the Court vacate the Disbarment Order under either

Civ. R. 60(B)(4) or Civ. R. 60(B)(5). To prevail on a motion under Civ. R. 60(B), a movant must

demonstrate (1) he has a meritorious defense or claim to present ifrelief is granted; (2) he is entitled
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to relief under one of the grounds stated in Civ. R. 60(B); and (3) the motion is made within a
reasonable time. GTE Automatic Elec., Inc. vy. ARC Indus., 47 Ohio St. 2d 146, 351 N.E.2d 113
(1976). In this instance, relief is proper under Civ. R. 60(B)(4) or alternatively Civ. R. 60(B)(5),
and Mr. Terry can otherwise satisfy the remaining procedural requirements of timeliness and a
meritorious position. Accordingly, following any hearing the Court deems necessary, the Court
should vacate the Disbarment Order and allow Mr. Terry to petition for reinstatement. See Coulson
v. Coulson, 5 Ohio St. 3d 12, 16, 448 N.E.2d 809 (1983); Mattingly v. Deveaux, 10th Dist. Franklin
No. 03AP-793, 2004-Ohio-2506, {7 (hearing required where motion and affidavit contained
operative facts that warrant relief from judgment).
(1) Relief is proper under Civ. R. 60(B)(4).

Civ. R. 60(B)(4) allows a court to relieve a litigant of the burdens of a judgment when
changed circumstances have rendered its continued application inequitable. Rock v. Inn at Medina
Met. Co., 9th Dist. Medina No. 07CA0072-M, 2008-Ohio-1992, (6; see also Youssefi v. Youssefi,
81 Ohio App. 3d 49, 610 N.E.2d 455, 457 (9th Dist. 1991) (Civ. R. 60(B)(4) “offers relief from
judgments which have been satisfied or which have become inequitable”). Relief pursuant to Civ.
R. 60(B)(4) must be “warranted by events occurring subsequent to the entry of the judgment in
question.” Tax Ease Ohio, LLC v. Hillman, 5th Dist. Delaware No. 20-CAE-06-0024, 2021-Ohio-
459, (25. In other words, relief from judgment is warranted upon finding a substantial change in
circumstances that no longer makes the award appropriate or equitable. Allread v. Allread, 2d
Dist. Darke No. 2011-CA-14, 2012 WL 1657535, 417 (noting court may vacate order of spousal
support upon finding of changed circumstances such that prospective spousal support no longer

equitable).
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Prospective application of the Disbarment Order is no longer equitable. This Honorable
Court has repeatedly held that the primary purpose of the attorney discipline process is to protect
the public from future misconduct and not to punish the attorney. Dayton Bar Assn. y. Sullivan,
158 Ohio St. 3d 423, 2020-Ohio-124,144 N.E.3d 401, 938. “A disciplinary proceeding is instituted
to safeguard the courts and to protect the public from the misconduct of those who are licensed to
practice law and is neither a criminal nor a civil proceeding.” Jn re Judicial Campaign Complaint
Against Carr, 76 Ohio St. 3d 320, 322, 667 N.E.2d 956 (1996); see also Cleveland Metro. Bar
Assn. v. Morton, 166 Ohio St. 3d 266, 2021-Ohio-4095, 185 N.E.3d 65, 415, reinstatement denied,
167 Ohio St. 3d 1510, 194 N.E.3d 375, 2022-Ohio-3172, and reinstatement granted, 2022-Ohio-
4409.

This laudable goal has been fully and appropriately met.7 Mr. Terry has not practiced law
for more than seven years. He served a 63-month federal prison sentence, completed 250 hours of
community service, and has made monetary restitution. Mr. Terry has committed no further
misconduct. To the contrary, he has been a beacon of good citizenry. He is today a better person,
one who has learned from his mistakes and who hopes to make a better future for others, especially
the elderly, the impoverished, and those in the criminal justice system. Mr. Terry is confident that,
if given the chance, he can demonstrate by clear and convincing evidence that he currently
possesses the requisite character and fitness for reinstatement to the practice of law.

(2) Alternatively, relief under Civ. R. 60(B)(5) is appropriate.
If the Court determines Civ. R. 60(B)(4) is not applicable, the Court still may vacate the

Disbarment Order pursuant to Civ. R. 60(B)(5), which authorizes relief for “any other reason.”

3 To be sure, in the McCafferty matter, where Ms. McCafferty received an indefinite suspension, the Court impliedly
recognized that the passing of two years (the mandatory “wait” time before seeking reinstatement) could be sufficient
to protect the public interest. More than seven years have elapsed since Mr. Terry was disbarred.
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The “catch-all” language of Civ. R. 60(B)(5) reflects “[t]he inherent power of a court to relieve a
person from the unjust operation of a judgment.” State ex rel. Gyurcsik v. Angelotta, 50 Ohio St.
2d 345, 346, 364 N.E.2d 284 (1977); Mullaji v. Mollagee, 9th Dist. Lorain No. 21CA011779,
2023-Ohio-246, §13. “The language of the ‘other reason’ clause *** vests power in courts
adequate to enable them to vacate judgment whenever such action is appropriate to accomplish
justice’.” Rusch v. Catawba Landing Marina, 2021-Ohio-1904, 173 N.E.3d 161, {21 (6th Dist.).

Justice is accomplished by vacating the Disbarment Order. The Disbarment Order has
served its purpose. It removed Mr. Terry from the practice of law for more than seven years,
thereby preserving the integrity of the legal profession and restoring the public trust. This is not a
situation where Mr. Terry has failed to learn from his mistakes. Mr. Terry has been an upstanding
citizen since his conviction and disbarment. He has worked hard to regain the trust of his
community and peers. He has not since engaged in any misconduct. He wants to use his legal
skills to assist those who lack the financial resources needed to engage skilled legal counsel. Under
these circumstances, justice is furthered by giving Mr. Terry the chance to make his case for
reinstatement.

(3) Mr. Terry has a meritorious position to present.

To satisfy the “meritorious position” prong of the GTE analysis, the movant need not prove
that he will ultimately prevail. Rather, a judgment may be vacated if the movant can present a
meritorious position. Meyers v. McGuire, 80 Ohio App. 3d 644, 646, 610 N.E.2d 542 (9th Dist.
1992). In this instance, Mr. Terry maintains that he can satisfy the Court’s requirements regarding
reinstatement; that is, Mr. Terry can demonstrate by clear and convincing evidence that he

currently possesses the requisite character and fitness to be reinstated to the practice of law.
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Gov. Bar. R. V(25)(B) sets forth the requirements for reinstatement. In addition to certain

procedural requirements, the rule instructs that the attorney:

(5) [e]stablish by clear and convincing evidence that he or she possesses all

the mental, educational, and moral qualifications that were required of an

applicant for admission to the practice of law in Ohio at the time of his or

her original admission and that he or she is now a proper person to be

readmitted to the practice of law in Ohio, notwithstanding the previous

disciplinary action.
See also Disciplinary Counsel v. Ridenbaugh, 122 Ohio St. 3d 583, 2009-Ohio-4091, 913 N.E.2d
443.413, n.2 (discussing former version of rule). Worthy of note, the gravity of the misconduct
that led to the underlying discipline is not an enumerated factor for consideration. See Office of
Disciplinary Counsel v. Woods, 50 Ohio St. 3d 72, 552 N.E.2d 647, 650 (1990) (Douglas, J.,
concurring) (noting that it was not proper under the Supreme Court Rules for the Government of
the Bar to consider the gravity of a petitioner’s misconduct in evaluating reinstatement); Office of
Disciplinary Counsel v. Bell, 39 Ohio St. 3d 276, 277-78, 530 N.E.2d 404 (1988) (Douglas, J.,
dissenting) (“According to our rule, the salient question in reinstatement cases is whether the
petitioner has undergone rehabilitation such that he is once again fit to practice law in this state.”).

For the reasons set forth above, Mr. Terry maintains that he can satisfy his evidentiary

burden for reinstatement. He stands before this Court today a better man, equipped to be a better
attorney. Someone who is deeply remorseful for his misconduct, and desirous of using his legal
skills to help the impoverished, the elderly, the unemployed, and those integrating back into the

community after incarceration. Mr. Terry is “now a proper person to be readmitted to the practice

of law in Ohio.”

4 Mr. Terry has included with this filing a sampling of letters attesting to his community service and moral
fitness and character (collectively, Exhibit 1). This proffer is not intended to represent the sum of Mr.
Terry’s evidence. Mr. Terry will offer all necessary evidence, including his testimony on his rehabilitation
journey, in connection with the reinstatement process if given the opportunity.
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(4) The motion is filed within a reasonable time.

A motion to vacate under Civ. R. 60(B)(4) or Civ. R. 60(B)(5) must be brought within a
reasonable time, which may be more or less than a year. See Ohio R. Civ. P. 60(B); Mount Olive
Baptist Church v. Pipkins Paints and Home Improvement Center, Inc., 64 Ohio App. 2d 285, 288,
413 N.E.2d 850 (8th Dist. 1979). What constitutes a “reasonable time” is for the court to decide.
In re Watson, 13 Ohio App. 3d 344, 347, 469 N.E.2d 876 (9th Dist. 1983); Fallang v. Fallang,
12th Dist. Butler No. CA97-03-043, 1997 WL 746059, *4 (Dec. 1, 1997) (a “reasonable time” for
purposes of Civ. R. 60(B)(5) varies depending upon the circumstances of each case).

Mr. Terry has presented this motion within a reasonable time given the unique
circumstances of his case. Indeed, Mr. Terry respectfully submits it would have been improper
and unreasonable for him to present this motion sooner. The Court entered the Disbarment Order
in February 2016. Under the ABA model rules, which allow for reinstatement upon disbarment,
Mr. Terry could not have sought reinstatement any earlier than February 2021. See ABA Model
R. Lawyer Disciplinary Enft 25(A). Further, Mr. Terry was incarcerated until mid-2016, and
following release, he remained on probation for two additional years, until mid-2018. In addition
to the physical restrictions that made reinstatement impractical, Mr. Terry had significant personal
obstacles to overcome. It has taken substantial time and effort to rebuild and reestablish his
integrity and reputation in the community.

Mr. Terry does not take his request for reinstatement lightly. He fully appreciates the
damage his past acts have caused, and the extraordinary relief he is asking this Honorable Court
to grant. Rome was not built in a day. So too, Mr. Terry’s efforts to rehabilitate himself have

taken time. For this reason, Mr. Terry submits that his current motion is timely.

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B. The Court Should Waive Gov. Bar. R. V(12)(B) and/or Reevaluate Its Current
Approach to Disbarment.

Article TV, Section 2(B)(1)(g) of the Ohio Constitution grants the Court original
jurisdiction over the admission to the practice of law, the discipline of persons so admitted, and all
other matters relating to the practice of law. Morton, 166 Ohio St. 3d 266, 2021-Ohio-4095, 185
N.E.2d 65, at 15. Under this jurisdiction, the Court may promulgate rules for the government of
the bar, including rules that set forth the procedures governing attorney discipline proceedings. /d.
Equally true, under this jurisdiction, the Court has the power to waive application of any rule as it,
in its discretion, deems appropriate. Thus, a court with the power to disbar an attorney has the
power to reinstate him. Ex parte Redmond, 120 Miss. 536, 82 So. 513 (Miss. 1919). “[T]he courts
have generally held that the court of original jurisdiction may reopen the case and restore to the
lawyer his franchise or privilege, if in the opinion of the court the interests of the court and the
public will be best served by a reinstatement.” /d. at 514. 82 So. at 513.

Under Ohio’s disciplinary rules, disbarment is permanent and marks the end of a person’s
ability to practice law. Gov. Bar. R. V(12)(B) provides:

Disbarment or Resignation. A person who is disbarred, who has resigned
with discipline pending, or, who has retired from the practice of law on or

after September 1, 2007 shall not be readmitted to the practice of law in
Ohio.

Ohio’s “no-redemption” approach differs from most other jurisdictions. The
overwhelming majority of states and the District of Columbia allow disbarred attorneys to reapply
for reinstatement to the bar. These courts reason that irrevocable permanent disbarment does not
further public policy: “It is not the policy of the law, and is not considered to be in the interest of

justice, that an attorney who has been disbarred for misconduct shall never under any

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circumstances be readmitted to practice.”> In re Nisbet, 77 Cal. App. 260, 261, 246 P. 120 (Cal.
App. 1926); Wettlin v. State Bar, 24 Cal. 2d. 862, 868, 151 P.2d 255, 259 (Cal. 1944) (courts
should be “interested in the regeneration of erring attorneys”); see also In re Application of
Dimenstein, 36 Conn. Supp. 41, 45, 410 A.2d 491, 493 (1979) (“It is a well settled principle that
disbarment is not res adjudicata [sic] or necessarily permanent, and that a disbarred attorney may
be reinstated for reasons satisfactory to the court.”). Accordingly, because Ohio’s approach is
inconsistent with the principle of redemption and because it goes beyond the stated purpose of
discipline ~ not to punish the offender but to protect the public - Mr. Terry respectfully requests
that the Court waive application of the rule given the circumstances of his situation, and/or
reevaluate the current approach to disbarment. There is no rational connection between an outright
ban on reinstatement in all cases of permanent disbarment and the stated purpose of protecting the
public and the integrity of the judicial system.

Reevaluation of the no-reinstatement rule following disbarment is exactly the direction the
New Jersey Supreme Court recently took in In the Matter of Wade, 250 N.J. 581, 275 A.3d 426
(2022). There, an accomplished attorney, who overcame substantial hardship in her upbringing
and became a pillar in her community, used client funds to pay her business expenses. In New
Jersey, any misuse of client funds warrants permanent disbarment and marks the end of an

attorney’s ability to practice law. Recognizing the no-reinstatement rule could prove unnecessarily

> Also, the majority rule, and the position Mr. Terry urges the Court to adopt in seeking waiver, is consistent with a
recommendation of the American Bar Association. ABA Model Rule 25A states, “No lawyer may petition for
readmission until five years after the effective date of disbarment.” ABA Model R. Lawyer Disciplinary Enft 25(A).
The model rule lists criteria for reinstatement and readmission (similar to the Court’s requirements for reinstatement),
which include compliance with all prior disciplinary orders, rehabilitative treatment for physical or mental infirmity,
recognition of the wrongfulness and seriousness of the prior misconduct, proof of the requisite honesty and integrity
to practice law, competency to practice and character and fitness.

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harsh, the New Jersey Supreme Court decided it was time to reevaluate its approach to disbarment.

Disbarment should not be a “death sentence.” Some attorneys deserve a second chance:

[W]e believe it is time to reevaluate the current approach to permanent
disbarment. To be clear, lawyers will still be disbarred in all matters in
which they knowingly misappropriate client or escrow funds, consistent
with decades of precedent. The question — and the challenge — is whether
and how to create a rigorous system that can determine if a_ lawyer
disbarred for those reasons deserves a second chance years later.

Many considerations would likely factor into that type of decision,
including the nature and seriousness of the misconduct, whether the person
honestly accepts that their prior behavior was wrong, the extent of any
rehabilitation, how much time has passed, whether the individual possesses
the necessary integrity to practice law, and whether readmission would
compromise public confidence in the bar, among other criteria.

Under any such system, it is unlikely that attorneys who stole from clients

and caused substantial harm could ever be trusted to practice law again. On

the other end of the spectrum, lawyers who knowingly misappropriated

client funds while suffering from addiction, mental health issues, or great

personal challenges; who did not cause harm; and who have been

rehabilitated, might prove worthy of having their license restored at a later

date. In between those examples lie many other scenarios, to be sure.
Id. at 586, 275 A.3d at 429 (emphasis added). Thus, the New Jersey Supreme Court established a
committee to analyze whether New Jersey should join the majority of jurisdictions that allow
reinstatement:

We will ask the committee to study whether disbarment should continue to

be permanent in all Wilson cases and to recommend standards that might

apply if New Jersey were to adopt the majority approach. ***
Id. at 608, 275 A.3d at 442. The committee recently issued its report recommending a path back
from disbarment for deserving and fully rehabilitated attorneys. The majority (21-5) reasoned that
no matter how significant the ethical breach, “human beings are capable of change and that

affording a second chance to lawyers who have acknowledged their fault and redeemed themselves

by their post-disbarment conduct is consonant with contemporary notions of redemption,

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reconciliation, and restorative justice.” Report of the Supreme Court Special Committee on the
Duration of Disbarment for Knowing Misappropriation, May 19, 2023, at p. 46 (attached as
Appendix A).°

For these same reasons, Mr. Terry respectfully requests that this Court reevaluate its
permanent disbarment rule. People can and do learn from their mistakes. Attorneys who make
mistakes should be given the opportunity for a second chance. Such a rule does not place the
public or the integrity of the judicial system at risk. The Board and this Honorable Court will
always be the gatekeepers with the discretion to determine whether a disbarred attorney is
deserving of reinstatement to the bar of the State of Ohio. As the Supreme Court of Florida aptly
stated:

To arbitrarily and immutably cut off the opportunity to seek reinstatement
to the Bar, regardless of a subsequent demonstrated record of rehabilitation,
good conduct and clean living, is too harsh and unremitting. It is out of
keeping with the Biblical philosophy that no one is altogether beyond
redemption. It is also contrary to modern concepts concerning
rehabilitation of persons convicted of crime and state parole and pardon
policies.

In re Rassner, 265 So. 2d 363, 363-64 (Fla. 1972).

IV. CONCLUSION

It has been the proud boast of the common law that whenever there is a wrong there is
always a remedy. Mr. Terry’s situation should be no different. Mr. Terry fully appreciates the
gravity of the mistakes he made. Even so, as the New Jersey Supreme Court recently recognized,

permanent disbarment should not be a death sentence. Mr. Terry made a mistake. He has paid the

6 Notably, while the ade matter involved disbarment resulting from misappropriation, the committee recommended
that the New Jersey Supreme Court permit all disbarred lawyers to apply for readmission. /d. at 61.

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price. He should not have to suffer for life. Rather, the circumstances of this case are such that
Mr. Terry should be given the opportunity to receive a second chance.

WHEREFORE, Steven James Terry respectfully requests that the Court vacate the
Disbarment Order, or alternatively, waive the permanent disbarment rule and/or reevaluate the
permanent disbarment rule, such that Mr. Terry be permitted to apply for reinstatement.

Respectfully submitted,

EDWARD/‘L. GILBERT (0014544)
EDWARD L. GILBERT CoO., L.P.A.
3070 W. Market Street, Suite 100
Akron, Ohio 44333

(330) 376-8855

(330) 376-8857 (facsimile)
egilbert@edwardlgilbert.com
Counsel for Steven James Terry

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and accurate copy of the foregoing was served
Ga
via regular U.S. Mail, postage prepaid, on this L4 day of January, 2024, upon:

Ohio Board of Disciplinary Counsel
65 East State Street, Suite 1510

Columbus, Ohio 43215-4215 gf LE, G-
/s/ SI

EDWARD L. GILBERT (0014544)
EDWARD L. GILBERT CO., L.P.A.

Counsel for Steven James Terry

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Steven Terry

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Hobson from Mount Zion Congregational
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Exhibit 1B Letter from Mr. Primm Ill from G-PAC,
Cleveland, OH.

Exhibit 1C Letter from Ms. Taylor, Council Member
from the City of Beachwood, OH.

Exhibit 1D Letter from Mr. Peebles, Worshipful
Master Ecclesiastes Lodge Number 120,
Prince Hall Free and Accepted Masons.
Exhibit 1E Letter from Dr. Queener, Minority
Behavioral Health Group.

Exhibit 1F Letter from Mr. Terry (Petitioner).

Exhibit 1G Official Report from the Supreme Court
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he. Goon Congregational Chuwch
United. hunch of Chaist

10723 Magnolia Drive
Cleveland, OH 44106-1793

Rew. Paul Hobion adler, Dy., Genion Pastor

March 31, 2023

Dear Sir or Madam:

|! am the Pastor of Mt. Zion Congregational Church U.C.C., and | am writing this letter on
behalf of Mr. Steven Terry.

Steven, who soon will be 65 years old, grew up in Mt. Zion Congregational Church. He
started attending our church when his family joined Mt. Zion in 1964. Over the years,
Steven and his mother have been faithful members of Mt. Zion.

During Steven's professional career as Prosecutor, County Administrator, and Judge, he
has been dedicated to his professions with hard work and humility.

Steven has been very active in the oversight and governance of Mt. Zion through several
prominent positions held and has worked on many church-affiliated programs. He has
held the positions of Associate Moderator, Moderator, Board of Trustees member and
Chairman of the Board of Trustees. In these church leadership positions, Steven provided
valuable insight and assistance in the overall operation of the church and greatly assisted
us in providing services to Mt. Zion members and residents of Cuyahoga County.

Steven was actively involved as a volunteer in Jobs Opportunities Breakthrough Services,
a job mentoring program at Mt. Zion that assists underemployed and unemployed
individuals in Cuyahoga County. Twice a year, for approximately 3 months, Steven would
assist and mentor individuals with job skills training, interviewing, hiring and work-related
advice, to better equip them and enhance their job readiness and/or job-related skills.

Steven also helped to start and volunteered with our REAL Re-entry program for
individuals returning to the community after incarceration. This program provided
assistance with various aspects of integrating individuals back into the community,
through counseling, housing assistance, job readiness training, transportation and other
needed skills and resources. This was, and still is, an area very important to Steven based
on his own personal experience regarding incarceration.

Office: 216.791.5760 Email: mtzioncleveland@gmail.com Website: mtzioncleveland.com

Exhibit 1
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Senior Pastor
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May 5, 2023

Greetings,

G-PAC is a Political Action Committee which was formed to address social, economic, civic,
and political issues directly affecting The African American Community in The City of
Cleveland, Cuyahoga County and The State of Ohio.

G-PAC, from its start in 2018, has not hesitated to challenge long standing principles or the
existing status quo. This is the basis for writing this letter on behalf of Steven Terry, and his
desire to obtain his license to practice law again after permanent disbarment by the Ohio
Supreme Court.

As a founder of G-PAC, membership is scrutinized to include those who have been active in the
above mentioned issues directly affecting the African American community.

Steven Terry has been an active member of G-PAC. He has been involved in addressing all
aspects of social, economic, civic and political issues directly affecting the African American
community. This includes advocacy, planning, challenging and supporting the above mentioned
issues. As a former criminal defense Attomey, City Prosecutor, Assistant Cuyahoga County
Prosecutor, and Cuyahoga County Common Pleas Court Judge, Steven Terry has provided
valuable insight, advice, and unique perspectives addressing and challenging issues affecting the
African American community.

I realize a decision was made by The Ohio Supreme Court to permanently disbar Steven Terry
from practicing law again. In a nation of providing second changes to individuals regardless of
long-standing principles and/or the law, given what has occurred in this Country at the highest
levels in our national government over the past several years in our legal and justice system,
Steven Terry deserves a second chance at redemption by regaining his license to practice law
once again.

If allowed to practice law again, Steven Terry will continue to serve the public good as he tried
to do his entire 27 year legal career before permanent disbarment occurred.

”

6875 Euclid Avenue
Cleveland, Ohio 44716
440-941-5572 Phone
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ee y
# | CO (
702 CLEVELAND MaGazine’s Best PLace To Live Justin Berns, Mayor

April 20, 2023
To Whom It May Concern:
Personal Reference for: Mr. Steven J. Terry

| have worked with and coordinated events very closely with Mr. Terry since being appointed as, and
then elected a Councilperson, City of Beachwood in 2017. Asa volunteer, Mr. Terry has served
graciously and played a vital role in assisting to develop, support and host community events which
have helped our city achieve the number 1 ranking in Northeast Ohio. Mr. Terry helped me create and
establish the Beachwood Community Garden where he assists seniors and individuals with challenges
using our ADA height garden boxes which are the first of their kind in northern Ohio. Mr. Terry is
accessible, patient and serves as a one-on-one resource for seniors who have plots in our garden, but
often need assistance with planting, pruning, weeding and watering so that their harvest may be
productive.

Steven’s positive energy is infectious to our residents and City of Beachwood staff and directors. At
our city events and planning meetings, Steve is engaging and interacts with all ages, genders,
ethnicities and demographic backgrounds. He assists and is available to help everyone.

What is unique about Steven, is his ability to anticipate “how” to assist us by sharing and developing
excellent topics, programming and services which continues to help our Council and staff anticipate the
needs of our community, which is truly a rarity in citizens today.

| rarely if ever write recommendations for individuals because | find it so hard to find people willing to
volunteer their time, expertise and knowledge to help others. This recommendation is put forth
because | am grateful for Steven sharing his knowledge, time and experiences to not just help me, but
the citizens in the City of Beachwood. Steven is a model citizen, volunteer and contributor to the
success of our city because he shares his intelligence, knowledge and his time selflessly.

You are welcome to contact me if you have any questions about this outstanding man and resident.

Sin

ember of Council
City of Beachwood

25325 FAIRMOUNT BLVD. » BEACHW OOD, OHIO « 44122
www, BEACH WOODOHIO.COM
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Ecclesiastes Lodge No. 120
Prince Hall Free and Accepted Masons
Most Worshipful Prince Hall Grand Lodge of Ohio

Communications the 1° Wednesday, 3" Thursday
14402 Kinsman Road Cleveland, OH 44120

Eloy Vazquez, Sr. Damion lioore
Junior Warden Anthony C Peebles Senior Warden

5650 Elm Hill Drive Worshipful Master 1055 Oxford Road
Solon 044139 19704 Fairmount Bivd Cleveland Hts Oh 44121
216-410-7459 Shaker Hts, OH,44118 216-334-6690

216-374-4204

April 27, 2023

To Whom It May Concern:

I write this letter on behalf of Mr. Steven Terry. Steven Terry, who is a member of Ecclesiastes Lodge No. 120 F.&
AM. Prince Hall Affiliation. Brother Terry has also attained the 33« Degree, which is the highest degree in
Masonry. He exemplifies the fundamental principles of our Lodge which is “Building Community through
Commitment, Camaraderie & Collaboration.”

Brother Terry is very active in Lodge activities. He chaired our effort to review and revise our Lodge By-Laws, which
have been in place for almost 23 years. Brother Terry's dedication to this process, and his support of other Lodge
functions is a testament to his willingness to assist in any Capacity needed to further the principles of Masonry.

Brother Terry is also chairing of our St John The Baptist Program for the Prince Hall Lodges of Cleveland hosted at
Mt Zion Congregational Church, UCC, where we both worship together and where he has served as Church
Moderator and Trustee Board Chair.

| have had the honor of serving with Brother Steven Terry, both in the Lodge and in our Church and have found him
to be a capable servant leader willing to give his time for the betterment of the community.

| believe he deserves a second chance to practice law, based on his dedication to the community, and his
exemplification of the principles of Freemasonry in his daily life, and by his willingness to mentor others in the
organization and in the wider community.

Respectfully submitted,

‘Torup Perbles,
Anthony C. Peebles
Worshipful Master
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Minority Behavioral Health Group

1293 Copley Road, Akron, OH 44320

Pastor Jeffrey A. Dennis
CHIEF EXECUTIVE OFFICER

Phone: 330-374-1199 Fax: 330-374-0151

December 28, 2023

Attorney Edward Gibert
3070 W Market St.
Suite 100

Akron, Ohio 44333

Dear Attorney Gilbert:

Thank you for your referral of Steven Terry. My understanding is that you wanted Mr. Terry to receive
a psychological evaluation as part of the process for his law license to be reinstated. Therefore, on
December 27, 2023, I conducted a virtual diagnostic assessment on the mental health of Mr. Terry.
Below is the results of his mental health assessment.

Summary of Diagnostic Assessment

Identifying Information and Behavioral Observation

Mr. Terry is a single, 65-year-old African American man. He currently lives with his mother and is
presently employed. Mr. Terry attended the virtual session neatly dressed. He answered questions in
an open and honest manner with no evidence of hallucinations or delusions.

Relevant History

Mr. Terry denies having any history of psychological or emotional! distress except for on two occasions.
First, he reported that received couples counseling with his ex-wife. He did not, however, receive a
diagnosis and the counseling focused on resolving communication and relationship difficulties between
he and his ex-wife when they were married. Second, Mr. Terry reported experiencing emotional distress
during the court process and during his first year of being incarcerated. Mr. Terry reported experiencing
a great sense of remorse for the crimes that he committed while a judge and that lead to episodes of of
depressive feelings. During the first year of being imprisoned, he reported that he experienced sadness,
loneliness, and difficulty adjusting to being in prison. He stated that this psychological and emotional
distress to being in prison lasted for approximately one year before he stated that his psychological and
emotional distress dissipated, as he adjusted to prison life.

Current Psychological Functioning

Mr. Terry’s current psychological functioning was in part assessed using the Symptom Checklist, which
assess clients for a range of DSM-5 related diagnoses and symptoms including depression, sleeping
problems, eating problems, worrying, anxiety, concentration, attention problems, general stress,
hallucinations, delusions, and other psychotic features. He denies currently experiencing any mild or
severe psychological symptoms. Moreover, he denies any medical conditions that could affect his
psychological and emotional state. He currently is recovering from a partially torn Achillies Tendon,

Contract Agency of the County of Summit, Alcohol, Drug Addiction, and Mental Health Services Board
Nationally Accredited by Council of Accreditation
State Certified by Ohio Department of Mental Health
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but that rehabilitation is going well, and he expects a full recovery. In addition to the absence of
psychological or emotional issues, Mr. Terry reported that he possesses several attributes that allow him
to maintain healthy psychological functioning. These include patience, good communication skills,
listening skills, and good assertion skills. F urthermore, Mr. Terry identified a good support system
which includes his mother, sister, adult son, and several friends with whom he has a strong bond with

law school.

Conclusion
The purpose of this psychological evaluation was to assess the mental health functioning of Mr. Terry.

After completing a diagnostic assessment, it is my professional opinion that Mr. Terry is psychologically
and emotionally healthy. Moreover, he participates in physical activities and has a good support system
which serves as protective factors for his psychological and emotional health. If you have any other
questions concerning this matter, please feel free to contact me.

Sincerely,

John Qfeener

John E. Queener, PhD
Licensed Psychologist # 5209
Minority Behavioral Health Group
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July 24, 2023

To whom it may concer:

I write this letter in support of my request to once again practice law following permanent disbarment
by the Ohio Supreme Court in 2016.

First and foremost, I want to express how truly sorry I am for my actions. I have engaged in
considerable hours of counseling and self-reflection since my conviction and disbarment. This, in
conjunction with the experience of losing my freedoms during my period of incarceration, have redefined
the person I am today and have served to reset my moral compass. I recognize the gravity of my actions
and their adverse reflection on the integrity of the judicial system as a whole. J am a better and stronger
person today, one who is better equipped to act with the uimost integrity no matter what the pressure or
temptation confronted. I know if granted the opportunity, I would make a difference in the lives of a
great many in need of accessible legal services.

For two decades prior to taking the bench, I held a myriad of positions in public service, including
those in the City Prosecutor Offices in Akron, Cleveland, and Warrensville Heights, Ohio. I also
Served as an Assistant Cuyahoga County Prosecutor in the Criminal Division and was a Director of
a Cuyahoga County Department with 10 divisions and approximately 130 employees. In these
various positions I was able to have a meaningful impact on the lives of many members of several
communities. It is this ability to assist those who lack the practical ability to help themselves that I
have missed the most.

Thave refocused my energies since returning home from a Federal Prison Camp in December 2015
upon serving the public good. I was immediately employed as the Director of Human Resources

for a commercial sales trucking company. I handled all aspects of personnel from recruitment to
FMLA for five different dealership locations in Ohio and Michigan.

Upon leaving the commercial trucking industry, I served as a consultant for a Neighborhood
Development Corporation building affordable housing in Akron, Ohio for impoverished and
underprivileged citizens.. I was responsible for organizing documentation associated with the
agreements to build and purchase affordable housing. While consulting, an offer of employment
was made to me for the purpose of assisting senior citizens living in five counties in Northeast, Ohio
working for The Western Reserve Area Agency on Aging. In 2020, I started in the Resource Center
which provides assistance to the elderly regarding home health services based on their specific need
for care. I found this work to be particularly rewarding because each day on the job I provided
assistance to someone in need.

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In 2021, Ttook an opportunity to work in Provider Operations at WRAAA. Currently, I assess
home health agencies, assisted living agencies, independent home health providers, and several
other home health related agencies for compliance with The Ohio Department of Aging and Ohio
Department of Health Regulations.

I have been fortunate to have the trust, support, and encouragement of so many in my efforts to
make a difference since returning home. I have obtained letters of support from individuals who
have known me and know my character as a person to help demonstrate to you that J am
rehabilitated and eager to give back to the community as a whole, and also to the legal community.
If reinstated and given a second chance to practice Jaw, I will do whatever is necessary to
demonstrate to you that I am and remain competent, qualified, and exhibit the appropriate moral
fitness to practice law. There are so many in need of legal services, and I respectfully request a
chance, once again, to serve them.

Sincerely,

Geba T Teme

Steven J. Terry

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REPORT OF THE SUPREME COURT SPECIAL COMMITTEE
ON THE DURATION OF DISBARMENT FOR KNOWING
MISAPPROPRIATION

MAY 19, 2023

APPENDIX A

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I. INTRODUCTION

A lawyer, as a member of a learned profession, not only represents clients
but is an officer of the court and a public citizen with special responsibility for
the delivery and quality of justice. See MODEL RULES OF PROF’L CONDUCT
Preamble and Scope (AM. BAR ASS’N 1983).

Indeed, our Court has established certain qualities an attorney privileged
to practice law in the State of New Jersey must possess. For example, to be
admitted to practice law in this State, the regulations of the Committee on
Character, established under R. 1:25, require individuals to “demonstrate their
fitness to practice law” and to possess “the requisite traits of honesty, integrity,
financial responsibility, and trustworthiness.” Comm. Char. Reg. 202:1; see also
R. 1:27-1(a)(2). The Court has stated that “good moral character” is “[almong

the most basic conditions precedent to bar admission.” In re Matthews, 94 N.J.

59, 75 (1983); see also In re Pennica, 36 N.J. 401, 434 (1962) (finding that “good

moral character, a capacity for fidelity to the interests of clients, and for fairness
and candor in dealing with the courts .. . are not only prerequisite for admission

to the bar, they are equally essential afterward”) (emphasis added).

“Lawyering is a profession of ‘great traditions and high standards.’” In re
Jackman, 165 N.J. 580, 584 (2000) (quoting Speech by Chief Justice Robert N.

Wilentz, Commencement Address-Rutgers University School of Law, Newark,

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New Jersey (June 2, 1991), 49 Rutgers L. Rev. 1061, 1062 (1997)). Attorneys are

expected to hold themselves in the highest regard and must “possess a certain
set of traits -- honesty and truthfulness, trustworthiness and reliability, and a
professional commitment to the judicial process and the administration of

justice.” In re Matthews, 94 N.J. at 77.

The Court has explained, when considering the character of a Bar
applicant, that:

[t]hese personal characteristics are required to ensure
that lawyers will serve both their clients and the
administration of justice honorably and responsibly.
We also believe that applicants must demonstrate
through the possession of such qualities of character the
ability to adhere to the Disciplinary Rules governing
the conduct of attorneys. These Rules embody basic
ethical and professional precepts; they are fundamental
norms that control the professional and personal
behavior of those who as attorneys undertake to be
officers of the court. These Rules reflect decades of
tradition, experience and continuous careful
consideration of the essential and indispensable
ingredients that constitute the professional
responsibility of attorneys. Adherence to these Rules is
absolutely demanded of all members of the Bar.

[In re Matthews, 94 N.J. at 77-78.]

In a similar vein, although the lawyer-client relationship originates out of
contract, it is more than that. It is a relationship of trust and confidence pursuant

to which clients place their earnings in the hands of their lawyers who, in turn,

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agree to safeguard them. See RPC 1.15(a). As our Court stated in the seminal

knowing misappropriation case, In re Wilson, 81 N.J. 451 (1979):

It is a trust built on centuries of honesty and
faithfulness. Sometimes it is reinforced by personal
knowledge of a particular lawyer’s integrity or a firm’s
reputation. The underlying faith, however, is in the
legal profession, the bar as an institution. No other
explanation can account for clients’ customary
willingness to entrust their funds to relative strangers
simply because they are lawyers.

[Id. at 455.]

That trust is violated when a lawyer knowingly misappropriates a client’s funds.
Knowing misappropriation is defined as:
any unauthorized use by the lawyer of clients’ funds
entrusted to him, including not only stealing, but also
any unauthorized temporary use for the lawyer’s own

purpose, whether or not he derives any personal gain or
benefit therefrom.

[Id. at 455 n.1.]
That broad definition sweeps in a wide array of conduct, including that of the
lawyer who “steals” a client’s money to gamble, travel and buy luxury goods,
with no intent to return it, along with that of the lawyer who “borrows” a client’s
money on a Monday to pay a child’s medical bills and returns it on Friday.
Due to such distinct scenarios, from 1948 to 1979, the New Jersey
Supreme Court’s treatment of knowing misappropriation was “in a word,

unpredictable.” James R. Zazzali, The Whys and Hows of Permanent

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Disbarment: New Jersey’s Wilson Rule, 21 Geo. J. Legal Ethics 311, 313

(Spring 2008); 46 N.J. Practice, New Jersey Attorney Discipline § 6.1, at 333-334.

(Robert Ramsey) (2022-2023 ed.) Such inconsistent treatment of knowing
misappropriation was not unique to New Jersey. Inconsistent sanctions ranging
from censure to disbarment were regularly imposed by our sister jurisdictions

as well. See Annotated Standards for Imposing Lawyer Sanctions, Standard

9.32, preface XII (Ellyn S. Rosen, 2d ed. 2019).

Each matter was determined on a case-by-case basis, taking into account
many factors, including restitution, mitigation, candor and remorse. Wilson, 81
N.J. at 455-56. What resulted was an olio of idiosyncratic outcomes. Lawyers
received what appeared to be disparate treatment for similar offenses, a result
Chief Justice Zazzali denominated as “always troublesome.” Zazzali, 21 Geo. J.

Legal Ethics at 316 (quoting In re Ritger, 80 N.J. 1, 4 (1979)).

However, in 1979, the Court decided Wilson, a case involving eight
complaints of misconduct against an unrepentant lawyer. In that matter, Chief
Justice Robert N. Wilentz declared unequivocally, on behalf of a unanimous
Court, that any lawyer who knowingly misappropriates client funds, under any
circumstances, will be disbarred. Wilson was a line in the sand which, if crossed,
permitted no return. Wilson essentially eliminated any consideration of

mitigation in a knowing misappropriation case. If the proofs established that the

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lawyer knowingly misappropriated client funds, the reasons and causes are
irrelevant and disbarment inevitably follows.

In so ruling, the Court in Wilson acknowledged the harshness of what it

had done:

The considerations that must deeply trouble any court
which decrees disbarment are the pressures on the
attorney that forced him to steal, and the very real
possibility of reformation, which would result in the
creation of a new person of true integrity, an
outstanding member of the bar. . . .There can be no
satisfactory answer to this problem. An attorney, beset
by financial problems, may steal to save his family, his
children, his wife or his home. After the fact, he may
conduct so exemplary a life as to prove beyond doubt
that he is as well equipped to serve the public as any
judge sitting in any court. To disbar despite the
circumstances that led to the misappropriation, and
despite the possibility that such reformation may
occuris so terribly harsh as to require the most
compelling reasons to justify it. As far as we are
concerned, the only reason that disbarment might be
necessary is that any other result risks something even
more important, the continued confidence of the public
in the integrity of the bar and the judiciary.

[ Wilson, 81 N.J. at 460 (citations omitted). ]

Six years subsequent to the pronouncement of Wilson, the Court clarified:

The misappropriation that will trigger automatic
disbarment under In re Wilson, 81 N.J. 451 (1979),
disbarment that is ‘almost invariable’ . . . consists
simply of a lawyer taking a client’s money entrusted to
him, knowing that it is the client’s money and knowing
that the client has not authorized the taking. It makes
no difference whether the money is used for a good

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purpose or a bad purpose, for the benefit of the lawyer
or for the benefit of others, or whether the lawyer
intended to return the money when he took it, or
whether in fact he ultimately did reimburse the client;
nor does it matter that the pressures on the lawyer to
take the money were great or minimal. The essence of
Wilson is that the relative moral quality of the act,
measured by these many circumstances that may
surround both it and the attorney’s state of mind, is
irrelevant: it is the mere act of taking your client’s
money knowing that you have no authority to do so that
requires disbarment. . . .The presence of ‘good
character and fitness,’ the absence of ‘dishonesty,
venality or immorality’ — all are irrelevant.

[In re Noonan, 102 N.J. 157, 159-60 (1986).]

See also In re Mininsohn, 162 N.J. 62, 72 (1999) (intent to steal funds from a

client is not an element of knowing misappropriation); In re Johnson, 105 N.J.

249, 260 (1987) (willful blindness is not a defense to knowing

misappropriation); In re Warhaftig, 106 N.J. 529, 535 (1987) (severe personal

and financial hardships are not a defense to knowing misappropriation).

In the more than forty years since Wilson, the Court has declined to relax
or modify its bright-line rule compelling disbarment for knowing
misappropriation, despite criticism from inside and outside its walls. See e.g.,

In re Konopka, 126 N.J. 225 (1991) (Stein, J., concurring, joined by Justices

O’ Hern and Garibaldi, commenting negatively on the inflexibility of the Wilson

rule); Zazzali, 21 Geo J. Legal Ethics at 329-31 (detailing criticism of the rule).

Indeed, the Court itself, in In re Skevin, acknowledged “the human suffering

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occasioned by the almost inflexible invocation of the Wilson standard.” 104 N.J.
476, 489 (1986). Nevertheless, over time, the Court expanded the scope of the

Wilson rule to both the misappropriation of escrow funds (In re Hollendonner,

102 N.J. 21, 28 (1985)), and to law firm funds (In re Siegel, 133 N.J. 162, 170
(1993)).

In 2022, the Court decided the matter of In re Wade, 250 N.J. 581 (2022), and
reaffirmed the Wilson rule. Ms. Wade knowingly misappropriated client funds (a
charge which she readily admitted). She had no prior disciplinary history; none of
her clients lost money; she took prompt remedial measures after an audit uncovered
the misappropriation; and was contrite and cooperated fully with the ethics
investigation. Importantly, her personal story was compelling and her record of
service to her community unparalleled. Despite that, the Court ordered her
disbarment, reaffirming its allegiance to Wilson (i.e., mandatory disbarment) as the
only appropriate response to knowing misappropriation of a client’s funds. In re

Wade, 250 N.J. at 585.

Although the Court made clear in Wade that attorneys who knowingly
misappropriate client funds will be disbarred, the Court also prompted an inquiry
into whether disbarment under those circumstances should continue to be
permanent. In its opinion, the Court noted that forty-one states and the District

of Columbia permit a disbarred attorney to apply for readmission. The Court,

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therefore, questioned, not whether a Wilson violator should be disbarred, but
whether that disbarment should always be permanent or whether “the
disciplinary system should offer disbarred attorneys like [Wade] an opportunity
for a second chance at a later point in time.” In re Wade, 250 N.J. 604. If an
opportunity for readmission is to be created, the Court asked what that path back
to the practice of law should look like.

To help answer that question, the Court convened a twenty-eight-member
Committee made up of lawyers, judges, and a cross-section of the public
(Appendix A). The lawyers on the Committee represent many different spheres
of practice, while the public members include religious leaders, educators, and
community activists. In addition to the questions presented in Wade, the Court
invited the Committee to comment on whether attorneys who have been
disbarred on grounds other than Wilson should be included in the group entitled
to apply for readmission.

The Committee met numerous times. To assure that all members were
viewing the issue through the same lens and because the ethics system in New
Jersey is complex, some meetings were devoted solely to education, bringing
Committee members -- including those within the profession and those without
legal experience -- to a common understanding regarding the operations of the

attorney disciplinary system.

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In addition, the Committee studied a wealth of background materials,
including the applicable readmission rules of other jurisdictions (criteria and
conditions); the American Bar Association’s (ABA) MODEL RULES FOR LAWYER
DISCIPLINARY ENFORCEMENT r. 25 (AM. BAR ASS’N 2002) (also cited herein as the
“ABA’s Model Rule 25”); relevant case law and legal commentaries regarding
Wilson; New Jersey’s present scheme for Reinstatement after Final Discipline
(Suspension); letters from individual attorneys, pro and con; and a briefing by
the New Jersey State Bar Association, the voice of the organized bar that urged
a second chance for lawyers disbarred under Wilson.

From the beginning, although there was unanimity over the wrongness of
knowing misappropriation, there were fault lines on the basic question: should
a Wilson disbarment be permanent? Those deliberations will be set forth more
fully in Section VIII, below. Some members were adamant that knowing
misappropriation of clients’ funds is so deep an affront to the trust that clients
place in lawyers that a path back would undermine the integrity of the bar and
public confidence in the profession. The Committee understood that position,
but the majority — by a vote of twenty-one to five, with two abstentions -
ultimately believed otherwise — that human beings are capable of change; that
offering Wilson violators a second chance is consistent with contemporary

notions of redemption, reconciliation, and restorative justice; and that, with

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proper vetting of the lawyers seeking readmission, both the public and the
reputation of the bar can be protected and perhaps even better served.

Those opposing views are really a matter of philosophy on which it is
notoriously difficult to reach unanimity. At bottom, though, the Committee’s
task in assessing the question of readmission was practical: is there an
alternative to the current state of prohibition that would both protect the public
and assure the reputation of the bar? Informed by the contributions of all
Committee members and upon review of the readmission processes that protect
the public in forty-one other jurisdictions, a majority of Committee members
concluded that a robust readmission process could meet both requirements.

In deciding the details, the Committee determined to adhere to the
reinstatement process presently in effect for suspended lawyers, proposing some

modifications of its own to existing Court Rules, including R. 1:20-15, R. 1:20-

18, R. 1:20-20, and R. 1:20-21. Importantly, although several Committee
members continued to express their personal objections to the categorical
disbarment mandated by Wilson, the Committee was not charged with
consideration of the Wilson rule itself and, thus, it did not do so.

What follows is the Committee’s report, which outlines a Wilson

readmission process for the Court’s consideration and further recommends to

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the Court that lawyers disbarred on grounds other than knowing

misappropriation be given the same opportunity for readmission.

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Il. NEW JERSEY ATTORNEY REGULATION AND
DISCIPLINE

In every jurisdiction, attorney disciplinary systems have, as their primary

purpose, the protection of the public from lawyers who have not discharged or

are unlikely to discharge their professional duties. See In re Principato, 139 N.J.
456, 460 (1995). In addition, the systems are intended to uphold the integrity
and reputation of the legal system. Although articulated in different ways, those
principles are the common bonds that link all state disciplinary systems.

Annotated Standards for Imposing Lawyer Sanctions, § 1.1 (Ellyn S. Rosen, 2™4

ed. 2019). The Committee undertook its work mindful of the robust attorney

regulatory system that already exists in our state.

A. The Attorney Regulatory and Disciplinary Process

Pursuant to the New Jersey Constitution, our Court has exclusive
“jurisdiction over the admission to the practice of law and the discipline of
persons admitted.” N.J. Const. art. VI, § 2, ¢ 3. Out of that broad constitutional
mandate, the Court has constructed a comprehensive attorney admissions and
regulatory system that guides New Jersey attorneys throughout the duration of
their careers.

The Court created gatekeeping entities designed to screen individuals

seeking to enter the practice of law. The Board of Bar Examiners administers

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two annual substantive examinations; an individual must pass the bar exam in
order to earn admission to the bar. R. 1:23. The Committee on Character further
screens individuals proposing to enter the profession and certifies to their fitness
prior to their admission. R. 1:25. In certain limited circumstances, an attorney
may be admitted subject to conditions imposed as an additional support.

Once admitted, and throughout their careers, attorneys must complete
Continuing Legal Education (CLE) credits in ethics and professionalism,
including CLE credits focused on diversity, inclusion, and elimination of bias.
BCLE Reg. 201:1.

In addition to education, the Court has established additional aids to guide
attorneys in fulfilling their professional ethics obligations. In addition to
advisory bodies, such as the Advisory Committee on Professional Ethics
(ACPE), R. 1:19, and the less formal Ethics Hotline, R. 1:19-9, the Court also
created the Random Audit Program (RAP), administered by the Office of
Attorney Ethics (the OAE), under which attorneys must open their books for a
compliance analysis upon request of the program. The RAP program has a
largely educational purpose and the vast majority of random audits end with
either a satisfactory audit or the attorney completely and effectively addressing

any deficiencies. Less than 1.5% of RAP audits end in final discipline.

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Unfortunately, the Court’s regulatory, preventive, and supportive

measures cannot entirely prevent violations of the Rules of Professional

Conduct. To ascertain the truth of allegations of misconduct by New Jersey
attorneys, the Court created a comprehensive system for attorney discipline that
employs the talents of professional staff, attorney volunteers, and non-lawyer
public members. The two primary purposes of the attorney disciplinary system
are “to protect the public and preserve public confidence in the bar.” In re
Wigenton, 210 N.J. 95, 102 (2012).

Attorney disciplinary cases begin in a variety of ways. Most cases begin
with an “ethics grievance,” which is a written statement by a person that alleges
that an attorney committed a violation of the RPCs. Some cases begin when trust
funds appear to be in danger. Under the Trust Account Overdraft Notification
Program, banks authorized to hold New Jersey attorneys’ trust accounts must
notify the OAE if a trust account is overdrawn. Other cases come to the attention
of the disciplinary system through newspaper articles or referrals from judges,
attorneys, or government agencies.

New Jersey’s current method of handling grievances was directly
influenced by the 1982 report of the American Bar Association. That report
concluded that professional disciplinary agencies are essential to the fulfillment

of a Court’s constitutional duty to police the practice of law. In 1983, the Court

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founded the OAE and first articulated the methodology of the 18 local District
Ethics Committees (DECs). Those bodies serve the same disciplinary mission
in complementary ways.

Complex investigations are conducted by the professional staff of the
OAE. R. 1:20-2. Professional staff also keep a record of attorney trustee
appointments, move to transfer attorneys to disability inactive status when
appropriate, and seek temporary suspensions when necessary to protect the
public. Non-complex matters are routed to the eighteen local DECs for local
investigation.

At the end of any confidential investigation, the OAE Director or DEC
Chair will evaluate the investigator’s report. If misconduct occurred but would
only result in “minor” discipline of less than an admonition, the affected district
invites the Director to consider an agreement in lieu of discipline. If no
disqualifiers apply and the matter is clearly minor within the definition of that
Rule, the Director diverts the matter out of the disciplinary system. R. 1:20-
3(i)(2). Where the investigation establishes clear and convincing proof that an
attorney has violated one or more RPCs, and the misconduct merits greater than

minor discipline, the Director or DEC Chair will authorize the filing of a formal

disciplinary complaint.

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Just as in other areas of the law, disciplinary complaints may be resolved
by consent documents or litigated via a hearing. Such hearings generally occur
before panels of three DEC members, two of whom are attorneys and one of
whom is a non-attorney public member. For complex cases, the Court may
authorize the appointment of a special ethics master — a retired judge or an ethics
practitioner who is compensated to hear voluminous or legally complex
evidence which cannot fairly and timely be resolved through the volunteer
system.

The trier of fact, whether a DEC panel or a special ethics master, will fully
consider all evidence presented by the presenter and the respondent at a hearing.
After digesting the parties’ presentations, the finder of fact will issue a report
which decides two separate issues. First, the finder of fact will determine
whether any RPC was violated. Second, in the event that misconduct occurred,
the finder of fact will recommend an appropriate quantum of discipline based
on applicable New Jersey disciplinary precedent. The finder of fact does not
have the authority to impose discipline.

Rather, all recommendations for discipline by the initial finder of fact are
automatically reviewed by a second objective disciplinary entity, the
Disciplinary Review Board (the DRB or the Board). R. 1:20-15. The DRB sits

as the intermediate appellate tribunal within the attorney disciplinary system. It

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determines whether individual ethics cases were correctly adjudicated and is the
only body that considers appeals from dismissals of ethics cases. As with all
entities within the attorney regulatory system, the DRB is two-thirds attorney
members, with the remaining third composed of non-attorney public members.
Since 1984, the DRB has been supported by full-time staff in the Office of Board
Counsel.

The DRB also reviews all recommendations from discipline made by the
eighteen local DECs and special ethics masters. It exercises its independent
judgment to determine anew whether any RPC was violated, and whether the
recommended discipline is appropriate. The DRB has the authority to impose
admonitions by way of letter. In other matters, the Board’s decisions become
effective upon entry of a corresponding Order of the Court. The Board may only
recommend disbarment, upon which the Court alone is empowered to act.

Finally, the Board reviews petitions for reinstatement, filed by attorneys
who have completed a term of disciplinary suspension imposed by the Court and
have complied with R. 1:20-20, governing suspended attorneys. R. 1:20-21.
Typically, the Board considers these petitions without the necessity of oral
argument and issues a recommendation to the Court regarding whether the
attorney should be permitted to return to the practice of law. New Jersey does

not presently allow readmission from disbarment.

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Our Court is the third and final level of the disciplinary system. The Court
is the only body empowered to disbar an attorney, and it enters an order to show
cause in all disbarment cases. In all other matters, the recommendation of the
DRB becomes final on the entry of a disciplinary Order by the Court. R. 1:20-
16(b). The Court may also grant a petition for review or issue an order to show

cause on its own motion.

B. Attorney Misconduct Warranting Discipline

All violations of the Rules of Professional Conduct constitute misconduct

for which New Jersey attorneys may be subject to discipline. For “minor
unethical conduct,” an attorney may be eligible for an agreement in lieu of
discipline, a non-disciplinary resolution. R. 1:20-3(i)(2). For all other
misconduct, an attorney will receive formal and public discipline between an

admonition and disbarment.

C. Purposes of Attorney Discipline

The two primary purposes of attorney discipline are protection of the

public and the reputation of the bar. In re Goldstein, 97 NJ. 545, 548 (1984). The

Court has also expressly considered, in Wilson and elsewhere, the deterrent value of

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attorney discipline. Wilson, 81 N.J. at 460 n.6; In re Greenberg, 155 N.J. 138, 164

(1998) (describing deterrence as “a primary objective of the Wilson rule”).

Unlike the criminal justice system, which is based, at least in part, on
retribution, punishment is not a primary goal of the attorney disciplinary system.
Notwithstanding that distinction, as a practical matter, attorney discipline does
punish offending lawyers with sanctions that may result in loss of livelihood and

reputation. See Leslie C. Levin, The Emperor’s Clothes and other Tales about

the Standards for Imposing Lawyer Discipline, 48 Am. L. Rev. 1 (1998).

D. Levels of Attorney Discipline

Rule 1:20-15A(a) enunciates the present categories of final discipline in
New Jersey in order, from most to least serious:

The imposition of final discipline may include any of
the following sanctions, all of which shall be public:

(1) Disbarment. An attorney who is disbarred shall have
his or her name permanently stricken from the roll of
attorneys.

(2) Indeterminate Suspension. Unless the Court's Order
provides otherwise, an indeterminate suspension shall
prohibit the attorney from seeking reinstatement for a
minimum of five years.

(3) Term of Suspension. Absent special circumstances,

a suspension for a term shall be for a period that is no
less than three months and no more than three years.

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(4) Censure.
(5) Reprimand.
(6) Admonition.
The Court imposes a quantum of discipline in “accord with the seriousness of

the misconduct in light of all relevant circumstances.” In re Stanley, 102 N.J.

244, 253-54 (1986) (citing In re Nigohosian, 88 N.J. 308, 315 (1982)).

Disbarment is typically reserved for the most severe forms of misconduct,
including knowing misappropriation. Disbarment cases are per se “complex”
investigations. Accordingly, those investigations are performed by the career
staff of the OAE. Knowing misappropriation cases may be resolved through a
consent to disbarment, which is filed directly with the Court. R. 1:20-10(a). If
litigated rather than resolved by consent, a knowing misappropriation case will
be presented to a compensated special ethics master, R. 1:20-6(b), who is better
positioned than volunteer panelists to commit the time necessary to hear and
deliberate upon a complex financial case.

Consistent with the plain language of the current Rule, disbarment in New

Jersey is permanent. In re Wilson, 81 N.J. at 456 n.5; R. 1:20-15A(a). Asa

result, a final Order of disbarment results in the dismissal of all other grievances
pending at every level of the disciplinary system. No further action is possible

because the attorney’s license has been terminated and cannot be restored.

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E. Types of Misappropriation

There is an important difference between negligent and knowing
misappropriation. That distinction is memorialized here for the benefit of the
public who may read this report.

RPC 1.15(a) is entitled “Safekeeping Property” and governs all attorneys’
duty to guard against the invasion of others’ funds that they may come to hold
in the course of representing a client. The Rule provides:

A lawyer shall hold property of clients or third persons
that is in a lawyer’s possession in connection with a
representation separate from the lawyer's own property.
Funds shall be kept in a separate account maintained in
a financial institution in New Jersey. Funds of the
lawyer that are reasonably sufficient to pay bank
charges may, however, be deposited therein. Other
property shall be identified as such and appropriately
safeguarded. Complete records of such account funds
and other property shall be kept by the lawyer and shall
be preserved for a period of seven years after the event
that they record.

Typical trust and escrow funds include real estate deposits, personal injury
settlements, and estate funds. In New Jersey, an attorney will be subject to
discipline for any invasion of entrusted funds which is the product of that

attorney’s own action. !

' An attorney may have disciplinary liability for the actions of subordinates who
steal or otherwise invade entrusted funds, but such cases are typically charged as
failure to supervise the subordinate. Such cases result in discipline between an

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Where an invasion of client trust funds has resulted from an accident or
the attorney’s negligence, that misconduct typically will be met with a

reprimand. See In re Gleason, 206 N.J. 139 (2011) (holding that poor records

mismanagement generating excess disbursements from trust account constituted

negligent misappropriation); In re Weinberg, 198 N.J. 380 (2009) (holding that

failure to reconcile a trust account, resulting in an overdraft that invaded other
clients’ funds, constituted negligent misappropriation).

However, where an attorney has knowingly invaded client trust funds,
Wilson requires disbarment. The definition of “knowing” invasion of client

funds is likewise longstanding in our jurisprudence:

In re Eisenberg, supra, 75 N.J. 454, 383 A.2d 426
(1978). It is the knowledge that the money belongs to
the parties to the escrow agreement and that they have
not authorized the taking by the attorney, either by
stealing or by borrowing it, that is the essence of the
disbarment rule of In re Wilson, 81 N.J. 451, 409 A.2d
1153 (1979), and In re Hollendonner, supra, 102 N.J.
21,504 A.2d 1174 (1985). In re Noonan, 102 N.J. 157,
506 A.2d 722 (1986).

[In re Gifis, 156 N.J. 323, 355 (1998).]

admonition and a censure, with the magnitude of the harm treated as an aggravating
factor. See e.g., In the Matter of Seymour Wasserstraum, DRB 18-411 (July 29,
2019) (cataloging cases), 192 N.J. 397 (2007). An attorney generally has no
disciplinary liability for a bank error that impacts client funds, which would
ordinarily be detected and rectified through required monthly three-way
reconciliations.

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Only where the OAE has proven those elements of knowledge to the clear and
convincing evidence standard will an attorney have disciplinary liability for
knowing misappropriation. Both before and after Wade, knowing

misappropriation of entrusted funds requires disbarment.

Ill. IN RE WILSON

In 1979, the Court addressed the matter of Wendell R. Wilson, an attorney
whom the DRB had recommended be disbarred. Included in the eight
complaints that were filed against Wilson were two alleging his knowing
misappropriation of client funds. Specifically, Wilson had failed to turn over the
proceeds of the sale of a house to one client, for over two years, and had forged
another client’s signature on an incoming check. Ultimately, he made good on
the former but not the latter. The DRB found that, in addition to his
misappropriations, Wilson had lied to clients; “wantonly” disregarded their
interests; advised them to commit fraud; and was uncooperative in the ethics
proceedings — in short, a wholly unsympathetic character. That said, the Court
addressed only the misappropriations because, as it put it, “disbarment is

mandated by that alone.” Wilson, 81 N.J. at 454.

Ge

The Court began by defining knowing misappropriation as “any

unauthorized use by the lawyer of clients’ funds entrusted to him, including not

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only stealing, but also unauthorized temporary use for the lawyer’s own purpose,
whether or not he derives any personal gain or benefit therefrom.” Id.,

In Wilson, the Court explained why clients’ funds are held by lawyers in
the first instance: such possession is often expedient, customary and essential,
and, more importantly, because of the clients’ underlying faith in the legal
profession as an institution. The Court went on to characterize the breach of that
trust as “particularly reprehensible,” citing a number of decisions recognizing
the nature and gravity of the offense and the ineluctable conclusion that
disbarment was required. Id. at 455.

The Court recognized that disbarment had not always followed in
misappropriation cases:

results in misappropriation cases have varied because
of circumstances which the Court has regarded as
mitigating: the economic and emotional pressures on
the attorney which caused and explained his misdeed;
his subsequent compliance with client trust account
requirements; his candor and cooperation with the
ethics committee; his contrition; and, most of all,
restitution. The presence of a combination of these has

occasionally resulted in suspension, ranging from six
months to three years, rather than disbarment.

[Id. at 455-56.]
In Wilson, the Court rejected any outcome short of disbarment,
reaffirming as paramount the protection of the public and preservation of
confidence in the integrity and trustworthiness of the bar. In so ruling, the Court

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gave no consideration to mitigating factors such as restitution, good reputation,
or inexperience. As to restitution, it noted that compensation of victims is not a
function of our disciplinary process and bears the potential to favor those with
the ability to pay. Id. at 458. Regarding the latter considerations, the Court
observed that misappropriation is so grievous an offense against common
honesty that its nature should be clear not only to the youngest but also to the
most distinguished practitioners. Id. at 459-60.

Although the Court was troubled by the sympathetic case of a lawyer who
misappropriates to save a family member or the family home and, after the fact,
lives an exemplary life, it concluded that, on balance, the risk to continued
public confidence in the integrity of the profession is the greater weight. Thus,
the Court determined that the rule that calls for disbarment in knowing
misappropriation cases will be almost invariable. Id. at 460.

Six years later, the Court extended the Wilson rule to lawyers who

knowingly misappropriate escrow funds. In re Hollendonner, 102 NJ. 21

(1985). Anton J. Hollendonner used funds held in escrow for a real estate
transaction as a down payment on the purchase of a car. Id. at 26. He obtained
the approval of one party to the escrow arrangement but not the other.
Hollendonner made full restitution, but the Court found his conduct to constitute

knowing misappropriation. Id. at 28. However, it did not disbar him but, rather,

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made the Wilson rule applicable prospectively to the knowing misappropriation
of escrow funds. Id. at 28-29.

In 1993, the Wilson rule again was extended in scope, this time in
connection with the knowing misappropriation of law firm funds. In In re
Siegel, 133 N.J. 162, a partner at a large law firm was charged with fabricating
disbursements, misappropriating law firm funds, and submitting false expenses
against a client account over three years to pay his own personal expenses. The
Court declared:

We see no ethical distinction between a lawyer who for
personal gain willfully defrauds a client and one who
for the same untoward purpose defrauds his or her
partners. In the absence of compelling mitigating
factors justifying a lesser sanction, which will occur

quite rarely, misappropriation of firm funds will
watrant disbarment.”

[Siegel, 133 N.J. at 167-68.]

In 2002, the Court created an indeterminate suspension. R. 1:20-
15A(a)(2). It has been characterized as a remedy for those on the “cusp” of

disbarment. 46 N.J. Practice, New Jersey Attorney Discipline § 4:16, at 233.

Between 2002 and 2023, only five indeterminate suspensions were meted out,

and none in connection with a Wilson case.

> In In re Sigman, 220 NJ 141 (2014), the Court clarified that a Siegel violation will
not invariably result in disbarment.

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In the years since the announcement of the Wilson rule, the Court has

disbarred 100% of the attorneys found to have knowingly misappropriated

client’s funds. 46 N.J. Practice, New Jersey Attorney Discipline § 6:1, at 335.

IV. INRE WADE

In 2022, in In re Wade, 250 N.J. 581, the Court analyzed and reaffirmed
the principles set forth in Wilson. In that case, the attorney was charged with
knowingly misappropriating the entrusted funds of three clients. She readily
admitted to the OAE what she had done, cooperated fully with disciplinary
authorities, and reimbursed the funds she improperly had taken. The Special
Master characterized her as “a remarkable person who has overcome tremendous
personal obstacles, through diligence and perseverance, to become a pillar of
her church and local community.” Id. at 593. Born to an addicted, sixteen-year-
old mother, Wade’s childhood was chaotic. Yet, she became a student leader,
mentor, and volunteer. As a lawyer, she had an impressive array of pro bono
service. She presented workshops on domestic violence, bankruptcy, real estate,
and wills to underserved clients and, through her church, assisted with
transitional housing, summer camp, school programs and food drives. She was
honored by Northeast New Jersey Legal Services numerous times for her pro

bono dedication. The Court noted that she had presented multiple character

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witnesses who offered “compelling evidence of her personal and professional
achievements,” and that the Special Master had found that “her service to the
community and good reputation are particularly exemplary.” Id. at 602. Yet,
as has previously been discussed, none of those factors provides a defense to a
Wilson violation. Consequently, the Court reaffirmed that knowing
misappropriation will result in disbarment in all cases, including that of Wade,
but posed these questions: “[s]hould disbarment be permanent in all Wilson cases?
Or should the disciplinary system offer disbarred attorneys like [Wade] an
opportunity for a second chance at a later point in time?” Id. at 604.

The Court pointed out that many considerations bear on the answers to
those questions, including the fact that forty-one states and the District of
Columbia now permit attorneys to apply to be readmitted after they have been
disbarred. Id. at 585. Most of those jurisdictions allow such application for
readmission five years after the effective date of the disbarment.

The Court also noted that the ABA’s model rule permits an application
for readmission five years after disbarment if the applicant satisfies certain
criteria, including compliance with all prior disciplinary orders; rehabilitative
treatment for physical or mental infirmity; programs for alcohol or drug abuse;
recognition of the wrongfulness and seriousness of the prior misconduct; proof

of the requisite honesty; and proof of integrity to practice law and competency

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to practice. Id. at 606-7 (citing MODEL RULES FOR LAWYER DISCIPLINARY
ENFORCEMENT r. 25(E) (AM. BAR ASS’N 2002).

The Court also detailed the readmission regulations of several
jurisdictions. By way of example, it noted South Dakota, which considers ten
comprehensive factors, as discussed in greater detail later in this report.
Moreover, the Court noted that eleven jurisdictions require the attorney
applicant to retake the bar exam, whereas other jurisdictions impose that
requirement on a discretionary basis. Wade, 250 N.J. at 607-8.

The Court went on to convene this Committee, comprised of attorneys and

members of the public with the following objectives:

We will ask the committee to study whether disbarment
should continue to be permanent in all Wilson cases and
to recommend standards that might apply if New Jersey
were to adopt the majority approach. Among other
issues to consider are the following: After what period
of time might attorneys be readmitted? What factors
and standard of proof should apply to that judgment?
Should disbarred attorneys be required to retake the bar
examination or other courses on ethics, recordkeeping,
and related subjects? What process might be adopted
for readmission? And what rule changes might be
warranted?

To be clear, we ask the committee to recommend
whether to modify the rule of permanent disbarment for
matters in which disbarment has been mandatory — that
is, for knowing misappropriation of client funds under
Wilson and escrow funds under Hollendonner. The
Court made clear in Sigman that disbarment was not
required for knowing misappropriation of law firm

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funds. 220 N.J. at 158, 104 A.3d. 230. We ask the
committee to consider whether any rule change should
apply to orders of disbarment entered before Sigman.

There are yet other serious matters in which the Court
exercised its discretion and permanently disbarred an
attorney. We invite the committee’s comments on that
issue as well. The committee’s report will be made
available to the public for comment before the Court
determines how to proceed. See N.J. Const. art. VI, § 2,
{ 3 (“The Supreme Court shall have jurisdiction over
the admission to the practice of law and the discipline
of persons admitted.”). We welcome input from
attorneys and the public to promote the key interests at
the heart of the Wilson rule: how best to protect the
public and maintain confidence in the legal profession.

[Id. at 608-9.]

This report follows.

V. STANDARDS FOR READMISSION IN OTHER
JURISDICTIONS

As recognized by the Court in Wade, every jurisdiction disbars attorneys
for serious ethics violations, but treats the permanency of the disbarment or
readmission from disbarment differently. In re Wade, 250 N.J. at 607. Most
states (forty-one) and the District of Columbia permit disbarred attorneys to
apply for readmission. New Jersey, along with Indiana, Kentucky, Nevada, New
Mexico, Ohio, Oregon, and Tennessee, impose permanent disbarment. See R.
1:20-15A(a)(1), -16(4); Ind. R. Admission Bar & Discipline Att’ys 23 § 3(a); Ky.

Sup. Ct. R. 3.380; Nev. Sup. Ct. R. 102(1); N.M. State Ct. R. 17-214(A); Ohio
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Sup. Ct. R. Gov’t Bar V, §12(B); Ore. State Bar R. P. 6.1(d); Tenn. Sup. Ct. R.
9, § 30.2 (making disbarment permanent on or after July 1, 2020); La. Sup. Ct.
R. Law. Disciplinary Enft 19, § 10(A)(1).

For jurisdictions that allow readmission after disbarment, all but eleven
provide that attorneys may seek readmission after five years. See Ala. R.
Disciplinary P. 28(b); Alaska Bar R. 29(b)(5); Ariz. R. Sup. Ct. 64(d); Ark. R.
Pro. Conduct 24(B)(1); Cal. State Bar R. 5.442(B); Del. Law. R. of Disciplinary
Proc. 22(c); D.C. Bar R. XI, §16(a); Ga. R. Gov’g Admission Prac. L. pt. A,
§10(a); Idaho Bar Comm’n R. 506(a); Ill. Sup. Ct. R. 767(a); Iowa Ct. R.
34.25(7); Me. Bar R. 29(a); Mich. Ct. R. 9.123(B)(2); Mo. Sup. Ct. R. 5.28((2);
Mont. R. Law. Disciplinary Enf't 29(C)(3); Neb. Ct. R. 3-310(T); N.C. R. State
Bar ch. 1, subch. B, § .0129(a)(2); N.D. R. Law. Discipline 4.5(D); Okla. R.
Gov’g Disciplinary Proc. 11.1(e); Pa. R. Disciplinary Enft 218(b); R.I. Sup. Ct.
R. art. III, R. 16(b); S.C. App. Ct. R. 413, R. Laws.’ Disciplinary Enf’t 33(a);
S.D.C.L. § 16-19-83; Tex. R. Disciplinary P. 11.01; Utah Code Jud. Admin. R.
14-707(c); Vt. Admin. Ord. 9, R. 26(A); Va. R. Sup. Ct. pt. VI, § IV, ¢ 13-
25(F)(1); Wash. Admission Prac. R. 25.1(b); W. Va. R. Law. Disciplinary P.
3.33(b); Wis. Sup. Ct. R. 22.29(2); Wyo. R. Disciplinary P. 22(b)(1). This is

consistent with the ABA’s recommendation that “[n]o lawyer may petition for

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readmission until five years after the effective date of disbarment.” MODEL
RULES FOR LAWYER DISCIPLINARY ENFORCEMENT r. 25(A) (AM. BAR ASS’N 2002).

The remaining jurisdictions either have a variation of the five-year time
requirement (four states), or another unique timeframe (seven states). See Colo.
R. Civ. P. 242.39(a)(1) (eight-year timeframe); Conn. R. Super. Ct. §§ 2-53(b),
2-47A (five years except for cases of knowing misappropriation, which is twelve
years); R. Regulating Fla. Bar 3-7.10(n)(1) (five years unless more time is
specified in the order of disbarment); Haw. R. Disciplinary Bd. 30(a) (1-year
timeframe); Kan. Sup. Ct. R. 232(a)(3), (e)(1) (five years unless more time is
ordered by the court); Md. R. 19-752(c)(2)(B) (time set in each order); Mass. R.
Sup. Jud. Ct. 4.01, § 18(2)(a) (eight years); Minn. 34 R. Laws. Pro. Resp. 18 (no
set minimum, but factor considered for readmission); R. Discipline Miss. State
Bar 12(e), 12.1 (five years except, in certain felony criminal offenses,
disbarment is permanent); N.H. Sup. Ct. R. 37(14)(c)(1)(A) (seven years); N.Y.
Ct. R. 1240.16(c)(1) (seven years).

If readmission from disbarment is denied, some states impose a time
limitation for reapplication. Ala. R. Disciplinary P. 28(i) (one year); Del. Laws.’
R. Disciplinary P. 22(d) (one year); Ill. Sup. Ct. R. 767(a) (two years); Mass. R.
Sup. Jud. Ct. 4.01, § 18(8) (one year); Md. R. 19-752(i) (one year); Mich. Ct. R.

9.123 (D)(4) (one year); N.C. R. State Bar ch. 1, subch. B, § .0129(a)(10) (one

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year); Okla. R. Gov’g Disciplinary Proc. 11.1(e) (one year); S.C. App. Ct. R. 413,
R. Laws.’ Disciplinary Enf’t 33(h) (two years); S.D.C.L. § 16-19-83 (one year);
Tex. R. Disciplinary P. 11.08 (three years); Wash. Admission Prac. R. 25.1(b)
(two years); Wyo. R. Disciplinary P. 22(7) (two years).

Jurisdictions that permit readmission have set criteria to be considered when
evaluating an attorney’s application. Many jurisdictions’ criteria are similar to the
ABA Model Rule 25, which requires “compliance with all prior disciplinary orders;
rehabilitative treatment for physical or mental infirmity, including alcohol or drug
abuse; recognition of the wrongfulness and seriousness of the prior misconduct;
proof of ‘the requisite honesty and integrity to practice law;’ competency to practice;
and passage of the bar examination and character and fitness examination.” Wade,
250 N.J. at 606-607 (citing MODEL RULES FOR LAWYER DISCIPLINARY
ENFORCEMENT r. 25 (Am. Bar Ass’n 2002)).

As outlined in Wade, a comprehensive example comes from South
Dakota, where its Supreme Court considers ten factors:

1. —_ present moral fitness;

2. acceptance of wrongdoing with sincerity and honesty;

3. extent of rehabilitation;

4. nature and seriousness of the original misconduct and the
disrepute it brought on the legal profession;

5. conduct following the discipline, including whether there has

been any unauthorized practice of law;

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6. time elapsed since the original discipline;

7. character, maturity and experience at the time of discipline and
now;

8. current competency and qualifications to practice law;
9, restitution; and

10. proof that resumption of the practice of law within the state will
not be detrimental to the integrity and standing of the bar or the
administration of justice, or subversive of the public interest.

[Id. at 607 (quoting In re Pier, 561 N.W.2d 297, 301 S.D. 1997)).]

Most jurisdictions adopt some or all of the above criteria, but only sixteen
require applicants to complete examinations. Of those, eleven states require an
attorney seeking readmission to pass the bar examination. Ariz. R. Sup. Ct.
64(c); Cal. State Bar R. 5.441(B)(4)(a); Ga. R. Gov’g Admission Prac. L. pt. A,
§ 10(f); Okla. R. Gov’g Disciplinary Proc. 11.5(c); Colo. R. Civ. P. 242.39(a)(1)
(also requires the Multistate Professional Responsibility Examination (MPRE));
R. Regulating Fla. Bar 3-7.10(f)(4)(B) (same); R. Discipline Miss. State Bar
12.5 (same); Mo. Sup. Ct. R. 5.28(b)(4), (d) (same); N.H. Sup. Ct. R.
37(14)(c)(2)(C), (D) (same); S.C. App. Ct. R. 413, R. Laws.’ Disciplinary Enf’t
33(f)(8) (same); Minn. R. Laws. Pro. Resp. 18(e) (requires completion of all
written exams required for initial admission). See also N.C. R. State Bar ch. 1,
subch. B, § .0129(a)(5) (required after seven years). Five states require

applicants to retake the MPRE. Conn. R. Super. Ct. § 2-53(d)(3); R.I. Sup. Ct.

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art. II, R. 16(d); Va. R. Sup. Ct. pt. 6, § IV, ¥ 13-25(F)(4); N.Y. Ct. R.
1240.16(b) (MPRE mandatory; may also require completion of bar
examination); N.C. R. State Bar ch. 1, subch. B, § .0129(a)(5) (required after
seven years).

One of the most common criteria required for readmission is restitution.
Many jurisdictions require some form of restitution, or provide that restitution
is a factor to be considered. See Ala. R. Disciplinary P. 28 (readmission may be
conditioned on complete or partial restitution); Cal. State Bar R. 5.442(B)(2),G)
(pay all discipline costs and reimburse Client Security Fund); Colo. R. Civ. P.
242.39 (must show completion of any required restitution); Conn. R. Super. Ct.
§ 2-53(c) (if disbarred for misappropriation, must show full restitution); D. C.
Bar R. XI 16 (may require restitution if readmission granted); R. Regulating Fla.
Bar 3-7.10(n) (must make all restitution); Il]. Sup. Ct. R 767(f) (restitution a
factor); Iowa Ct. R. 34.25 (1)() (repayment or payment plan for Clients’
Security Trust Fund); Md. R. 19-752(h)(2)(i) (required completion of financial
obligations); Mich. Ct. R. 9.123 (b)(9) (reimbursement or payment plan for
client security fund); Mo. Sup. Ct. R. 5.28(b)(2) (restitution a factor); N.C. R.
State Bar ch. 1, subch B, § ~~ .0129(a)(3)(L-P) (requiring
reimbursement/restitution to all including Client Security Fund); Okla. R. Gov’g

Disciplinary Proc. 11.4 (restitution a factor); S.D.C.L. § 16-19-87 (may

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condition readmission on restitution); Utah Code Jud. Admin. R. 14-
717(b)(1)(D)Gi) (requiring full restitution); Va. R. Sup. Ct. pt. VI, § IV, | 13-
25(G)(6)(b) (restitution a factor); Wash. Admission Prac. R. 25.1(d) (must pay
any restitution ordered prior to application); Wis. Sup. Ct. R. 22.29(4)(m)
(restitution, including to the Wisconsin lawyers’ fund for client protection or
explanation of the failure or inability to do so); Wyo. R. Disciplinary P.
22(b)(3)(C) (requiring restitution to any person and the Client Protection Fund).

Additional requirements can include CLE credits and references. See Ala.
R. Disciplinary P. 28(g) (readmission may be conditioned on additional CLEs);
Me. Bar R. 29(e)(7) (CLE requirements for disbarment period — up to twenty-
four credits); Minn. R. Laws. Pro. Resp. 18 (all required CLE for change from
restricted to active status); Va. R. Sup. Ct. pt. VI, § IV, § 13-25(F)(3) (sixty CLE
hours within five years of applications, ten hours in ethics); Alaska Bar R.
29(b)(4) (three character witnesses required); Iowa Ct. R. 34.25 (9)(c) (regional
references); N.C. R. State Bar ch. 1, subch. B, § .0129(4)(B)(v) (competency
can be proven by “certification by three lawyers who are familiar with the
petitioner’s present knowledge of the law that the petitioner is competent to
engage in the practice of law”).

Many states prohibit readmission, or have presumptive disqualification, if

the attorney commits certain crimes or additional professional misconduct,

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including the unauthorized practice of law. Ariz. R. Sup. Ct. 64(b) (rebuttable
presumption disqualifying attorneys who have been convicted of a misdemeanor
involving a serious crime or felony); Ark. R. Regulating Pro. Conduct 24(B)(2),
(3) (excluding convictions for certain serious crimes or if disbarment reflected
adversely on lawyers’ honesty or trustworthiness); Cal. State Bar R. 5.442(B),
5.445 (no readmission after second disbarment); Iowa Ct. R. 34.25 (9)(e)
(requiring that the Client Security Trust Fund has been repaid in full or that an
approved payment plan in place); Kan. Sup. Ct. R. 232(e)(4)(G) (no unauthorized
practice of law); Me. Bar R. 29 (no unauthorized practice of law); Md. R. 19-
752(h) (no unauthorized practice of law or further professional misconduct);
Mich. Ct. R. 9.123(B)(3) (no unauthorized practice of law); R. Discipline Miss.
State Bar 12(d) (permanent disbarment for felony crimes); Mo. Sup. Ct. R.
5.28()(6) (other instances of dishonesty including unauthorized practice of law
a factor); Mont. R. Law. Disciplinary Enf’t 29(D)(2) (no unauthorized practice
of law); N.C. R. State Bar ch. 1, subch. B, § .0129(a)(3)() (no unauthorized
practice of law); N.D. R. Law. Discipline 4.5(F)(3) (no unauthorized practice of
law or further professional misconduct); Okla. R. Gov’g Disciplinary Proc.
11.1(a) (no unauthorized practice of law); S.C. App. Ct. R. 413, R. Laws.’
Disciplinary Enft 33(f, (h) (no unauthorized practice of law or further

professional misconduct; court can deny solely based on seriousness of prior

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misconduct); Wis. Sup. Ct. R. 22.29(4)(b) (no unauthorized practice of law);

Wyo. R. Disciplinary P. 22(b)(4) (no unauthorized practice of law).

VI. CONDITIONS AFTER  READMISSION IN OTHER
JURISDICTIONS

Every jurisdiction that permits an attorney to seek to practice after
disbarment reserves the right to impose conditions upon readmission. Those
conditions provide assurance to the public of the continued trustworthiness of
the readmitted attorney and of the overall integrity of the profession. In addition,
the conditions serve to protect the public by monitoring the conduct of returning
attorneys to ensure that they have not committed new violations of each

jurisdictions’ ethics rules. The ABA’s model rule governing reinstatement

provides:

The court may impose any conditions that are
reasonably related to the grounds for the lawyer’s
original suspension or disbarment, or to evidence
presented at the hearing regarding the lawyer’s failure
to meet the criteria for reinstatement or readmission.
Passing the bar examination and the character and
fitness examination shall be conditions to readmission
following debarment. The conditions may also include
any of the following; limitation upon practice (to one
area of law or through association with an experienced
supervising lawyer); participation in continuing legal
education courses; monitoring of the lawyer’s practice
(for compliance with trust account rules, accounting
procedures, or office management procedures);
abstention from the use of drugs or alcohol; active

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participation in Alcoholics Anonymous or other alcohol
or drug rehabilitation program; monitoring of the
lawyer’s compliance with any other orders (such as
abstinence from alcohol or drugs, or participation in
alcohol or drug rehabilitation programs). If the
monitoring lawyer determines that the reinstated or
readmitted lawyer’s compliance with any condition of
reinstatement or readmission is unsatisfactory and that
there exists a potential for harm to the public, the
monitoring lawyer shall notify the court and, where
necessary to protect the public, the lawyer may be
suspended from practice under Rule 20(B).

[MODEL RULES FOR LAWYER _ DISCIPLINARY
ENFORCEMENT r. 25(J) (AM. BAR ASS’N 2002).]

Other jurisdictions have adopted similar approaches to those in the ABA’s
Model Rule 25. Maine, for example, states:

The Court may impose conditions on a [petitioner’s]
reinstatement. The conditions shall be imposed in cases
where the petitioner has met the burden of proof
justifying reinstatement, but the Court reasonably
believes that further precautions should be taken to
protect the public. The Court may impose any
conditions that are reasonably related to the grounds for
the [petitioner’s] original suspension or disbarment, or
to evidence presented at the hearing regarding the
[petitioner’s] failure to meet the criteria for
reinstatement. Passing the bar examination and the
character and fitness examination shall be conditions to
reinstatement following disbarment. The conditions
may include, but are not limited to any of the following:
(1) limitation upon practice to one area of law or
through association with an experienced supervising
lawyer; (2) participation in continuing legal education
courses; (3) monitoring of the [petitioner’s] practice for
compliance with trust account rules, account
procedures, or office management procedures; (4)

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abstention from the use of drugs or alcohol; (5) active
participation in an alcohol or drug rehabilitation
program; (6) active participation in mental health
treatment; or (7) monitoring of the [petitioner’s]
compliance with these conditions and any other orders.
Should a monitor determine that the reinstated
[lawyer’s] compliance with any condition of the
reinstatement is unsatisfactory and that there exists a
potential for harm to the public, the reinstated lawyer
may be suspended from practice under Rule 21(b).

{Rule 29(1) Maine Board of Overseers. See also Md. R.
19-752); S.C. App. Ct. R. 413, R. Laws.’ Disciplinary
Enf’t 33(i).]

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VII. CURRENT NEW_ JERSEY STANDARDS FOR
REINSTATEMENT FROM SUSPENSION

The requirements for reinstatement following suspension in New Jersey
are enumerated in R. 1:20-21.7 That Rule sets forth the requirements for the
application process in detail, including where the filing takes place (with the
DRB); service and publication requirements; and disciplinary costs. Subsection
(f) of the Rule requires that the petition “set forth all material facts on which the
petitioner relies to establish fitness to resume the practice of law” including the

following:

Name of petitioner and current photograph;

Date on which suspension was imposed and citation to
any reported opinion;

Age, current address, and telephone number, as well as
the address and correlating dated for any residences
during the suspension;

Nature of petitioner’s occupation during suspension,
including name and address of employer, dates
employed, positions occupies/titles held,
name/address/phone number of the immediate
supervisor, and the reason for leaving employment;

Information regarding any civil, criminal,
administrative or disciplinary action pending during the
suspension period to which petition was a party or
claimed an interest;

> Rule 1:20-21 is reproduced in full in the Appendix at E.
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Written consent for Board to obtain copies of records
relating to any criminal investigation or action
involving petitioner;

Statement of monthly earnings and income and sources;

Statement of assets and financial obligations at the
effective date of the suspension and presently;

Information regarding any accounts, safety deposit
boxes, deposits, or loans;

Copies of federal and state income tax returns;
Statement of restitution to clients and the Fund;

Information as to the receipt of service relating to
mental or emotional health or addiction if those
services relate to the disciplinary offenses or are
determined to be relevant to the petitioner’s present
ability to practice;

Whether petitioner applied for admission in any other
jurisdiction;

Information regarding any other business licenses or
certificates and related disciplinary actions;

Information about any applications requiring proof of
good character made during the term of suspension;

Whether petitioner engaged in the practice of law
during the term of suspension;

Any disciplinary proceedings during the term of
suspension relating to petitioner’s membership in any
other profession or organization;

Written representation of petitioner’s intentions
concerning the practice of law if reinstated;

Annual Attorney Registration Statement; and

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Copy of the Rule 1:20-20 affidavit and any other
information required by the Board or Court (R. 1:20-

21()(1) - (21).

That Rule also authorizes referral of specific issues by the Board to a trier of
fact; establishes the standard of proof (clear and convincing); and states that the
burden of proof falls to the petitioner.

R. 1:20-20, in turn, enumerates the requirements that previously must
have been satisfied by an attorney, contemporaneous with their suspension. The
required R. 1:20-20 affidavit mandates that the lawyer seeking reinstatement
certify, under penalty of perjury, that he or she has satisfied each and every one

of the prescriptions in the Rule.

R. 1:20-15A(b) provides authority for the imposition of conditions on a

lawyer reinstated after suspension:

Conditions. The Supreme Court’s Order may provide
for one or more of the following, either as a part of a
sanction imposed pursuant to paragraph (a) or as a
condition to reinstatement:

(1) Financial controls including, but not limited to, a
designated co-signatory for all attorney trust and
business account checks;

(2) Restrictions on the ability to practice including,
but not limited to, the use of a supervising attorney
approved by the Office of Attorney Ethics as a
prerequisite to engaging in the private practice of law;

(3) Substance abuse control including, but not
limited to, requiring abstinence, testing, and an
identifiable commitment to appropriate support groups;

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(4) Mental health treatment and counseling, together
with a finding of fitness to practice by a mental health
professional approved by the Office of Attorney Ethics;

(5) Taking and passing the New Jersey bar
examination, as well as meeting all other qualifications
for admission including, but not limited to, a
certification of the attorney’s good character by the
Supreme Court after review by the Committee on
Character; and

(6) Such other conditions as may be deemed
appropriate in the light of the circumstances presented
including, but not limited to, probation or a suspended
suspension.

R. 1:20-15A(b)(5) also cross-references the standards of the Committee
on Character. Of particular interest is the burden of proof for character
proceedings:

Burden of Proof. The candidate shall have the burden
to establish by clear and convincing evidence his or her
good character and current fitness to be admitted to the
practice of law in this State. Among the factors the
Committee shall take into consideration are the:

a. Severity of the conduct;
b. Cumulative nature of the conduct;

c. Age of the candidate at the time of the alleged
misconduct; and

d. Any rehabilitation evidence presented by the
candidate.

[Comm. Char. Reg. 303:6.]

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That burden is consistent with the burden applicable to original disciplinary
proceedings. See R. 1:20-6(c)(2)(B); R. 1:20-6(c)(2)(C).

Relevant as well is the Committee on Character’s enumeration of types of
rehabilitation evidence that an initial applicant is permitted to provide:

Rehabilitation Evidence. The candidate may present
rehabilitation evidence including, but not limited to:

a. Positive social conduct and community service;
b. Absence of recent misconduct;
c. Reputation testimony; and
d. Demonstration of the candidate’s understanding
of responsibility to the administration of justice
and the practice of law.
Substance abuse or mental illness may not be
considered a defense or justification for misconduct,

but evidence of treatment and recovery may be offered
to support a claim of rehabilitation.

[Comm. Char. Reg. 303:7.]

The full Character and Fitness questionnaire can be reviewed at Appendix I.
Likewise, R. 1:20-18 provides that “an order of reinstatement entered by

the Supreme Court may require the respondent to practice law under supervision

by a practicing attorney,” and prescribes the details of the monitoring process

including weekly conferences; monthly reports; timecards; and_ separate

quarterly reports by the supervisor.

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VITI. RECOMMENDATIONS

As reviewed in detail below, a majority of the Committee conceptually
approved a path back from disbarment for deserving and fully rehabilitated
attorneys. The Committee went on to propose boundaries for the privilege of
readmission, and to sketch additional protective supports for attorneys who are

admitted to practice a second time.

A. A Majority of the Committee Conceptually Approved a Path
Back from Disbarment.

Although the Committee was of one mind regarding the unethical nature
of knowing misappropriation, it was, from the outset, divided over the question
of whether lawyers who are disbarred under Wilson for knowing
misappropriation of funds should ever be given a second chance to practice law.
The members vigorously debated this issue.

Those opposed to readmission argued that lawyers who take money from
their clients without permission breach the compact of trust they have with the
client and violate their obligations as officers of the court. They believe a
second chance would not only fail to protect our fellow citizens but would
destroy all confidence in the profession. For them, the absolute bar of Wilson

is the only option.

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The majority of members, who favored readmission, expressed the view
that, regardless of its duration, a Wilson disbarment, in and of itself, is an
equivalent and devastating response to a breach of trust. They believe that
human beings are capable of change and that affording a second chance to
lawyers who have acknowledged their fault and redeemed themselves by their
post-disbarment conduct is consonant with contemporary notions of redemption,
reconciliation, and restorative justice. They cited initiatives toward
rapprochement between offenders and victims, as well as re-entry programs, as
evidence of the public’s present attitudes. According to the majority, the public
would not be offended by providing an opportunity for a disbarred lawyer to ask
for a second chance rather than consigning a fully-rehabilitated person to a life
outside of the legal profession. They argue that such an opportunity will not
jeopardize the image of the profession or the interests of the public, so long as
a rigorous readmission scheme is in place.

Those competing views are similar to the views expressed by the few

scholars who have weighed in on the question of permanency and whose

writings the Committee reviewed. See Anne Ben Ami, Disbarment and

Reinstatement in the District of Columbia and New Jersey: Misappropriation

and the Merits of Permanent Disbarment, 27 Geo. J. Legal Ethics 356 (2014).

Ben Ami synthesizes the arguments in favor of permanency: a path back would

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not protect our fellow citizens and would destroy confidence in the bar;
permanency has a deterrent effect and provides uniformity, predictability, and
efficiency; and that the clear and convincing burden at front end is heavy enough
to assure that the right people are being singled out for permanent obloquy. See

also Barry Brown, The Reinstatement Dilemma: The Legacy of the Hiss Case in

Massachusetts, 2 J. Legal Prof. 77 (1977) (arguing permanency contributes to

consistency).

The scholarly opponents to permanent disbarment view the Ben Ami
approach as out of synchronicity with contemporary values and argue that any
notion of due process requires that a rehabilitated lawyer should not be
consigned to a life outside the profession. They also contend that, although
uniformity is a value, it is not one that should trump fairness; that there is no
evidence that longer punishment improves the reputation of the profession; that
disbarment for any amount of time is a sufficient deterrent (both general and
specific) to bad conduct; and that proper vetting will protect the public. See

William J. Hamilton, Current Developments 2018-2019: Treating all Attorneys

Fairly; Changing the Rules for Disbarment, Regardless of Conduct, 32 Geo. J.

Legal Ethics 659 (Fall 2019). See also Zazzali, 21 Geo. J. Legal Ethics 311

(approving disbarred attorneys being given a chance to seek readmission in some

circumstances).

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The initial debate in the Committee over the basic issue of whether there
should be a path back was a difficult one, with strong views expressed on both
sides. Ultimately, those who favored a second chance carried the day. However,
because the Committee was tasked with creating a readmission process
regardless of the outcome of this initial vote, it was agreed that the original vote
would be treated as a straw poll and that, after the Committee settled on a
procedure, a final vote would be taken. As it turned out, the ultimate vote, like
the earlier straw poll, was in favor of allowing Wilson violators to reapply for

admission to the bar.

B. Defining a Path Back From Disbarment

The threshold issue of whether to offer a path back from disbarment having
been resolved, the Committee proceeded to consider the contours of which persons
would be eligible for application, and what standards those attorneys should be
required to satisfy prior to readmission. Those questions of scope are addressed

below.

1. Committee Rejects Categorical Exclusion of Certain Categories of
Knowing Misappropriation

The formulation of the path back was the next issue. Initially the
Committee considered isolating specific types of knowing misappropriation and

barring those who committed them from access to a second chance. However,

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in light of the vast array of factual scenarios presented in knowing
misappropriation cases, along with the difficulty of creating parsimonious
categories, that approach was quickly discarded as unworkable.

Several members suggested a blunter instrument — distinguishing between
cases based solely on the notion of stealing — was it the lawyer’s intent to deprive
the clients of their property permanently? If so, that would be the dividing line
between those permitted to apply and those not. But focusing only on the intent
of the lawyer, like focusing only on the amount of the loss or even the extent of
the rehabilitation, seemed to the Committee as too narrow an approach. It was
agreed that, if there was to be a second chance, it needed to take into account
the entire constellation of the factors involved in every case.

As a practical matter, some members of the Committee expressed the fear
that the number of persons who might apply for readmission could overwhelm
the disciplinary system. Others countered that it was likely, after the passage of
years, that many disbarred attorneys will have neither the desire nor the
wherewithal to satisfy a rigorous readmission process. Those competing views
were further informed by the most recent report of the American Bar Association
Center for Professional Responsibility (2019) which reported that, among the
forty-two jurisdictions permitting readmission after disbarment, only eight

hundred and twenty-three lawyers sought reinstatement from suspension or

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readmission from disbarment (an average of twenty per jurisdiction) and only
forty lawyers were readmitted after disbarment — fewer than one per jurisdiction.
See ABA Survey on Lawyer Discipline Systems 2019. Statistics for other years
were similar (see Appendix K). Thus, the idea that a path back would result ina
swarm of applications that would overwhelm the disciplinary system did not
appear to be realistic to the Committee.

Ultimately, the Committee concluded that the most practical approach was
that the path back should be available to all Wilson violators, with a rigorous
vetting process and a determination on a case-by-case basis. That was

recognized as the most labor-intensive but fairest approach.

2. Duration of Disbarment

The next issue to be resolved was how long a lawyer disbarred under
Wilson should have to wait to reapply. Vigorous debate ensued. The Committee
was advised that most jurisdictions and the ABA’s model rule impose a five-
year period before a disbarred attorney can apply for readmission, although
several have longer or shorter periods, ranging from no wait to twelve years. It
also was noted that indeterminate suspension in New Jersey set five years as the

minimum duration prior to application for reinstatement. R. 1:20-15A(a)(2).

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Some members expressed concern that five years is too long, suggesting
instead that applicants be required to commence CLE after two years and be
permitted to reapply after three. Those members noted that three years without
practicing is significant. Recognizing that some suspensions are three years,
they suggested that suspension terms also may need to be revised.

Other members countered that five years would be too short, considering
that an indefinite suspension already is a minimum of five years. Additionally,
those members were concerned that any term shorter than five years for such
egregious conduct as knowing misappropriation would be poorly received. One
member noted that, in his experience, disbarred attorneys are not ready to be
readmitted in fewer than five years and often are coping with other issues, such
as jail time and rehabilitation efforts, and need time to demonstrate reform; the
member opined that such issues often cannot be resolved in two or three years.
After a debate that drilled down on three, five, or seven years, the majority of

the Committee settled on five years, the rule in most other jurisdictions.

3. Application of Enhanced Reinstatement Rule to Readmission Following
Disbarment

The Committee then turned to process, again reviewing the rules of other
jurisdictions, learned treatises, and the ABA model. After analyzing the scheme

presently in effect in New Jersey for reinstatement following suspension, the

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Committee concluded that, if a path back is to be authorized, there is no need to
reinvent the proverbial wheel. Thus, it voted to adopt the substance of the Rules
set forth in Part VII above (see Appendix E), which parallel the rules in effect
in other jurisdictions.

With that as the framework for the readmission standards, the Committee
debated what additions to or deletions from the R. 1:20-21 might be warranted.
One of the first issues to arise was the standard of proof. Under the present
Rules, the applicant bears the burden of proving fitness to return to practice by
clear and convincing evidence. One member suggested adding a presumption
against readmission. After discussion, it was agreed that that would actually add
nothing to the Rule insofar as the presumption would have to be overcome by
clear and convincing evidence. Thus, the Committee voted to apply the present

burden and standard of proof set forth in R. 1:20-21.

4. Testing Requirements for Readmission
The Committee next addressed competency and whether applicants should
be required to retake the bar exam. The majority of jurisdictions that allow
disbarred attorneys a second chance make the bar exam a matter of discretion.
After a presentation on the subject, the Committee concluded that the bar exam

should be required only if the facts warrant it (for example, for a lawyer who

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has been out of practice for many years or one whose disbarment was related to
performance), but that it should not be mandatory in every case. In the
Committee’s view, many cases would not implicate the need for retesting.

The Committee reached a different determination regarding the MPRE, a
two-hour, sixty-question test developed to measure candidates’ understanding
of generally accepted ethical standards related to professional conduct. The
Committee believed that, unlike the bar exam, the MPRE would be relevant

regardless of why a disbarment occurred or how long ago.

5. Educational Requirements for Readmission

The Committee also debated what, if any, of the CLE requirements that
accrued during the period of disbarment should be satisfied. No numerical
consensus was reached. The Committee members noted that, during a five-year
disbarment, sixty credits would be amassed. It was agreed that the Court should
consider imposing at least some makeup CLE credits for readmission, and that
attorneys who are disbarred should be notified in the disbarment process that, if
they hope for future readmission, they should consider keeping up with CLE in

the interim.

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6. Required Notice to Aggrieved Persons Affected by Knowing
Misappropriation

Notice was an additional matter that was the subject of discussion. ABA
Model Rule 25 and R. 1:20-21(e) are similar, except that the model rule imposes
the additional requirement of actual notice to “the complainant(s) in disciplinary
proceedings that led to the lawyer’s suspension or disbarment” who may “raise
objections to or support the lawyer’s petition.” New Jersey’s R. 1:20-21, which
currently governs only suspensions from the practice of law, provides for public
notice in all official newspapers designated by the Court and in a newspaper of
general circulation in each county in which the respondent last maintained a law
office and in the county in which respondent resided at the time of the imposition
of discipline. The Committee members considered the public notice provision
inadequate for readmission from disbarment.

There was also discussion of whether to provide notice to grievants in
unresolved matters that were pending at the time of the disbarment, with the
concern primarily relating to the fact that those matters were left unadjudicated.
One member queried whether the attorney should be required to reimburse those
grievants as well. Noting that this could create a number of fairness issues,
another member suggested that notice be given to any grievant involved in the

matter leading to the disbarment, as well as anyone who obtained a judgment

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against the disbarred attorney and anyone who received reimbursement from the
New Jersey Lawyers’ Fund for Client Protection (the Fund).*

Ultimately, members settled on notice to the grievant whose complaint
resulted in the disbarment, as well as any grievants with docketed complaints
that were dismissed as a result of the disbarment and those who were reimbursed
by the Fund. Regarding other general methods of notice, members believed that
newspapers are largely inadequate today and suggested publication on the

Judiciary’s website and Notice to the Bar.

7. Requirement to Make Aggrieved Persons Financially Whole
Another change to the present Rules that was debated was whether the
applicant should have to reimburse the Fund in full prior to readmission. The
present Rule permits the Fund to enter into a repayment agreement with the
applicant. R. 1:20-21(D). Some members argued that full reimbursement would
be inequitable and favor the wealthy over the impecunious. Nevertheless, the

Committee recommended that the repayment plan option be eliminated in

4 The Fund exists to compensate clients who were wronged by unethical attorneys.
Particularly, it compensates clients whose money was stolen by their New Jersey
attorney, if that attorney has been suspended or disbarred, placed in disability
inactive status, or is deceased.

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Wilson cases, although it understood that, as a consequence, some lawyers might

be precluded from readmission.

8. Singular Second Chance Following Disbarment
Regarding the unlikely circumstance of multiple disbarments, one
member suggested that the Court prohibit previously disbarred attorneys from
being readmitted following a second disbarment. Other members expressed the
view that imposition of additional restrictions hamstrings the Court and limits
its options in unusual circumstances. The Committee nevertheless voted to

prohibit reapplication following a second disbarment.

9. Successive Petitions for Readmission from Disbarment
R. 1:20-21(G) provides that a petitioner for reinstatement after suspension
must wait six months after an adverse decision to file a renewed petition for
reinstatement. The Committee considered, but declined to adopt, a longer
prohibition (specifically two years) for successive petitions for readmission

from disbarment.

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C. Conditions for Readmission

Finally, the Committee addressed what conditions the Court might impose

upon readmission. In doing so, it reviewed the conditions in place in other

jurisdictions and those already available under our Rules, as outlined in Point

VII. The Committee ultimately determined not to set any additional conditions

in stone but to abide by the present Rules and make available to the Court a

panoply of options from which it may choose in tailoring appropriate conditions

for specific cases.

Those options include:

1.

too

Annual audits by the OAE or its designee for a period
determined by the Court.

Disclosure in writing to prospective clients of the attorney’s
earlier disbarment for knowing misappropriation. |

The attorney may not maintain an attorney trust account.

The attorney must obtain and maintain professional liability
insurance in an amount set by the Court.

The attorney must obtain and maintain a blanket fidelity bond
or dishonest insurance policy in an amount set by the Court.

The attorney must complete some number of CLE hours in
attorney bookkeeping, including requirements for
maintaining an attorney trust account.

If the disbarred attorney has a history of alcohol or drug
abuse, the attorney must actively participate in alcohol or
drug rehabilitation programs.

If the attorney has a history of mental health conditions, the
attorney must actively participate in mental health treatment.

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9. If the attorney has a history of gambling or other addiction
issues, the attorney must actively participate in gambling or
other addiction treatment programs.

10. Practice with supervision by either a Court-appointed monitor
or a monitor selected by the attorney but approved by the
Court per the provisions of R. 1:20-18.

11. Any other conditions reasonably related to the grounds for the
attorney’s original disbarment.

D. Concern for Equal Justice

During the course of the discussions, some Committee members
questioned whether the Judiciary had a mechanism for assessing whether bias,
either implicit or explicit, might affect either disbarment or the readmission
process. They encouraged a review of the disciplinary processes and outcomes?
to ensure that the system overall is free from any form of bias. That issue was
viewed by the Committee as not only important in itself, but also as bearing on
the second chance proposal that is at the heart of this report. The Committee
understands that statistical data is not available historically and, thus,
recommends that the Judiciary explore the creation of a mechanism for

evaluating disciplinary and readmission outcomes going forward. Depending

> Several other states are investigating that question. See State Bar of California,
“State Bar Conducts First of its Kind Study on Racial Disparities in Attorney
Discipline” (November 13, 2019) (viewable at:
https://www.calbar.ca.gov/Portals/0/documents/factSheets/Racial-Disparities-in-
Attorney-Discipline-Fact-Sheet.pdf) (visited April 8, 2023).

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on the results, that the Court might consider convening a new committee to study

the issue.

E. Recommendation to Allow Readmission Application by Persons
Disbarred for Misconduct Other Than Knowing

Misappropriation of Entrusted Funds

Near the end of the Wade opinion, the Court invited the Committee to

comment on non-Wilson cases in which the Court exercised its discretion based
on the facts and permanently disbarred an attorney. That issue bothered some
members of the Committee to such an extent that at least one member who
supported a Wilson path back declined to vote in favor of it unless non- Wilson
disbarments were included. The Court’s invitation actually required two votes:
did the Committee want to comment at all and, if so, what did it want to say? A
significant majority of the Committee voted to comment.

The Committee discussed how to treat non-Wilson cases at two separate
meetings. Some members argued that the differential treatment of Wilson and
non- Wilson cases could give rise to constitutional challenges. Others countered
that there are important distinctions between the classes justifying differential
treatment. In particular, Wilson is categorical — once the fact of intentional
misappropriation is established, everything else falls away and disbarment

ensues. In all other cases, the Court exercises its discretion based on all the facts

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and circumstances presented, including the nature of the offense; mitigating
factors; candor; cooperation; and restitution before determining that disbarment
is the right result. Those are quite distinct models.

One other difference is the universe of cases. Although they vary in facts,
Wilson cases all involve a single through-line: knowing misappropriation. Non-
Wilson cases cover a wide range of misconduct types, from recurrent lack of
diligence with consistent failure to reform to state and federal crimes. Those
distinctions are noted because they were debated at the Committee’s meetings
as a basis for distinguishing the classes.

The Committee members also considered the notion that knowing
misappropriation is actually “worse” than all other forms of misconduct, thus
rendering a path back only for Wilson cases particularly anomalous. The
Committee concluded that both Wilson and non-Wilson cases exist on a
spectrum of culpability and are, therefore, broadly analogous. Thus, the
Committee determined to recommend that the Court permit lawyers disbarred
for reasons other than knowing misappropriation to apply for readmission.

In terms of process, the Committee debated many different
recommendations. Some Committee members recommended living with the
Wilson path back for five years before making any recommendation for non-

Wilson cases. Others suggested an entirely new committee to develop a process

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for non-Wilson applications. Ultimately, the Committee rejected those
approaches. Important to its conclusion were several considerations, including
that not one of the forty-one jurisdictions that permit disbarred attorneys to apply
for readmission distinguishes between the causes of disbarment in terms of
procedure. Further, anew committee would have to plow the exact same ground
that was plowed here. Finally, the Committee could not conceive of a different
procedure emerging, given the fine details in the Wilson path back. Ultimately,
a substantial majority of the Committee recommended that, in the event that the
Court affords a path back for attorneys who had knowingly misappropriated
client funds, it should also afford that path back for attorneys disbarred on other
bases. The Committee saw no reason why that path back should diverge from

the one it had outlined for Wilson.

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Ix. CONCLUSION

After thorough deliberation, a majority of the Committee recommends
that New Jersey join the forty-one jurisdictions that have successfully
implemented a path for readmission from disbarment. The Committee finds that
a robust process for assessing readmission will permit deserving, rehabilitated
attorneys to rejoin the profession and provide legal services, while also
protecting the public and upholding the professionalism of the practice of law.
The Court has, within its authority for the supervision of the practice of law, a
range of options and procedural mechanisms to safeguard the public, both
overall and on a case-by-case basis. Pursuant to its charge, the Committee makes
its proposal as to those disbarments entered pursuant to Wilson and recommends
that the Court also consider extending the readmission process to the other
serious matters in which the Court exercised its discretion and permanently

disbarred an attorney.

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X. CONCURRING AND MINORITY VIEWS

A. Dawn K. Miller, Esq., President, Legal Services of New Jersey -
Concurrence®

We are grateful for the opportunity to express our position on both the
majority and minority views in this well-written and comprehensive
report. Both views raise compelling arguments as to whether disbarred
attorneys should, or should not, eventually be able to find a pathway back to
the practice of law. The majority of the committee members, and therefore the
resulting report, seemingly view this matter largely from the perspective of the
professional bar and the impact that permanent disbarment may have on the

individual attorney.

As the statewide provider of civil legal services to people of low-income
in the state, it is through this lens which we view this issue, and when casting a
vote during deliberations voted with the minority view that disbarment due to
the knowing misappropriation of client funds should be permanent. We took
this position with the firm belief that attorneys are entrusted with the duty to
preserve and protect the trust of individual clients and society as a whole. We

view this as one of the most important aspects and privileges of being a

6 One member who voted with the majority joins in Member Miller’s concurrence.

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lawyer. The disproportionate impact a misappropriation of funds may have on
low-income people and other vulnerable populations who are less able to
rebound from an economic loss can be long-lasting and devastating. Such
individuals may be less knowledgeable about their rights to file grievances and
engage in other formal processes and, therefore, less able to seek and obtain

recovery for their losses as a result of lawyer misappropriation.

While we are sympathetic to the harms to clients through
misappropriation and are concerned generally with maintaining and preserving
the integrity of the bar, we also recognize that providing opportunities for
reinstatement, under certain circumstances, may benefit the general public, and
ultimately those who need legal assistance. In our view, a rehabilitated,
reinstated lawyer can potentially deliver exceptional services to clients, be an
important and model member of the bar, benefit society and even advance our

profession, through renewed diligence and dedication.

Accordingly, LSNJ would join the majority position which would allow
reinstatement of once-disbarred attorneys, but only if reinstated attorneys: 1)
provide full transparency and disclosure in the most accessible manner for
clients to receive, including an affirmative statement to prospective clients of

the past conduct and disbarment; 2) are subject to oversight through an

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independent annual audit conducted at the reinstated attorney’s expense (many
non-profits and contractors receiving government funds are required to do this
every year); 3) meet all necessary insurance and bonding requirements
pursuant to the Rules, as a safeguard for client protection; 4) make full
restitution to all aggrieved clients, i.e. pay back all funds taken, with
reasonable interest which can be done through a re-payment plan; and 5) meet
any other conditions imposed by the Court which are reasonably related to the

disbarment.

We observe that the above requirements and conditions on readmitted
attorneys are exacting. Rightfully so, our clients — and the general public -

deserve no less.

Respectfully,
Dawn K. Miller, Esq.

President, Legal Services of New Jersey

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B. Hon. Maurice J. Gallipoli, A.J.S.C. (ret.) — Minority View’

This Committee* was formed subsequent to and in accordance with the
Court’s June 7, 2022 opinion issued in In re Wade, 250 N.J. 581 (2022). The
Committee was charged with (1) studying whether disbarment should continue
to be permanent in all cases implicating the Court’s Wilson’ rule, and (2) if not,
recommending standards that might apply if applications for readmission to the
bar by disbarred attorneys were to be permitted. The Committee was further
charged with consideration of whether any Rule change should apply to orders
of disbarment for knowing misappropriation of law firm funds issued prior to
the Court’s opinion in Sigman!® and, further, was asked to consider commenting
on other serious matters in which the Court, in the past, has exercised its

discretion and permanently disbarred an attorney for misconduct unrelated to

knowing misappropriation.

7 One member who voted with the minority joins in Member Judge Gallipoli’s
minority view.

§ Committee on the Duration of Disbarment for Knowing Misappropriation
(“CDDKM”)

? In re Wilson, 81 N.J. 451 (1979).

'0 Tn re Sigman, 220 N.J. 141 (2014).

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The majority of the Committee has decided to recommend to the Court
that, going forward, disbarment for a Wilson violation!! should not be
permanent, and that an attorney so disbarred should be permitted, in accord with
the Rules ultimately adopted by the Court, to apply for readmission. The
Committee also has recommended that such relief should retroactively be
available to attorneys disbarred pursuant to the principles of Wilson.

From the Committee’s majority recommendation that disbarment for a
Wilson violation should not be permanent, and for the reasons which follow, I
respectfully disagree.

In Wilson, the Court acknowledged that, prior to its opinion:

results in misappropriation cases have varied because
of circumstances which the Court has regarded as
mitigating: the economic and emotional pressures on
the attorney which caused and explained his misdeed;
his subsequent compliance with client trust account
requirements; his candor and cooperation with the
ethics committee; his contrition; and, most of all,
restitution. The presence of a combination of these has

occasionally resulted in suspension, ranging from six
months to three years, rather than disbarment.

[ Wilson, 81 N.J. at 455-56.]

No doubt, because of the above-referenced “varied results” and, most

importantly, because of the Court’s concern with preserving the confidence of

'! To be clear, a Wilson violation is a “knowing misappropriation,” nothing less.

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the public in the integrity and trustworthiness of lawyers in general, in 1979, the

bright line of Wilson was drawn. What is the “bright line” of Wilson? And is it

really that hard to understand?

To be clear, and just so there is no misunderstanding, a truly negligent
misappropriation of client funds is not a Wilson violation. To be equally clear,
however, a “misappropriation of client funds means any unauthorized use by the
lawyer of clients’ funds entrusted to him, including not only stealing, but also
unauthorized temporary use for the lawyer’s own purpose, whether or not he
derives any personal gain or benefit therefrom.” Wilson, 81 N.J. at 455 n.1.

Thus, simply stated, Wilson and its progeny'* made clear to current and
future members of the bar that, henceforth, because of the Court’s overriding
concern for the continued confidence of the public in the integrity of the bar and
the judiciary, a knowing misappropriation of client funds would result in
permanent disbarment. As the Wilson Court explained:

The public is entitled, not as a matter of satisfying
unjustifiable expectations, but as a simple matter of
maintaining confidence, to know that never again will
that person be a lawyer. That the moral quality of other

forms of misbehavior by lawyers may be no less
reprehensible than misappropriation is beside the point.

!2 For example, In re Hollendonner, 102 N.J. 21 (1985); In re Noonan, 102 N.J.
157 (1986); In re Skevin, 104 N.J. 476 (1986); In re Konopka, 126 N.J. 225
(1991); In re Siegel, 133 N.J. 162 (1993); In re Pomerantz, 155 N.J. 122 (1998);
and In re Mininsohn, 162 N.J. 62 (1999).

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Those often occur in a complex factual setting where
the applicability or meaning of ethical standards is
uncertain to the bench and bar, and especially to the
public, which may not even recognize the wrong. There
is nothing clearer to the public, however, than stealing
a client's money and nothing worse. Nor is there
anything that affects public confidence more -- much
more than the offense itself -- than this Court’s
treatment of such offenses. Arguments for lenient
discipline overlook this effect as well as the overriding
importance of maintaining that confidence.

[Wilson, 81 N.J. at 456-457.]

Restitution may compensate an individual complainant
for the financial loss suffered; conceivably, it may
partially restore the shattered faith of a particular client.
It does not, however, significantly retard the subtle but
progressive erosion of public confidence in the
integrity of the bench and bar.

When restitution is used to support the contention that
the lawyer intended to “borrow” rather than steal, it
simply cloaks the mistaken premise that the
unauthorized use of clients’ funds is excusable when
accompanied by an intent to return them.

[ Wilson, 81 N.J. at 458.]

The inexperience or, conversely, the prior outstanding
career, of the lawyer, often considered a mitigating
factor in disciplinary matters, seems less important to
us where misappropriation is involved. This offense
against common honesty should be clear even to the
youngest; and to distinguished practitioners, its
grievousness should be even clearer.

[Wilson, 81 N.J. at 459-460.]

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The considerations that must deeply trouble any court
which decrees disbarment are the pressures on the
attorney that forced him to steal, and the very real
possibility of reformation, which would result in the
creation of a new person of true integrity, an
outstanding member of the bar... . There can be no
satisfactory answer to this problem. An attorney, beset
by financial problems, may steal to save his family, his
children, his wife or his home. After the fact, he may
conduct so exemplary a life as to prove beyond doubt
that he is as well equipped to serve the public as any
judge sitting in any court. To disbar despite the
circumstances that led to the misappropriation, and
despite the possibility that such reformation may
occuris so terribly harsh as to require the most
compelling reasons to justify it. As far as we are
concerned, the only reason that disbarment might be
necessary is that any other result risks something
even more important, the continued confidence of
the public in the Integrity of the bar and the
judiciary. (citations omitted) (emphasis added)

[ Wilson, 81 N.J. at 460.]

I do not believe that anyone would disagree that the use of someone else’s
money, without that person’s explicit permission to do so, is morally wrong. Nor
do I believe that anyone would disagree that a person who has attained the usual
age for admission to the bar, and who is so qualified for admission by education,
character, and the requisite standards promulgated by the Court would not know
that to be true. Unfortunately, such apparently was not the case, given the pre-
Wilson incidents of misappropriation with which the Court was confronted. So,

to make it abundantly clear that misappropriation by members of the bar would

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no longer be tolerated, and would be dealt with harshly, the bright-line Wilson
rule was established, in 1979. Its lesson then and now is simple: do not use client
funds that have been entrusted to you without the explicit permission of the
client. You, as a lawyer, are more than a fiduciary, you are a representative of a
profession and an officer of the Court. If you violate this simple mandate, you
will suffer the penalty of being permanently disbarred.

If I understand the position of the organized bar, it is that disbarment,
permanent or otherwise, should be reserved as a sanction only for those
attorneys who “steal” their client’s money; it should not, for example, be
imposed as a sanction upon those attorneys who “borrow” their client’s money
with the intention of paying the money back. If I misunderstand the bar’s
position, then I apologize and stand to be corrected. However, to address my
understanding as indicated above, I could not respond in better fashion than the
Court did in Wilson: “Lawyers who ‘borrow’ may, it is true, be less culpable
than those who had no intent to repay, but the difference is negligible in this
connection. Banks do not rehire tellers who ‘borrow’ depositors’ funds. Our

professional standards, if anything, should be higher.” Wilson, 81 N.J. at 458.

When the Chief Justice addressed the full Committee, during its first
plenary session, he commented that the sanction for knowing misappropriation

would remain disbarment, emphasizing that the Court was seeking only a

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recommendation from the Committee whether such disbarment should remain
permanent or whether there should be a path back to readmission. As part of its
recommendations, the majority of the Committee has recommended that there
should be a path back for those previously disbarred for a Wilson violation and
has further recommended a five-year waiting period before an application for
readmission may be made. Respectfully, if the five-year waiting period
recommendation is adopted by the Court, as opposed to a longer waiting period,
that will, from a practical point of view, make non-permanent disbarment the
equivalent of or less of a discipline than the present sanction of an
“indeterminate suspension,” given that one against whom an indeterminate
suspension is imposed must wait a “minimum of five years” before making
application to be reinstated to practice, whereas one not permanently disbarred
for a Wilson violation could make that application immediately at the expiration
of five years after the date of disbarment. See R. 1:20-15A(a)(2).

Admittedly, and as is plain to see, I have significantly borrowed from the
language of Wilson. I close with a question: “Is the continued confidence of the
public in the integrity of the bar and the judiciary any less important today than
it was when the decision in Wilson was issued?” J hardly think so. I respectfully
suggest that today, probably more than at any time in the past, based on what

appears in all forms of media and on the internet, the public’s confidence in the

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bar and the judiciary is at an all-time low. Now, more than ever, the bar and the
judiciary should do all that can be done to maintain and foster the continued
confidence of the public in the integrity of those institutions. Now, more than
ever, we need the bright-line rule of Wilson to be reaffirmed, we need to make
sure the bar is aware of its mandate, and we need the Court to uniformly impose
its admittedly harsh penalty of permanent disbarment upon those who,
regardless of that clear mandate, nonetheless transgress.

Respectfully, it seems to me that the Court, by virtue of many of its recent
Orders in matters implicating Wilson and its progeny — Orders entered without
accompanying opinions or guidance — has once again reached, as it did pre-
Wilson, varied and somewhat confusing results, potentially because of
circumstances which the Court regarded as mitigating. For me, again
respectfully, these varied and confusing results can be easily avoided. The Court
could, if it was so inclined, simply abandon the Wilson rule, or, as I would
advocate, it could choose to put the bar on notice, once again, that the bright-

line rule of Wilson will be strictly adhered to, and its harsh penalty of permanent

disbarment uniformly enforced.

For all the reasons set forth above, I respectfully disagree with the

majority’s recommendation(s).

Maurice J. Gallipoli, A.J.S.C. (ret.)

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C. William Trimmer, Trustee/Treasurer, New Jersey Lawyers’ Fund
for Client Protection — Minority View”

I respectfully dissent from the majority's decision to grant a path forward
for attorneys who have been disbarred for knowingly misappropriating client
funds. While I understand and appreciate the need for rehabilitation and
second chances, in this particular case, | must strongly disagree.

As a member of the CPF for five years, I have seen firsthand how this
small group of disbarred attorneys has caused widespread mistrust with the
general public. Their actions have not only hurt their clients, but they have
also damaged the reputation of the legal profession as a whole. We cannot
underestimate the impact that even one unethical lawyer can have on the
public's perception of the entire profession.

The majority suggests that allowing these attorneys a path back will help
to restore faith in the legal system. However, I believe that disallowing such a
path sends a strong message that the legal community will not tolerate the kind
of behavior that leads to disbarment. It shows that the bar has a zero-tolerance

policy for those who engage in misconduct and abuse the trust that their clients

have placed in them.

'3 Two members who voted with the minority join in Member Trimmer’s minority
view.

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J understand that my position may be seen as harsh and possibly jaded
due to my serving on the CPF but I do not feel it is unwarranted. Trust is the
cornerstone of the attorney-client relationship, and when that trust is violated,
it can have serious consequences for the client, the attorney, and the legal
system as a whole. Allowing these disbarred attorneys a path back sends
the wrong message and undermines the integrity of the legal profession.

In summary, while I respect the majority's decision, I firmly believe that
disbarred attorneys who have engaged in serious misconduct and betrayed their
clients' trust should not be granted a path back to the practice of law. By
maintaining strong ethical standards, we can preserve the integrity of the legal
profession and show the public that we are committed to upholding the
highest standards of professional conduct.

William Trimmer

Trustee/Treasurer
NJ Lawyers’ Fund For Client Protection

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XI. LIST OF APPENDICES

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B) In Re Wilson, 81 N.J. 451 (1979)

C) In Re Wade, 250 N.J. 581 (2022)

D)R. 1:20-20

E)R. 1:20-21

F) R. 1:20-18

G)R. 1:20-15A

H) Regulations Governing the Committee on Character

I) Character & Fitness Questionnaire (New Jersey Board of Bar Examiners)
J) ABA Model Rule 25

K) ABA Chart-Reinstatements

L) Reinstatement Criteria by Jurisdiction (7/20/22) (Prepared by the NJSBA)

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APPENDIX A

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Supreme Court Special Committee on the Duration of Disbarment for
Knowing Misappropriation

Chair: Justice Virginia A. Long (retired)

Vice-Chair: Dr. Lovell Pugh-Bassett, President, Camden County College
Aymen A. Aboushi, Esq., New Jersey Muslim Lawyers Association
Ronald Allen, Pastor, Pilgrim Baptist Church

Heather Joy Baker, Esq., Clerk, Supreme Court of New Jersey

Jesse Burns, Executive Director, League of Women Voters of New Jersey
Joel Clymer, Esq., Garden State Bar Association

Corinne Burzichelli DeBerry, Esq., Fox Rothschild

April DiPietro, LSW, Camden County Care Management Organization
Tim Ellis, Esq., Acting Chief Counsel, Disciplinary Review Board

Hon. Maurice J. Gallipoli, A.J.S.C. (Ret.), Hudson Vicinage

Johanna Barba Jones, Esq., Director, Office of Attorney Ethics

Karen Kessler, President & CEO, Kessler PR Group

David Kott, Esq., McCarter & English

Ralph Lamparello, Esq., Chasan Lamparello Mallon & Cappuzzo, PC
Jeannine LaRue, Founder, The LaRuelist Report

Jeralyn Lawrence, Esq., President, New Jersey State Bar Association

Jeanne LoCicero, Esq., Legal Director, American Civil Liberties Union — New
Jersey
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Jeffrey S. Mandel, Esq., Law Offices of Jeffrey S. Mandel LLC

Dawn K. Miller, Esq., President & Executive Director, Legal Service of New
Jersey

Hon. Bonnie J. Mizdol, A.J.S.C., Bergen Vicinage
Robert Ramsey, Esq., Law Office of Robert Ramsey
Kim Ringler, Esq., The Ringler Law Firm

Andrew Rothman, Esq., Professor, Rutgers University School of Law &
Managing Attorney, Rutgers Law Associates

Marjorie Stevens, Principal (retired), Manchester Township Public Schools
John R. Taylor, Pastor, Friendship Baptist Church

William R. Trimmer, Trustee/Treasurer of the New Jersey Lawyers’ Fund for
Client Protection

Albertina Webb, Esq., Hispanic Bar Association

Staff: Heather Lynn Baker, Esq.
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Supreme Court of New Jersey
September 11, 1979, Argued ; December 19, 1979, Decided
D-5

Reporter
81 N.J. 451 *; 409 A.2d 1153 **; 1979 N.J. LEXIS 1281 ***

IN THE MATTER OF WENDELL R. WILSON, AN ATTORNEY AT LAW
Prior History: [***1] On an order to show cause why respondent should not be disbarred or otherwise disciplined.

Counsel: Ms. Colette A. Coolbaugh, Secretary, argued the cause for the Disciplinary Review Board.

No appearance was made on behalf of respondent.

Judges: For disbarment -- Chief Justice Wilentz and Justices Sullivan, Pashman, Clifford, Schreiber, Handler and
Pollock. Opposed -- None. The opinion of the court was delivered by Wileniz, C.J.

Opinion by: WILENTZ

Opinion

[*453] [**1154] In this case, respondent knowingly used his clients' money as if it were his own. We hold that
disbarment is the only appropriate discipline. We also use this occasion to state that generally all such cases shall
result in disbarment. We foresee no significant exceptions to this rule and expect the result to be almost invariable.

Of the eight complaints filed against respondent with District Ethics Committee Vill (Middlesex County), two
involved misappropriation. In one, respondent failed for almost two years to turn over $ 23,000 -- the proceeds from
the sale of a house -- to the client. After the ethics complaint was filed, respondent paid the client but never
accounted for the location or use [***2] of the funds in the interim. In the other, respondent obtained money for a
client in the form of a $ 4,300 check to the client's order. Respondent then forged the client's endorsement,
deposited the proceeds in his own trust account, and has yet to turn the funds over to the client.

[*454] Respondent's professional misconduct extends beyond these instances of misappropriation. In the other
complaints, the Disciplinary Review Board found that respondent lied to clients, wantonly disregarded their
interests, and advised them to commit fraud. Moreover, he was inexcusably uncooperative in the ethics
proceedings. The Disciplinary Review Board recommended disbarment.

It is clear from all of this that respondent is unfit to be a lawyer. We do not, however, discuss any charges other
than misappropriation since disbarment is mandated by that alone.

MISAPPROPRIATION

Misappropriation of clients’ funds is both a crime ( (:. 2.< 20 27-5 (superseding (. 5.@ 24 .:-2, which was
repealed by L. 1978, c. 95, 2C:98-2)) and a direct violation of Disciplinary Rule 9-102 of the Code of Professional
Responsibility. Included in the specific commands of this rule [***3] is the requirement that “a lawyer shall * * *
[p]romptly pay or deliver to the client the funds, securities, or other properties in the possession of the lawyer which
the client is entitled to receive." DR 9-102(B)(4). Our former Canon of Professional Ethics told the lawyer not only
what he must do, but what he must not do:
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81 N.J. 451, *454; 409 A.2d 1153, **1154; 1979 N.J. LEXIS 1281, ***3

Money of the client or collected for the client or other trust property coming into the possession of the lawyer
should be reported and accounted for promptly, and should not under any circumstances be commingled with
his own or be used by him. [Canon 11].

Like many rules governing the behavior of lawyers, this one has its roots in the confidence and trust which clients
place in their attorneys. Having sought his advice and relying on his expertise, the client entrusts the lawyer with
the transaction -- including the handling of the client's funds. Whether it be a real estate closing, the establishment
of a trust, the purchase of [*455] a business, the investment of funds, the receipt of proceeds of litigation, or any
one of a multitude of other situations, it is commonplace that the work of lawyers involves possession of their
clients' [*“*4] funds. That possession is sometimes expedient, occasionally simply customary, but usually
essential. Whatever the need may be for the lawyer's handling of clients’ money, the client permits it because he
trusts the lawyer.

It is a trust built on centuries of honesty and faithfulness. Sometimes it is reinforced by personal knowledge of a
particular lawyer's integrity or a firm's reputation. The underlying faith, however, is in the legal profession, the bar
as an institution. No other explanation can account for clients’ customary willingness to entrust [1155] their
funds to relative strangers simply because they are lawyers.

Abuse of this trust has always been recognized as particularly reprehensible:

[T]here are few more egregious acts of professional misconduct of which | an ' attorney can be guilfy than
misappropriation of a client's funds held in trust. [oo Seccue: TE ats ots ees

See also _ ce bee Ef Bey BE se ae Soe Sh eho che Sho poace Meese 42 VS!
Be CoS eve So oy ete bee ~ Recognition of the nature and gravity © of the [5] offense

suggests only one e result -- disbarment. “Such conduct i is of so reprehensible a nature as to permit of only one form
of discipline.” fo : STE

Despite this strong condemnation, results in misappropriation ' cases have varied because of circumstances which
the [*456] Court has regarded as mitigating: the economic and emotional pressures on the attorney which caused
and explained his misdeed; his subsequent compliance with client trust account requirements; his candor and
cooperation with the ethics committee; his contrition; and, most of all, restitution. The presence of a combination of
these has occasionally resulted in suspension, ranging from six months to three years, rather than disbarment.

[6] It is therefore important that we reemphasize that the principal reason for discipline is to preserve the
confidence of the public in the integrity and trustworthiness of lawyers in general. This reason for discipline is
mentioned in some misappropriation cases and not in others. While it may only rarely have been stressed in the
past, we are now inclined to view it as controlling in these cases.

We have no doubt that the bar is as anxious as we are to preserve that trust. Its preservation is essential to public
acceptance of reforms that may be proposed by the bench and bar together. Mistrust may provoke destructive
change. Public confidence is the only foundation that will support constructive reform in the public interest while
preserving the finest traditions of the profession.

From that point of view, anything less than strict discipline in cases like this would be a disservice to the bar, the
judiciary and the public.

‘Unless the context indicates otherwise, "misappropriation" as used in this opinion means any unauthorized use by the lawyer of
clients’ funds entrusted to him, including not only stealing, but also unauthorized temporary use for the lawyer's own purpose,
whether or not he derives any personal gain or benefit therefrom.
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81 N.J. 451, “456; 409 A.2d 1153, **1155; 1979 N.J. LEXIS 1281, ***6

What are the merits in these cases? The attorney has stolen his clients’ money. No clearer wrong suffered by a
client at the hands of one he had every reason to trust can be imagined. The public is entitled, not as a matter of
satisfying unjustifiable [***7] expectations, but as a simple matter of maintaining confidence, to know that never
again will that person be a lawyer. That the moral quality of other forms of misbehavior by lawyers may be no less
reprehensible than misappropriation is beside the point. Those often occur in a complex factual setting where the
applicability or meaning of ethical standards is uncertain to the [*457] bench and bar, and especially to the public,
which may not even recognize the wrong. There is nothing clearer to the public, however, than stealing a client's
money and nothing worse. Nor is there anything that affects public confidence more -- much more than the offense
itself -- than this Court's treatment of such offenses. Arguments for lenient discipline overlook this effect as well as
the overriding importance of maintaining that confidence.

il.
MITIGATING CIRCUMSTANCES

No one need argue whether the moral reprehensibility of this kind of behavior justifies disbarment: all admit it. The
only question is whether mitigating circumstances [**1156] might call for lesser discipline in particular cases. We
discuss restitution first since it is relied upon most often.

in the context [***8] of professional discipline, restitution suggests an "honesty of compulsion," proving mostly that
the lawyer is anxious to become a lawyer again and that he is able somehow to raise the money. Practically every
lawyer facing such charges wants to remain a lawyer, but not every lawyer is able to raise the money. As early as
1915, the Supreme Court sitting en banc noted the irrelevance of this factor:

"We do not attach very much importance, as a rule, to the matter of restitution, because that may depend more
upon financial ability or other favoring circumstances than repentance or reformation. A thoroughly bad man
may make restitution, if he is able, in order to rehabilitate himself and regain his position in the community, and
a _{heroughly good man may be unable to make any restitution at all." [os -sasyus 27 4 be oe

ouiger © . Without underestimating the importance of restitution, a moment's reflection must
convince one that of all the factors that enter into the question of moral fitness, the mere circumstance of
restitution is the one most likely to be fortuitous and to depend upon conditions and circumstances that afford
no reliable [***9] test of moral qualities. The money may have come from wealthy relatives, or from a lucky
speculation, or from engaging in some alien business venture, or it may have been borrowed, in which case the
old liability is apparently extinguished by [*458] the creation of a new one. Taken in connection with other
circumstances, restitution may be of the utmost significance, but this, oftener than not, is due to such other
circumstances rather than to the mere fact of non-restitution; as, for instance, if the former attorney became
possessed of sufficient money with which to make restitution but refused so to apply it. [oe “acus. 26 A

: oS =: (en banc).

Restitution may cornpensate an individual complainant for the financial loss suffered; conceivably, it may partially
restore the shattered faith of a particular client. It does not, however, significantly retard the subtle but progressive
erosion of public confidence in the integrity of the bench and bar.

When restitution is used to support the contention that the lawyer intended to “borrow” rather than steal, it simply
cloaks the mistaken premise that the unauthorized use of clients' [***10] funds is excusable when accompanied by
an intent to return them. The act is no less a crime. Ww. LaFave & A. Scott, Criminal Law, § 89 at 653-54 (1972);
see also .. See eo SSS See EE SS 2 Lawyers who "borrow" may, it is true, be less

2 Criminality is not determinative here, however, although it strongly supports our conclusion; nor is our conclusion affected by
the consideration accorded restitution in sentencing. Policies underlying criminal law may not necessarily coincide with those
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81 N.J. 451, *458; 409 A.2d 1153, **1156; 1979 N.J. LEXIS 1281, ***10

culpable than those who had no intent to repay, but the difference is negligible in this connection. Banks do not
rehire tellers who "borrow" depositors’ funds. Our professional standards, if anything, should be higher. Lawyers
are more than fiduciaries: they are representatives of a profession and officers of this Court.

{***11] The overwhelming majority of misappropriation cases involves lawyers who undoubtedly intended to return

the funds. They misappropriate initially with precisely such intent. Anticipated [*459] money for repayment fails to
materialize. Other clients’ trust funds are then used for "restitution," and the initial embezzlement spawns many
more. Wholesale exemption from strict discipline for misappropriation would result if such “borrowing” were
excused.

Judicial consideration of restitution as a mitigating factor in disciplinary proceedings creates the impression that
sanctions are proportioned in accordance with [**1157] ability to pay, rather than gauged against the seriousness
of the misconduct. Furthermore, according significance to restitution leads to an obvious and substantial possibility
of unjust discrimination.

At worst, refusal to consider restitution in this class of cases removes an incentive for compensation of injured
parties. Encouraging restitution in individual cases is a worthy purpose, but the lenient discipline needed to achieve
it conflicts with the paramount goal of preserving public confidence in the entire bar. From this point of view,
compensation [***12] of injured parties should not be deemed an appropriate function of our disciplinary process. 3

We find it similarly unpersuasive that the attorney in such a case has finally put together reliable records and
brought his trust account into balance. It is the least that one would expect. Its only significance is that it would be
doubly unthinkable to permit resumption of practice by an offending attorney who remained unwilling or unable to
set up proper books and records.

The inexperience or, conversely, the prior outstanding career, of the lawyer, often considered a mitigating factor in
[*460] disciplinary matters, seers less important to us where misappropriation is involved. This offense against
common honesty should be clear even to the youngest; [***13] and to distinguished practitioners, its grievousness
should be even clearer. 4

The considerations that must deeply trouble any court which decrees disbarment are the pressures on the attorney
that forced him to steal, and the very real possibility of reformation, which would result | in 1 the creation of a new
person of true integrity, an outstanding member of the bar. See, é.9., — SAU SNe OF Se 2) *. There
can be no satisfactory answer to this problem. An attorney, beset by fi nancial problems, may steal to § save his
family, [***14] his children, his wife or his home. After the fact, he may conduct so exemplary a life as to prove
beyond doubt that he is as well equipped to serve the public as any judge sitting in any court. To disbar despite the
circumstances that led to the misappropriation, and despite the possibility that such reformation may occur 5 is so
terribly harsh as to require the most compelling reasons to justify it. As far as we are concerned, the only reason

governing disciplinary matters. The policy described in this opinion, leading to disbarment in these cases, would be ill served if
“borrowing" regularly resulted in lesser discipline.

31f the argument ever had any weight, the existence and effectiveness of the Clients’ Security Fund has greatly weakened it. In
this case, for instance, claims for the misappropriations have been filed with the Fund and payment will presumably follow.

4We deem the unlikelihood of subsequent misappropriation irrelevant in these cases. In practically all of them, even where
there are no mitigating factors, recurrence of the misbehavior is highly unlikely. No one suggests that, alone, it is sufficient to
warrant lesser discipline. To state that we might nevertheless consider it “but only in conjunction with other factors” falsely
atiributes importance to a factor almost universally present in these matters.

5 Almost without practical remedy, for our research reveals only three orders of reinstatement following disbarment over ‘the past
hundred years. In re Mink, 60 NJ. 609 (1973), Ee nee es cae ONE EET ek ie wk oe
TEehs cess 24 oh Lfe eho: see generally LA ISERS Ie ES ee

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81 N.J. 451, *460; 409 A.2d 1153, **1157; 1979 N.J. LEXIS 1281, ***14

that disbarment might be necessary is that any other result risks something even more important, the continued
confidence of the public in the integrity of the bar and the judiciary. ©

[""15] [*461] In summary: maintenance of public confidence in this Court and in the bar as a whole requires the
strictest discipline in [**1158] misappropriation cases. That confidence is so important that mitigating factors will
rarely override the requirement of disbarment. If public confidence is destroyed, the bench and bar will be crippled
institutions. Functioning properly, however, in the best traditions of each and with full public confidence, they are
the very institutions most likely to develop required reform in the public interest.

For the reasons stated, we conclude that disbarment is mandated. Respondent's name will be stricken from the
rolls.

ORDER

itis ORDERED that WENDELL R. WILSON of Carteret be disbarred and that his name be stricken from the roll of
attorneys of this State, effective immediately; and it is further

ORDERED that WENDELL R. WILSON be and hereby is permanently restrained and enjoined from practicing law;
and it is further

ORDERED that respondent comply with all the regulations of the Disciplinary Review Board governing suspended,
disbarred or resigned attorneys.

®The potential misery that might be inflicted on the client seems to receive little consideration in the cases perhaps because
those which impose discipline less than disbarment seem invariably to involve complete restitution. Obviously the weakened
deterrent effect caused by this lesser discipline may result in inflicting that misery on other clients for whom there will be no
restitution. Looked at differently, the sympathy engendered by the impossible plight of the attorney which caused him to steal is
offset by the fact that he did so, most often, without t regard for the Possibilty: that he might be inflicting the same misery, or
worse, on his innocent client. See, e.g., 8 éoDe fifo. 27 28) h :

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Supreme Court of New Jersey
September 27, 2021, Argued; June 7, 2022, Decided
D-132 September Term 2020, 085931

Reporter
250 N.J. 581 *; 275 A.3d 426 **; 2022 N.J. LEXIS 507 ***; 2022 WL 2036105

IN THE MATTER OF DIONNE LARREL WADE, AN ATTORNEY AT LAW.

Prior History: [***1] On an Order to Show Cause why respondent should not be disbarred or otherwise disciplined.

Syllabus

This syllabus is not part of the Court's opinion. It has been prepared by the Office of the Clerk for the convenience
of the reader. It has been neither reviewed nor approved by the Court and may not summarize all portions of the
opinion.

In the Matter of Dionne Larrel Wade (D-132-20) (085931) Argued September 27, 2021 -- Decided June 7, 2022

RABNER, C.J., writing for a unanimous Court.

In this disciplinary matter, the Court is asked to revisit the rule imposed in In re » Wilson, which callls for automatic
disbarment of attorneys who knowingly misappropriate client funds. £ (Ei SSE ab sos sf ce es

Respondent Dionne Larrel Wade has been a solo practitioner since she was admitted to the New Jersey bar in
2002. Her remarkable personal and professional accomplishments are clear from the record. She overcame
obstacles early in life and persevered with her studies. Throughout her legal career, she volunteered her time and
skill and provided pro bono legal services to underserved clients. She also conducted free legal clinics at her
church. She has no prior disciplinary history.

In June 2017, the Office of Attorney Ethics (OAE) conducted [***2] a random audit of her financial records. The
audit identified multiple problems, including commingling and extensive shortages in client trust funds. Ultimately,
the allegations against Respondent involved three clients. She conceded she used client funds without permission
to pay various expenses but claimed she did not know it was wrong to borrow the money until the OAE investigator
told her so.

In one matter, Respondent repeatedly transferred client funds from her attorney trust account to her business
account, which created a shortfall of more than $11,000. Respondent later deposited $12,000 borrowed from a
friend to cover the shortfall. In the second matter, Respondent admitted borrowing $5,000 without permission but
stated that she withdrew $3,000 to hire a detective for the case and returned that money when she decided not to
proceed, while $2,000 was for her fee. In the third matter, Respondent made a number of withdrawals from $4,000
she held in escrow for a client, and the balance dropped to $3,750 at one point. Respondent asserted the shortfalls
resulted from failure to pay attention to the books. She replenished the money in time for the closing. In the end,
none of Respondent's [***3] clients lost money.

Respondent explained that she was aware of the danger in borrowing from clients, noting she had not touched
another $123,000 in client funds because she knew she could not "pay that back." Respondent drew the line at
$12,000 -- a self-imposed limit. Respondent admitted that she considered client funds as a "line of credit" she could
use, without permission, as long as she made the client whole. She further admitted to using funds from one client
Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 139 of 372 PAGEIR #5 ak
250 N.J. 581, *581; 275 A.3d 426, **426; 2022 N.J. LEXIS 507, ***3

to pay for another client's needs but claimed she did not know that was improper. At various times, Respondent
explained that she never intended to steal from clients and intended to pay the money back at all times.

The OAE charged Respondent with multiple instances of knowingly misappropriating client and escrow funds, with
violating several Rules of Professional Conduct (RPCs), and with various recordkeeping violations. After a nearing,
a Special Ethics Master found that "sloppy bookkeeping did not cause [Respondent] to unknowingly borrow client
funds. She knowingly did so, and she paid back what she borrowed.” Because he found clear and convincing
evidence that Respondent knowingly misappropriated funds entrusted to her, [***4] the Special Master
recommended that Respondent be disbarred under Wilson and 72 - 2 <. . After a de novo review of the record,

the Disciplinary Review Board (DRB) unanimously upheld the Special Master's findings and recommendation in a
comprehensive decision. The Court entered an order to show cause.

HELD: *In the four decades since Wilson, the Court has consistently disbarred attorneys who knowingly
misappropriated client funds regardless of their motives or other mitigating factors. The rule has remained inviolate
because of the critical aims it seeks to Serve: to fo protect the public and maintain confidence in the legal profession
and the Judiciary. =)... =: < ee . If a lawyer knowingly misappropriates client funds, both the
attorney and the public should know that the person D will be disbarred.

“Because the record in this case -- including Respondent's admissions -- clearly and convincingly demonstrates
that she knowingly misappropriated client and escrow funds, the Court will enter an order of disbarment. Under New
Jersey's longstanding disciplinary rules, disbarment is permanent and marks the end of a person's ability to practice
law. In that respect, New Jersey's approach differs from most jurisdictions. [***5]

“Although it declines to revisit the Wilson rule, the Court finds it is time to reevaluate the current approach to
permanent disbarment. The question -- and the challenge -- is whether and how to create a rigorous system that
can determine if a lawyer disbarred for those reasons deserves a second chance years later. The Court will
establish a broad-based committee to analyze whether disbarment for knowing misappropriation should continue to
be permanent, or whether New Jersey should join the majority of jurisdictions that allow for reinstatement. If the
Court revises the current approach to permanent disbarment, Respondent and others would be able to reapply for
admission in accordance with a new court rule.

1. Prior to 1979, the Court condemned the taking of client funds but did not disbar lawyers in all cases. The Court's
pronouncement in Wilson in 1979 outlined a clearer path: “that disbarment is the only appropriate discipline" when
an attorney "knowingly use(s] his clients’ money as if it were his own." <. © . fle “. As the Court
explained, most misappropriation cases involve[] lawyers who undoubtedly i intended to return the funds." 2s =
LfE Se . The Court nonetheless observed that "[t]he policy described [***6] in this opinion, leading to
disbarment i in ‘these cases, would be ill served if ‘borrowing’ regularly resulted in lesser discipline." >_<: Lh
Ho EE . In essence, although the Court sharply criticized "stealing a client's money," » é

Tas it did “not require proof that an attorney intended to steal or defraud a client to establish knowing
misappropriation. The Court went on to consider -- and reject -- mitigating circumstances s that had Previously led to
discipline short of disbarment, including restitution and recordkeeping. <<: 227-55 20% 4.2: . The Court
noted that "the pressures on the attorney that forced him to steal, and the very real possibilty of reformation" are
deeply troubling in ordering disbarment, but it found those factors to be outweighed by the “most | compelling

reasons" ~ "the continued confidence of the public in the integrity of the bar and the judiciary."

__i, AS a result, the Court announced a bright-line rule that “all... cases" of knowing misappropriation of client
funds 5 "generally ... Shall result in 1 disbarment. We foresee no exceptions to this rule and expect the result to be
almost invariable." “fue Ans fos Soo Es. “[Mlitigating factors will rarely override the requirement of
disbarment." = 2) 50 255 4 5: 772°. That rule has been described [***7] in even stronger language in decisions

since Wilson. ‘(pp. 47- 32)

2. After r Willson, the Court extended the disbarment rule to lawyers who knowingly misuse escrow funds. —_“<
; Ee ge . Knowing misappropriation of law firm funds can lead to

disbarment, but disbarment has r not t been an absolute requirement in those instances. In re Sigman, 220 N.J. 141,

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158, 104 A.3d 230 (2014). In all of those areas, the Court imposes disbarment only if the OAE can satisfy a high
standard and demonstrate clear and convincing proof of knowing misappropriation. Attorneys who negligently
misappropriate client funds are not subject fo Wilson's automatic disbarment rule. ¢- ¢ /vocey z

fe . Here, cases involving negligent misappropriation are not relevant because "Respondent
by her ¢ own admissions, 5. deliberately used client and escrow funds without permission. (pp. 22-23)

3. In the decades since Wilson, despite occasional criticism, the Court has declined to relax or modify the bright-line
rule that knowing misappropriation will result in disbarment. Case law also reveals that the Court has continued to
reject various defenses to the Wilson rule. On multiple occasions, for example, the Court has stated that intent to
steal funds from a client is not an element of knowing misappropriation. Instead, [***8] the Court has held that
knowing misappropriation consists simply of a lawyer taking a client's money entrusted to him, knowing that it is the
client's money and knowing that the client has not authorized the taking. An attorney's motive for taking client funds
-- good or bad -- is not relevant. Just the same, an intent to return a client's money is irrelevant. Nor is willful
blindness a defense to a charge of knowing misappropriation. Ignoring mail that contains financial records cannot
provide attorneys a safe haven, and it is no defense for lawyers to design an accounting system that prevents them
from knowing whether they are using clients' trust funds. Lawyers have a duty to assure that their accounting
practices are sufficient to prevent misappropriation of trust funds. Similarly, ignorance of ethics rules and case law
does not excuse ethical misconduct. Personal and financial hardship also cannot excuse a lawyer who takes a
client's funds. (pp. 23-26)

4. Respondent advanced a number of such defenses, but none of them can overcome Wilson's bright-line rule. The
Court makes clear once again that knowing misappropriation will lead to disbarment. When clients place money in
an attorney's [***9] hands, they have the right to expect the funds will not be used intentionally for an unauthorized
purpose. If they are, clients can confidently expect that disbarment will follow. Because there is clear and
convincing evidence in the record, including Respondent's own admissions, that she knowingly took client and
escrow funds without permission on multiple occasions, an order of disbarment will be entered. (pp. 26-27)

5. At the hearing before the Special Master, Respondent presented multiple character witnesses who offered
compelling evidence of her personal and professional achievements. Based on that testimony, the Special Master
found that “[h]er service to the community and good reputation are particularly exemplary." The DRB similarly
observed that "Respondent is a remarkable person who has overcome tremendous personal obstacles .. . to
become a pillar of her church and local community and what appeared to be an excellent member of the New
Jersey bar." The Court agrees with those conclusions and recounts some of the testimony underlying them,
including by one of the clients whose funds were invaded. As the Special Master and the DRB recognized,
Respondent has no prior disciplinary [***10] history. None of her clients lost money, and she promptly took
remedial measures after the random audit. She cooperated with the OAE, readily admitted she borrowed clients’
money without permission, and was contrite about her failure to maintain financial records properly. Although
Respondent's personal and professional history does not provide a defense to a Wilson violation, her
accomplishments raise important questions about New Jersey's longstanding system of attorney discipline. In
particular, should disbarment be permanent in all Wilson cases? Or should the disciplinary system offer disbarred
attorneys like Respondent an opportunity for a second chance at a later point in time? (pp. 27-31)

6. All 50 states and the District of Columbia disbar attorneys who commit serious ethical violations. In a large
majority of jurisdictions, however, disbarment is not permanent. Altogether, 41 states plus the District of Columbia
allow attorneys to apply to be reinstated after they have been disbarred, and 31 of those jurisdictions permit
attorneys to apply for readmission 5 years after disbarment. The majority rule is consistent with a recommendation
by the American Bar Association, which also [***11] proposes criteria for reinstatement, including compliance with
all prior disciplinary orders; rehabilitative treatment for physical or mental infirmity, including alcohol or drug abuse;
recognition of the wrongfulness and seriousness of the prior misconduct; proof of the requisite honesty and integrity
to practice law; competency to practice; and passage of the bar examination and character and fitness examination.
Many states outline similar factors to assess whether a disbarred attorney should be reinstated. Sixteen states
require petitioners to complete examination requirements as part of the reinstatement process, and several reserve
the option to do so on a case-by-case basis. (pp. 31-37)
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7. To assess those and other factors, the Court will convene a committee comprised of attorneys as well as
members of the public who are not lawyers. The committee will study whether disbarment should continue to be
permanent in all Wilson cases and will recommend standards that might apply if New Jersey were to adopt the
majority approach. Among other issues to consider are the following: After what period of time might attorneys be
readmitted? What factors and standard of proof should apply [***12] to that judgment? Should disbarred attorneys
be required to retake the bar examination or other courses on ethics, recordkeeping, and related subjects? What
process might be adopted for readmission? And what rule changes might be warranted? The Court provides
guidance as to the scope of the committee's work and notes that the committee's report will be made available to
the public for comment before the Court determines how to proceed. The Court welcomes input from attorneys and
the public to promote the key interests at the heart of the Wilson rule: how best to protect the public and maintain
confidence in the legal profession. (pp. 37-38)

An order of disbarment is entered.
Counsel: HoeChin Kim, Deputy Ethics Counsel, argued the cause on behalf of the Office of Attorney Ethics (Ryan
J. Moriarty, Deputy Ethics Counsel, on the brief).

Donald M. Lomurro argued the cause for respondent (Lomurro, Munson, Comer, Brown & Schottland, attorneys;
Donald M. Lomurro and Christina Vassiliou Harvey, of counsel and on the brief).

Robert B. Hille argued the cause for amicus curiae New Jersey State Bar Association (New Jersey State Bar
Association, attorneys; Domenick Carmagnola, President, of counsel, and Robert B. Hille and Abdus-Sami M.
Jameel, on the brief).

Judges: CHIEF JUSTICE RABNER delivered the opinion of the Court. JUSTICES ALBIN, PATTERSON, [***13]
SOLOMON, and PIERRE-LOUIS join in CHIEF JUSTICE RABNER's opinion. JUDGE FUENTES (temporarily
assigned) did not participate.

Opinion by: RABNER

Opinion

[*584] [**428] CHIEF JUSTICE RABNER delivered the opinion of the Court.

This attorney disciplinary matter involves a clear case of knowing misappropriation of client and escrow funds. From
2002 to 2017, Respondent Dionne Larrel Wade knowingly and repeatedly borrowed money from clients, without
their knowledge or approval, to cover the needs of other clients and for her personal use. During a random audit
conducted by the Office of Attorney Ethics (OAE), Respondent admitted she transferred funds from her trust
account because she needed the money to cover personal and business expenses. She represented that she
never intended to steal the funds and had returned all the money. No clients were harmed.

Ms. Wade's remarkable personal and professional accomplishments are also clear from the record. She overcame
obstacles early in life and persevered with her studies. Throughout her legal career, she volunteered her time and
skill and provided pro bono [*585] legal services to underserved clients. She aiso conducted free legal clinics at

her church. She has no prior disciplinary history. [***14]

Respondent and the State Bar Association ask the Court to revisit the rule imposed in Int re Wilson, which calls for

automatic disbarment of attorneys who knowingly misappropriate client funds.
Eo . Respondent suggests that mitigating factors be considered when no client is ‘harmed. The § State ‘Bar

submits ‘that proof of intent to steal or defraud should be required to establish that an attorney knowingly
misappropriated client or escrow funds.

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This Court has long recognized that "[t]here are few more egregious acts of professional misconduct of which a an
attorney can be guilty ¢ than misappropriation of M29] a client's funds held in trust." so. 2: {20 455 2.22 "15s
(quoting «~ £¢ch~: BAG A Ae ES =:). In the four decades since Wilson, the Court
has consistently disbarred attorneys Who knowingly misappropriated client funds regardless of their motives or
other mitigating factors. The rule has remained inviolate because of the critical « aims it seeks to serve: to protect the
public and maintain confidence in the legal profession and the Judiciary. See < 2: <$3 202 4 o¢ (752. Ifa lawyer
knowingly misappropriates client funds, both the attorney and the public should know that the person will be
disbarred.

Because the record in this case -- including Respondent's admissions [***15] -- clearly and convincingly
demonstrates that she knowingly misappropriated client and escrow funds, the Court will enter an order of
disbarment.

Under New Jersey's longstanding disciplinary rules, disbarment is permanent and marks the end of a person's
ability to practice law. In that respect, our approach differs from most jurisdictions. Forty-one states and the District
of Columbia allow disbarred attorneys to apply to be reinstated to the bar -- most of them after 5 years.

[*586] Although we decline to revisit the Wilson rule, we believe it is time to reevaluate the current approach to
permanent disbarment. To be clear, lawyers will still be disbarred in all matters in which they knowingly
misappropriate client or escrow funds, consistent with decades of precedent. The question -- and the challenge -- is
whether and how to create a rigorous system that can determine if a lawyer disbarred for those reasons deserves a
second chance years later.

Many considerations would likely factor into that type of decision, including the nature and seriousness of the
misconduct, whether the person honestly accepts that their prior behavior was wrong, the extent of any
rehabilitation, how much time has [***16] passed, whether the individual possesses the necessary integrity to
practice law, and whether readmission would compromise public confidence in the bar, among other criteria.

Under any such system, it is unlikely that attorneys who stole from clients and caused substantial harm could ever
be trusted to practice law again. On the other end of the spectrum, lawyers who knowingly misappropriated client
funds while suffering from addiction, mental health issues, or great personal challenges; who did not cause harm;
and who have been rehabilitated, might prove worthy of having their license restored at a later date. In between
those examples lie many other scenarios, to be sure.

The Court will establish a broad-based committee to analyze whether disbarment for knowing misappropriation
should continue to be permanent, or whether New Jersey should join the majority of jurisdictions that allow for
reinstatement. We will ask lawyers and members of the public who are not attorneys to serve on the committee and
present recommendations on an expedited basis. The committee’s report will be made available for public comment
before the Court decides whether and how to act.

Foremost in our mind is the [***17] need to protect the public, to retain its confidence in the legal profession, and to
promote the integrity of the bar. If the Court revises the current approach to permanent [*587] disbarment, Ms.
Wade and others would be able to reapply for admission in accordance with a new court rule.

To summarize the facts, we draw from the record before the Special Ethics Master, [**430] his detailed report, and
the comprehensive decision of the Disciplinary Review Board (DRB).

A.

Respondent has been a solo practitioner since she was admitted to the New Jersey bar in 2002. On June 15, 2017,
the OAE conducted a random audit of her financial records. The day before, Respondent deposited $12,000 she
borrowed from a friend into her attorney trust account.
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250 N.J. 581, *587; 275 A.3d 426, **430; 2022 N.J. LEXIS 507, ***17

The audit covered two years, from mid-2015 to mid-2017, and it identified multiple problems. They included
commingling and extensive shortages in client trust funds totaling more than $11,000. In response to the audit,
Respondent admitted that she borrowed client and escrow funds in two matters, without permission from her
clients, because she needed money and had no one else to turn to for a loan. She explained what happened in a
letter she wrote and sent the OAE [***18] dated August 14, 2017:
Regarding my trust account being out-of-trust please be advised of the following:
Without the knowledge or permission of two (2) of my clients, Rev. Milena Eason and the Estate of Felix
Anderson, | borrowed money, resulting in the two (2) accounts being out of trust for a time.
As your office is aware, Rev. Milena Eason entrusted twenty-one thousand dollars [$21,000] in my care. Upon
doing so, | placed the funds in my trust account. Though | did not immediately begin to borrow the funds, as
money became low in my business, | transferred funds from my trust account to my attorney general/business
account. At no time did | ever intend to keep or steal Rev. Eason's money. Not only did | intend to return the
funds; but, the funds were actually returned to the account. | had no idea that my actions would spark
disciplinary proceedings.
in addition, | borrowed money from my client, the Estate of Felix Anderson. In August 2016, | borrowed
approximately five thousand dollars [$5,000] from the Estate account....

[*588] As stated previously, | had no idea my actions were wrong or that they would spark disciplinary
proceedings. | never intended to steal or keep these funds. Not [***19] only did | intend to return the funds; but,
here too the funds were actually returned to the account

| work earnestly to run what | believe is a law firm of integrity based on my Christian values. ! strive to give my
clients good value for their dollar and the best service. This comes at a cost because my clients are sometimes
slow to pay. Unfortunately, there was no-one | could turn to for a loan... . My pointis . . . there was no one
else to turn to, so | borrowed the funds. | had no idea that | could be disciplined for my actions or that what |
was doing was wrong.

Once the auditor told me the effect of my actions, | had to deal with the guilt, embarrassment and shame. |
spent many sleepless nights crying and praying. | told my family, friends, colleagues and my pastor... .

| also had to bear the embarrassment and shame of telling my clients . . . about my actions. They were
understanding, compassionate and unexpectedly supportive. One colleague requested | have her represent
me....

| am now aware that | broke faith with my clients, family, the bar and most importantly with God. My prayer is
that at some point, | can work to restore that faith. There is no excuse for [***20] my actions. | was placed in a
position of trust and | violated said trust | have learned [**431] from my mistakes. Chiefly, | am not alone and |
don't have to borrow from client funds. ... In the end, | am held accountable and required to answer for my
mistakes. ...

| request this Office take the aforementioned into consideration in taking any possible disciplinary action at the
completion of this random audit.

The OAE continued with the audit and later extended the scope of its review to seven years.

B.

The allegations against Respondent involved three clients: Reverend Eason and the Grace of God Church in
Paterson; the estate of Felix Anderson; and Vivian Clayton. To provide relevant background, we briefly summarize
the allegations contained in the OAE’s complaint, along with defenses Respondent later asserted.

In December 2016, Reverend Eason gave Respondent a $21,000 personal check payable to her trust account. The
funds were to be held in escrow to pay down the church's property tax liability. A receipt Respondent gave Eason
stated, "[mJoney held in escrow for the City of Paterson . . . sum held: $21,000."

in the following months, Respondent repeatedly transferred funds from her [***21] attorney trust account to her
business account, [*589] which created a shortfall of $11,636.53. Respondent later claimed she negligently used
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the funds, without a basic understanding of accounting principles, and thought they were earned fees. As noted
earlier, she deposited $12,000 the day before the random audit began to cover the shortfall.

In the Anderson matter, Respondent held money in escrow for an estate. She admitted borrowing a total of $5,000
without permission. About two years later, she returned $3,100. On a ledger card Respondent prepared after the
random audit, she noted that she borrowed the $5,000. She later stated that the notation was inaccurate; that she
withdrew $3,000 to hire a detective to locate a lost heir and returned $3,100 when she decided not to do so; and
that she took $2,000 for her fee. Respondent also claimed she overpaid two beneficiaries about $1,000 each.

In the third matter, Respondent represented Vivian Clayton, the seller, in a real estate transaction. Respondent
accepted $4,000 from the buyers in June 2014 and was obligated to hold the funds in escrow until the closing the
next month. Without permission, she made a number of withdrawals, transfers, and [***22] deposits in the
intervening time, and the escrow balance dropped to $3,750 at one point. Respondent later asserted that the
shortfalls resulted from her failure to pay attention to the books. She replenished the money -- to exactly $4,000 -- in
time for the closing.

C.
During the course of the continuing audit, Respondent made additional admissions to the OAE.

At an interview on September 17, 2017, when asked whether she had ever borrowed escrow funds from a client,
she responded, “Yes. That's why we're here, aren't we?" In connection with the Anderson estate, she again
admitted that she borrowed escrow funds to pay bills because she was “broke." She conceded she used client
funds without permission to pay various expenses but [*590] claimed she did not know it was wrong to borrow the
money until the OAE investigator told her so.

At the same interview, Respondent also admitted she took more than $11,000 from her trust account in connection
with the Eason matter. At first, she claimed she [**432] replenished the funds with $12,000 from a fee she had
earned. She then acknowledged, to "be open and honest," that she made up the shortfall with funds she borrowed
from a friend.

Respondent added that she was [***23] aware of the danger in borrowing from clients. She noted, for example, that
she had not touched another $123,000 in client funds because she knew she could not "pay that back."
Respondent drew the line at $12,000 -- a self-imposed limit.

In an interview on April 11, 2018, with counsel present, Respondent admitted that she considered client funds as a
“line of credit" she could use, without permission, as long as she made the client whole. Based on what she knew at
the time of the interview, she conceded that her use of client funds was "absolutely" wrong but stemmed from
"ignorance."

During a follow-up interview on May 16, 2018, with counsel present, Respondent ; admitted using funds from c one
client to pay for another client's needs -- known as “lapping,” see «= °: Fos Oe a 2th Eee Bie A be ie
=< -- but claimed she did not know that was improper.

At various times, Respondent explained that she never intended to steal from clients and intended to pay the
money back at all times.

D.

The OAE filed a two-count complaint on December 18, 2018. Count One charged Respondent with multiple

instances of of knowingly Iisappropriating ¢ client and e escrow funds j in n violation of Pa,
obese " A Pee ,and = . The instances are [594] outlined “above.

The fi rst ‘count also asserted 24] that Respondent violated other rules of professional conduct. Count Two
charged Respondent with various recordkeeping violations, contrary to = :

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In Respondent's answer to the complaint, she moved away from some of her earlier admissions. She admitted that
she "did not maintain the appropriate recordkeeping procedures" but denied having “commit[ted] a knowing
misappropriation." Respondent stated that she "did not intentionally take client funds." Although she conceded she
had made certain admissions, she “denied that what was stated is actually what occurred." She also asserted that
her prior statements to the OAE "were made due to [her] embarrassment over not having maintained proper
records in [her] practice." Respondent's answer also summarized her personal history, pro bono work, and other
involvement in the community.

A Special Ethics Master conducted a hearing on October 29 and 30, and November 6, 2019. The OAE auditor and
Respondent testified and presented information that is summarized above. An expert witness and multiple
character witnesses also testified on Respondent's behalf. The witnesses presented compelling evidence of
Respondent's personal character, which we recount later. [***25] One witness also described the "disarray" in
Respondent's law office; she saw "a hundred plus unopened envelopes" that contained financial records and tried
to help Respondent organize them. Respondent herself admitted that she let bank statements pile up without
opening them.

In a post-hearing submission, Respondent again distanced herself from her earlier admissions. She claimed that
any misappropriations were negligent, not knowing; that her bookkeeping practices were deficient and accounted
for various errors and shortfalls; that she believed she transferred earned legal fees and not Reverend Eason's
money, that the notation [**433] she had "borrowed" funds in the Anderson matter was inaccurate; and that she
was ignorant of "checking accounting principles" and recordkeeping [*592]rules. The OAE countered
Respondent's arguments and recommended that she be disbarred for knowing misappropriation of trust and escrow

funds.

The Special Master issued a thorough report in February 2020 that recommended disbarment. He observed that
Respondent lacked "any experience in basic financial management" and “was unaware of her professional
obligations with regard to financial record keeping." He found that Respondent [***26] "regularly and intentionally
commingled her personal and trust funds," kept fees in her attorney trust account, and “withdrew them to meet
personal and business expenses."

The Special Master noted that Respondent's "improper practice caused [her] to be repeatedly out of trust which she
thought [was] excusable so long as she made up the shortage when needed." Moreover, her conduct made "it clear
that she knew she made use of client funds, as opposed to her own money." The Special Master found Respondent
“repeatedly paid back what she 'borrowed"™ and appeared to limit her misappropriations to not more than $12,000 at

any one time.

He discounted expert testimony that Respondent's poor recordkeeping and commingling of funds meant “she could
not have known she was using client funds.” To the contrary, the Special Master found that her "repeated and
consistent repayment of all amounts borrowed" belied the testimony. The Special Master made note of
Respondent's "conscious return of borrowed funds in time to cover any shortfalls." In his words, "sloppy
bookkeeping did not cause [Respondent] to unknowingly borrow client funds. She knowingly did so, and she paid
back what she borrowed."

The Special [***27] Master made specific findings of knowing misappropriation in the Eason, Anderson, and
Clayton matters. He also canvassed relevant case law related to the Wilson rule and made findings on the
remaining RPC violations. Because he found clear and convincing evidence that Respondent knowingly

E.

In June 2021, after a de novo review of the record, the DRB unanimously upheld the Special Master's findings and
recommendation in a comprehensive, sixty-one-page decision.
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Like the Special Master, the DRB acknowledged Respondent was "a remarkable person who hald] overcome
tremendous personal obstacles, through diligence and perseverance, to become a pillar of her church and local
community." The Board also reviewed the testimony of Respondent's character witnesses in detail.

Despite evidence of her "stellar personal reputation," however, the DRB found the record was "replete with
overwhelming evidence that she repeatedly and knowingly misappropriated client and escrow funds, from 2002
through 2017." The DRB also pointed to Respondent's multiple admissions [***28] that she "borrowed client and
escrow funds, for the entirety of her career, and specifically in the Eason and Anderson Estate matters, ‘without the
knowledge or permission’ of her clients." According to the DRB, “Respondent's behavior constituted textbook
lapping,” -- “robbing Peter to pay Paul,’ but always making certain that ‘Peter's funds’ were replenished when it
was time to repay" him.

[**434] The DRB recited Respondent's admissions in detail, noted her attempt "to distance herself from" them, and
“view[ed] that sea change with skepticism.” The Board also addressed and rejected defenses that she raised. It
found that neither an intent to replace client funds nor ignorance of the ethics rules was a defense to a Wilson
violation. The Board equated Respondent's lack of an accounting system for fifteen years with willful blindness. In
the end, the DRB concluded that "disbarment is the only appropriate sanction, pursuant to the principles of Wilson
and -fer cic na." The Board therefore did not address the appropriate discipline for other ethical violations it
found.

[*594] F.

We entered an order to show cause. The OAE, Respondent, and the New Jersey State Bar Association, as amicus
curiae, appeared at oral [***29] argument.

Respondent and the OAE renew arguments they presented to the Special Master and the DRB. Respondent
contends she did not intentionally misappropriate client funds, that the record reflects instances of negligent
misappropriation, and that, even if knowing misappropriation is found, she should not be disbarred. She argues the
Wilson rule should be reevaluated when "no client is harmed and the mitigating factors clearly outweigh imposition
of disbarment." The OAE counters that Respondent knowingly misappropriated client and escrow funds and offered
no persuasive defenses, and that neither her conduct nor her background justify revising the Wilson rule.

The State Bar Association asks the Court to clarify the Wilson rule and find that the knowledge element of
misappropriation "is tantamount to an intent to steal or defraud the person from whom. . . funds are taken.” In other
words, the Bar submits that under Wilson and its progeny, knowing misappropriation of client or escrow funds
should require proof that an attorney intended to steal or defraud.

We begin our analysis with an overview of the Court's seminal ruling in in re Wilson as well as relevant caselaw
before and [***30] after the decision.

A.

Prior to 1978, the Court condemned the taking of client funds but did not disbar lawyers in all cases. 222.707 |
ee ES . Most attorneys either were disbarred or resigned [*595] with prejudice. David E.
Johnson, Lawyer Thou Shall Not Steal, 36 Rutgers L. Rev. 454, 460-74 (1984). But the Court's consideration of
mitigating factors -- restitution, economic and emotional pressures, candor and cooperation, remorse, later
compliance with trust account Mt requirements, and other circumstances -- led to varied outcomes. See ..% 27

fee Ge 2Po 2 os ; James R. Zazzali The Whys and Hows of Permanent Disbarment: New Jersey's
Wilson Rule, = “Ser 2 eee 28h “osite.} see also Annotated Standards for Imposing Lawyer
Sanctions, Standard 9. 32 (Ellyn Ss. “Rosen ed. “ABA 2d ed. 2079) (compiling mitigating factors).

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In the years leading up to the Wilson decision, discipline for knowing misappropriation ranged from a suspension t to
disbarment. See, 29, nog Reine Ft Lope file ge ~ (shen “month Suspension), nos b
i —tworyer suspension; ney fe

(hee-year suspension; (435) (nde nite ‘suspension);

cu Bt 82 bes Bes ~ (Gisbarment, eee
(disbarment) Mews Ths “4h cfg GEE 2 bey aR ogc (disbarment); see also oo es Se

8S (discussing cases). In short New Jersey's prior approach t to ciscpining atomeys who
misappropriated client funds was "unpredictable" and "uneven." — é me

The Court's pronouncement in Wilson in [***31] 1979 outlined a clearer path: "that disbarment is the only
appropriate discipline" when an attorney “knowingly use[s] his clients’ money as if it were his own." :

Wendell Wilson was the subject of eight disciplinary complaints; two involved misappropriation. In one matter,
Wiison failed to turn over to a client, for nearly two years, more than $23,000 from the sale of a house. /bid. In the
second, Wilson forged his client's endorsement on a $4,300 check payable to the client and deposited [*596] the
check in his trust account. /bid. Wilson did not turn over the funds.

The Court noted that misappropriation of client funds is a crime as well as a violation of the ethics rules. . 2° <<
obs 4 oo ES . Yet the principle announced in Wilson plainly extended beyond theft and criminality. The Court
defi ned “jnisappropriation" as “any unauthorized use by the lawyer of clients' funds entrusted to him, including not
only stealing, but also unauthorized temporary use * for the lawyer's own purpose, whether or not he derives any
personal gain or benefit therefrom." "cel eke 208 £ or tts . The Court aiso expressly stated that “[c]riminality

is not determinative." - 2 <S£ a0f ice -°8260

As the Court explained, F most misappropriation cases involve] lawyers who undoubtedly [***32] intended to return
the funds." coe: 25 fo fe . The Court nonetheless observed that “[t]he policy described in this opinion,

leading to disbarment i in ‘these cases, would be ill served if 'borrowing' regularly resulted in lesser discipline.” .:

ERE Leo Loe .. In essence, although the Court sharply criticized "stealing a client's money," :: =: <
seo TUES, it did not require proof that an attorney intended to steal or defraud a client to establish knowing
misappropriation.

The Court went on to consider -- and reject -- mitigating circumstances that had previously led to discipline short of
disbarment. Restitution, the defense raised most frequently, often depended o ona Person's ability t to > pay and hot
"moral fitness.” <2 2° =f". Ef 62s 2 f ° (quoting «2 27". a 7A

(en banc)). As the Court noted, a] thoroughly bad man may make restitution, if he i is 5 able, . + and a thoroughly
good man may be unable to make any restitution at all." : 2° 2" “0% «be £ (quoting -
ene").

The Court found that improved recordkeeping was a "similarly unpersuasive" factor because lawyers are © expected
“to set up proper books and records" and keep their trust accounts in balance. ef oE
‘Hinexperience’ or an “outstanding [*597] career” also “seem[] less important” when ' ‘misappropriation i is involved." "
Bee foes . The Court explained that the [***33] "offense against common honesty should be
clear even to the “youngest ‘and to distinguished practitioners, its grievousness should be even clearer." <=: 2: °

The Court recognized that two factors "must deeply trouble any court" that orders [**436] disbarment: "the
pressures on the attorney that forced him to steal, and the very real possibility of reformation.” /bid. Disbarment
under those circumstances, the Court noted, "is so terribly harsh as to require the most compelling reasons to
justify it.” /bid.
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The Court articulated the compelling reasons in plain terms: "the continued confidence of the public in the integrity
of the bar and the judiciary." Ibid. i that “confi dence is destroyed,” the Court stated, "the bench and the bar will be

ao

crippled institutions." (¢ 2: “67

As a result, the Court announced a bright-line rule that “all... cases” of knowing misappropriation of client funds
“generally .. . shall result | in disbarment. We foresee no exceptions to this rule and expect the result to be almost

invariable." «3: 2250 40s = e5 (78°. "[Mlitigating factors will rarely override the requirement of disbarment." f=:

More recently, the Court has used even stronger language to describe the rule. See, e.g., <2 2c aro¢ :
fig OEE “ge ES — (Disbarment | is mandated [***34] for the knowing misappropriation of clients funds .

J.) oe eos “Ee A EEE PES foe 4.25 ThE se: ("[Wle have not retreated one bit from the principle
that knowing misappropriation, when shown by clear and convincing: evidence, will warrant the Wilson sanction of
disbarment."); meena CRS teh Stes Be PAs OSE {Since Vi Wilson, the Court has s consistently

and 1 unwaveringly disbarred aitomneys v who knowingly took their clients’ funds.");
(Eo eS ace ert. (‘[A]n attorney who knowingly misappropriates funds from ¢ a 5 (598) “client is subject to
disbarment without any practical prospect of consideration of mitigating factors .. . ." (citations omitted)).

After Wilson, the Court extended the disbarment rule to lawyers who knowingly misuse escrow funds.
= gone: (LE he Sf Boe Fé, :. Knowing misappropriation of law firrn funds ¢ can lead to disbarment
under core Sepoe (hE A eh OTD BET 2 ode OBS ,and . berg (EE A “es , but
disbarment has not been « an absolute requirement in those instances. In re S Sigman, 220 Nu. 141, 158, 104 1A, 3d

230 (2014).

In all of those areas, we impose disbarment only if the OAE ¢ can salisty a high standard and demonstrate clear and
convincing proof 0 of # knowing misappropriation. ; ee ; see also 2" Saco. “Al g &

# = “ ("Proof of misappropriation, by itself, i is insuffi cient to trigger the harsh penalty of disbarment.
Rather, “the evidence must clearly and convincingly prove that respondent misappropriated client funds
knowingly."). [***35]

That standard cannot be met if an attorney presenis “competent medical proofs that [the person] suffered a loss of
competency, comprehension, or will of a magnitude that could excuse egregious misconduct that was clearly

knowing, volitional, and purposeful." -~ ss .scot 52 4 Lg Bek foe ghee :. To avoid disbarment in
such a case, a respondent must establish a “causal connection’ between t the alleged medical condition and the act
of misappropriation. Ibid.; see also 2-crrsf 22i ye 1p 27 4 a2 "2 (discussing case law and noting "the

importance of establishing .. . an excusing causal connection”). 1

[*599] [**437] The Wilson rule, of course, applies to cases of knowing, not negligent, misappropriation. Attorneys
who negigently misappropriate client funds are not subject to Wilson's automatic disbarment rule. - -s ‘vooner.

& S ~ 2 Ee . We do not review cases of negligent misappropriation here because
they ¢ are not relevant. Respondent, by fr her own admissions, deliberately used client and escrow funds without

permission.

B.

In the decades since Wilson, despite occasional criticism, the Court has declined to relax or Modify th the © brightine
rule that knowing misappropriation will result in disbarment. See, e.g., <::o82 (26 8. fi ie = 2

‘Respondents have the burden of proving medical defenses by clear and convincing evidence. *° 2v-S:0..5- 51 eh =
Bene (noting respondents have “[t]he burden of going forward regarding [other] defenses or demonstrating mitigating
factors", ‘General proof of addiction to alcohol, drugs, or gambling, or of mental iliness, which falls short of the P en standard, is
insufficient to avoid disbarment for knowing misappropriation. see, e. eg, a ETE ee BE Pes

(alcoholism): SEE es Pi Bef f Boe (dg dependency)
ane SES ees = (compulsive gambling). wD &

oc) (mental illness).

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(Stein, J., concurring, joined by O'Hern and Garibaldi, JJ.) ("[A]lthough [***36] the Wilson rule is the right rule for
the vast majority of knowing-misappropriation cases, the inflexibility with which it can be applied runs the risk of
creating within our attorney-discipline system an almost reflexive approach to such cases, obscuring and ignoring
the individual circumstances to an intolerable degree."); oogers 8 é As » (Stein, J.,

dissenting, joined by O'Hern, J.) (“The Court should exercise 3 caution and restraint | in n considering the extent to which
it should apply rigid, bright-line rules in attorney disciplinary proceedings. Disbarment is the most unforgiving
alscipine, and it condemns S every awyer on whom it is s imposed to a life sentence of professional disgrace."); see
also .22nee 0S EOS Sls Se: eect 2 SS (reviewing criticism of the Wilson rule and recommending

the use 2 of indeterminate suspension in “exceptional ¢ cases)

The Court has also continued to reject various defenses to the Wilson rule. On multiple occasions, for example, the
Court has stated that it Intent tc to Steal funds from a client is not an element of knowing misappropriation. "ors

en i fs 2 ee: accord = 6 ih
EOE, the Court set forth the requirements for knowing misappropriation as follows: it "consists simply of a lawyer
taking a client's money entrusted to him, ee knowing that it is the client's money and knowing that the client has
not authorized the taking." oi. 2 ees . An attorney's motive for taking client funds ~ good a or bad

-- is not relevant. Ibid. dust the ¢ same, an intent to return a Client's money is irrelevant. [bid.; . -< Soccer FE

Nor is willful blindness a defense to a charge of knowing misappropriation. As the Court observed in In re Johnson,
“[t]he intentional and purposeful avoidance of knowing what is going on in one's trust account will not be deemed a
shield against proof of what would otherwise be a ‘knowing misappropriation. Mee he Bee Seo e us

zee} see also 8 Sees , BBS eer £65 ©. (defining willful blindness). ignoring mail that

contains financial records cannot provide attorneys a safe haven.

["*438] Attorneys have aiso asserted poor accounting or shoddy bookkeeping as a defense. But “[i]t is no defense
for lawyers to design an accounting system that prevents them from knowing whether they are using clients’ trust
funds. Lawyers have a uty fo assure that their accounting practices are sufficient to prevent misappropriation of
trust funds." 0 ss Sescce: “oe ko fen se ESSE EBs

Although shoddy bookkeeping alone does not establish knowing misappropriation, it is not a defense to a | Wilson
violation when the record otherwise demonstrates se) mowing misappropriation. =! : re

fo Tees tes 5 see also = spe fee Ae = (disbarring attorney who commingled
personal and client funds in his trust account t and did ‘not maintain “adequate records but knew, based on
“unavoidable inference," that his withdrawals “endanger[ed] other clients' funds").

[*601] Similarly, ignorance of ethics rules and case law does not excuse ethical misconduct. 2. = Seen er

24 te Siege:

Personal and financial hardship also cannot excuse a lawyer who takes a client's funds. The Court succinctly
explained why in /n re @ Hughes: “We do not condemn the individual who faces exigent circumstances. ‘We do © protect
the public.” =: fee 2 Sp Bee ote": gee al8o 6 fe Tea aL8 a8 of

(noting the Court has ' Tepeatedly rejected opportunities ‘to create exceptions to the Wilson rule, even where the
misappropriation v was s the product of severe personal and financial hardship" (quoting wen 56 fe ESS

~.)).

C.

Respondent advanced a number of the defenses discussed above, but none of them can overcome Wilson's bright-
line rule. Today, we make clear once again that knowing misappropriation will lead to disbarment. An attorney who
knowingly takes a client's funds without permission will be disbarred.

That approach is not meant to punish lawyers. Like the overall system of attomey discipline, it it is S designed ps9} to
protect the public and maintain confidence in the bar and the Judiciary. : Bee BR ge a

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When clients place money in an attorney's hands, they have the right to expect the funds will not be used
intentionally for an unauthorized purpose. If they are, clients can confidently expect that disbarment will follow.

Because there is clear and convincing evidence in the record, including Respondent's own admissions, that she
knowingly took client and escrow funds without permission on multiple occasions, an order of disbarment will be
entered. We therefore do not discuss other ethical violations Respondent committed.

[*602] IV.
A.

At the hearing before the Special Master, Respondent presented multiple character witnesses who offered
compelling evidence of her personal and professional achievements. Based on that testimony, the Special Master
found that "[hJer service to the community and good reputation are particularly exemplary." As noted earlier, the
DRB similarly observed that “Respondent is a remarkable person who has overcome tremendous personal
obstacles . . . to become a pillar of her church and local community and what appeared to be [**439] an excellent
member of the New Jersey bar." We agree with those conclusions [***40] and recount some of the testimony
underlying them.

Several relatives testified about Respondent's upbringing and devotion to family. Respondent was born to a
sixteen-year-old mother who struggled with substance abuse. Her father was not part of her life from the time she
was three years old. Respondent's mother testified that by the time Respondent graduated from high school, the
family had moved more than eleven times between Passaic and Newark. While her mother was in rehabilitation,
Respondent lived with a cousin.

Respondent's brother testified about how she was a stable figure in his life. He admired her work ethic and focus
while in school. Later in life, she helped take care of his children when he was imprisoned for drug distribution.
Respondent represented him in the criminal case. Today, her brother owns a trucking company, and the two remain
close. He confirmed that neither of them had any understanding of financial matters from their upbringing.

Respondent's uncle added that he helped raise her as a child when her mother fell on hard times. Years later, when
he became very ill, Respondent offered to donate a kidney for a transplant.

Other witnesses testified about Respondent's [***41] extensive involvement with her church. A fellow congregant
and real estate broker testified that Respondent conducted free legal seminars at the [*603] church. He also
referred real estate matters to her and noted that she willingly and professionally helped clients even if the fee was
not lucrative. A former instructor at a community college echoed that she was heavily involved with her church,
family, and the community. He described her as a student leader who had the respect of her peers and was active
in student government. A cousin who described Respondent as a mentor testified about other activities, including
Respondent's volunteer work at an aviation school to teach inner-city youth about aviation.

Yet other witnesses spoke of her work as a lawyer. A trustee of Northeast New Jersey Legal Services testified
Respondent was an active participant who provided pro bono services to clients and offered workshops and
seminars on bankruptcy and real estate. In 2017, Legal Services bestowed an award on Respondent for her pro
bono contributions. Respondent's uncle similarly recounted that he had referred many people who needed legal
assistance but could not afford to pay Respondent, and she never [***42] refused to help them.

A law school classmate and practicing attorney described Respondent as very kind, giving, always willing to help
others, honest, diligent, devout, and dedicated to the law and the community. Another fellow solo practitioner and
friend, who worked with Respondent on a number of legal projects over the years, praised Respondent as a hard-
working, diligent, good-natured professional, with a really good heart and a strong commitment to her faith.

Vivian Clayton, a client whose funds were invaded, also testified as a character witness. She met Respondent at St.
Luke Baptist Church in Paterson in around 2001. Ms. Clayton relayed that Respondent gave free legal clinics at the
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church and assisted with a transitional home for women, a summer camp program, and a school program.
Notwithstanding the allegations in this disciplinary matter, Ms. Clayton described Respondent as kind, intelligent,
truthful, and a hard worker with a “servant's heart."

Respondent testified as well. She explained that, while growing up in the midst [**440] of chaos, she grounded
herself in two ways: [*604] through religion and in pursuit of her goal to become an attorney. After law school, she
worked for the juvenile [***43] section of the Passaic County Probation Department. When she passed the bar, she
opened a solo practice and focused on representing the underserved population of Paterson. She also immediately
got involved with Northeast New Jersey Legal Services to do pro bono work. Legal Services honored her several
times and gave her the Empowerment Award at its 50th anniversary banquet.

Respondent also described her volunteer efforts at the church where she co-founded the St. Luke's Legal
Assistance Ministry; conducts various free legal seminars on domestic violence, bankruptcy, real estate, and wills
and trusts; and serves as vice president of the community development board. in that position, she helps organize
food drives for the needy and educational programs for children, among other community work.

B.

As the Special Master and the DRB recognized, Respondent has no prior disciplinary history. None of her clients
lost money, and she promptly took remedial measures after the random audit. She cooperated with the OAE,
readily admitted she borrowed clients’ money without permission, and was contrite about her failure to maintain
financial records properly.

C.

For the reasons discussed earlier, Respondent's [***44] personal and professional history does not provide a
defense to a Wilson violation. But her accomplishments raise important questions about New Jersey's longstanding
system of attorney discipline. In particular, should disbarment be permanent in ail Wilson cases? Or should the
disciplinary system offer disbarred attorneys like Respondent an opportunity for a second chance at a later point in
time?

{*605] Many considerations bear on those questions, and we briefly examine a few of them.

V.
A.

All 50 states and the District of Columbia disbar attorneys who commit serious ethical violations. In a large majority
of jurisdictions, however, disbarment is not permanent. Altogether, 41 states plus the District of Columbia allow
attorneys to apply to be reinstated after they have been disbarred.

Most st jurisdictions permit attorneys to apply for readmission 5 years after disbarment. See -ve = Cescecuy =
“ged Spo ke fe Sur Oe » Ark. R. Pro. Conduct 24(B)(1); Cal. State Bar R. . 5.4420)
Saye OS Seer inery Diego 2 Ser x Ga. R Gov'g Admission Prac. L. pt. A, §10(a); ce52
2 2 S08 ag S 2 USL ET an eve SS ; Me. Bar R. 29(a); Mich. Ct. R. 9. 423(B)(2): Mo,
Sup. Ct R 5 28h 2) "Mont. R ‘Law. Disney Enft 3a(C\(3) Neb. Ct. R. 3-310(T); N.C. R. State Bar ¢ ch. 1,
subch. B, 8 O129(a)(2), wee ws 8 a} Okla. R. Gov'g Disciplinary Proc. 11.1(e); -2_-
Sab oS er * ; 3.C. App. Ct. R. 413, R. Laws.’ ~ Disciplinary Ent 33,
CD beet fee” oe ares ; Utah Code Jud. » Admin. R. 4 1-707(c), . -
Va. R Sip. CL pt ML, Ls Vv, a 1 92500 BODE Se SVEg Ry ; W. Va. R. Law. Disciplinary P.
3.33(b); : Son heses sey ee

y

[**441] in addition to those 31 jurisdictions, 4 others impose variations on a 5 - year time limit. See Conn. R.
Super. Ct. §§ 2-53(b), 2-47A (5 years generally; 12 years for knowing misappropriation); R. Regulating | Fla. Bar 3
7.10(n)(1) (5 years unless the order states disbarment is for a longer period or is [***45] permanent); «fun o:
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= _é EEauL , ~_ (5 years unless the court determines more time is needed); = Cescscove Mss Sues Sas,
= (5 years [606] except disbarment is permanent for attorneys convicted of certain felony criminal offenses),

Disbarred attorneys can apply for readmission or reinstatement after 1 year in Hawaii, 220 7 2
'; after 7 years in New Hampshire, 2.7 Suc Ofte , and New York, N.Y. Ct R 1240. 0. 16(0N("
: “and “Massachusetts, Mass. R. Sup. Jud. Ct. 4.01, §

and after 8 years in Colorado, So2 0 9 25 = Se bes
18(2)(a).

Maryland specifies the time to apply for reinstatement in each order of disbarment. §é2 0 =. i-/ fc 2e=.
Minnesota's court rule does not set a minimum waiting period to apply for readmission after disbarment, s see 0
= - = , but t length | of time since disbarment is a factor to be considered for reinstatement, _~

Disbarment | is permanent in only 8 States $ Including New Jersey. TLS Agceesior BS
= : we A bie SA es” NM State ct R 17. 7 244(A); Ohio

Sup. Cl R Govt Bar v. §12(B). Stier fet SB fos Men ee ors = (making disbarment
permanent on or after July 1, 2020).

In one state, Louisiana, the Supreme Court retains discretion to ‘Permanently disbar a lawyer and prohibit the
person from being readmitted. 2 fu 207 gs Dvsouees So nos

The majority rule is consistent with a recommendation of the American Bar Association. ABA Model Rule 25A
states that "[nlo lawyer may petition for readmission until five years after the effective date of disbarment.” ABA
Model R. Law. Disciplinary Enft 25(A) (Am. Bar Ass'n 2002). The model rule also fists criteria for
reinstatement [***46] and readmission. They include compliance with all prior disciplinary orders; rehabilitative
treatment for physical or mental infirmity, including alcohol or drug abuse; recognition of the wrongfulness and
seriousness of the prior misconduct; proof of “the requisite honesty and integrity to practice law"; competency
[*607}] to practice; and passage of the bar examination and character and fitness examination. /d. R. 25E.

Many states outline similar factors to assess whether a disbarred attorney should be reinstated. The Supreme Court
of South Dakota, for example, considers the following ten factors:
1. present moral fitness;
. acceptance of wrongdoing with sincerity and honesty;
. extent of rehabilitation;
. nature and seriousness of the original misconduct and the disrepute it brought on the legal profession;
. conduct following the discipline, including whether there has been any unauthorized practice of law;
. time elapsed since the original discipline;
. character, maturity and experience at the time of discipline and now;
. current competency and qualifications to practice law;
. Testitution; and

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[**442] 10. proof that resumption of the practice of law within the state will not be detrimental to [***47] the
integrity and standing of the bar or the administration of justice, or subversive of the public interest.

[ore wie SS Se ee A wo er ge BI Se SS]

Sixteen states require petitioners to complete examination requirements as part of the reinstatement process.
Arizona, California, Colorado, Florida, Georgia, Minnesota, Mississippi, Missouri, New Hampshire, Oklahoma, and
South Carolina require disbarred lawyers to retake the bar examination. -2 "Suc oc ; Cal. State Bar R.
5.441(B)(4)(a); Ga. R. Gov'g Admission Prac. L. pt. A, § 10(f); Okla. R. Gov'g Disciplinary Proc. 11.5(c); Colo. R.
Civ. P. 242.39(a)(1) (also requires the Multistate Professional Responsibility Examination (MPRE)); R. Regulating
Fla. Bar 3-7. TOON) (Same); as muse b Sie : (same); Mo. Sup. Cf R. 5.28(b)(4), (d) (same);

: : S By ~(eame): SC “App. Ct R 413, R. Laws.’ Disciplinary Enft 33(f)(8) (same);
eo pees Son Seen ie 2 (requires completion of ali written exams required for initial admission).

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250 N.J. 581, *607; 275 A.3d 426, **442; 2022 N.J. LEXIS 507, ***47

Connecticut, Rhode Island, and Virginia require passage of the MPRE. Conn. R. Super. Ct. § 2-53(d)(3); 2 ou

= : Va. R. Sup. Ct pt. 6, § IV, J 13-25(F)(4). New York requires [608] passage of the MPRE and
may fr require Spplicants to retake the bar examination. N.Y. Ct. R. 1240.16(b). North Carolina requires passage of
the bar examination and the MPRE when a petition is filed 7 or more years after disbarment. N.C. R. State Bar ch.
1, subch. B, § .0129(a)(5).

Several jurisdictions decide whether to > require passage of the bar examination or the professional responsibility
exam on a case-by-case basis. See «2 suns efit Bt Cues Doge DR ee kee Bee,

B.

Those and other considerations are relevant to any thoughtful evaluation of whether disbarment for knowing
misappropriation should [***48] be permanent. To assess those and other factors, the Court will convene a
committee comprised of attorneys as well as members of the public who are not lawyers.

We will ask the committee to study whether disbarment should continue to be permanent in all Wilson cases and to
recommend standards that might apply if New Jersey were to adopt the majority approach. Among other issues to
consider are the following: After what period of time might attorneys be readmitted? What factors and standard of
proof should apply to that judgment? Should disbarred attorneys be required to retake the bar examination or other
courses on ethics, recordkeeping, and related subjects? What process might be adopted for readmission? And
what rule changes might be warranted?

To be clear, we ask the committee to recommend whether to modify the rule of permanent disbarment for matters in
which disbarment has been mandatory -- that is, for knowing misappropriation of client funds under Wilson and of
escrow funds under ~c/cr2 ns’. The Court made clear in Sigman that disbarment was not required for knowing

misappropriation of law firm funds. 220 N.J. at 158, 104 A.3d 230. We ask the committee to consider whether any
rule change should apply to orders of disbarment [***49] entered before Sigman.

There are yet other serious matters in [*609] which the Court exercised its discretion and permanently disbarred
an attorney. We invite the committee's comments on that issue as well. [**443] The committee's report will be
made available to the public for comment before the Court determines how to proceed. See N.J. Const. art. Vi, § 2,
{ 3 (‘The Supreme Court shall have jurisdiction over the admission to the practice of law and the discipline of
persons admitted."). We welcome input from attorneys and the public to promote the key interests at the heart of
the Wilson rule: how best to protect the public and maintain confidence in the legal profession.

Vi.

For those reasons, we enter an order of disbarment for Respondent and ask the Director of the Administrative
Office of the Courts to help assemble a committee to study whether disbarment should continue to be permanent in
all cases of knowing misappropriation.

JUSTICES ALBIN, PATTERSON, SOLOMON, and PIERRE-LOUIS join in CHIEF JUSTICE RABNER's opinion.
JUDGE FUENTES (temporarily assigned) did not participate.

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APPENDIX D

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NJ - New Jersey State & Federal Court Rules > Rules Governing the Courts of the State of New
Jersey > PART I. Rules of General Application > CHAPTER II. Conduct of Lawyers, Judges and
Court Personnel

Rule 1:20-20. Future Activities of Attorney Who Has Been Disciplined or
Transferred to Disability-Inactive Status.

(a) Prohibited Association. No attorney or other entity authorized to practice law in the State of New Jersey
shall, in connection with the practice of law, employ, permit or authorize to perform services for the attorney
or other entity, or share or use office space with, another who has been disbarred, resigned with prejudice,
transferred to disability- inactive status, or is under suspension from the practice of law in this or any other
jurisdiction.

(b) Notice to Clients, Adverse Parties and Others. An attorney who is suspended, transferred to disability-
inactive status, disbarred, or disbarred by consent or equivalent sanction:

(1) shall not practice law in any form either as principal, agent, servant, clerk or employee of another,
and shall not appear as an attorney before any court, justice, judge, board, commission, division or
other public authority or agency;

(2) shali not occupy, share or use office space in which an attorney practices law;

(3) shail not furnish legal services, give an opinion concerning the law or its application or any advice
with.relation thereto, or suggest in any way to the public an entitlement to practice law, or draw any
legal instrument;

(4) shall not use any stationery, sign or advertisement suggesting that the attorney, either alone or with
any other person, has, owns, conducts, or maintains a law office or office of any kind for the practice of
law, or that the attorney is entitled to practice law;

(5) shall, except for the purposes of disbursing trust monies for the 30-day period stated in this
subparagraph, cease to use any bank accounts or checks on which the attorney’s name appears as a
lawyer or aftorney-at-law or in connection with the words “law office’. If the suspension is fora period
greater than six months, or involves a temporary suspension that lasts for more than six months, or
involves transfer to disability-inactive status, disbarment, disbarment by consent or their equivalent
sanction, the attorney shail, within the 30 day period prescribed in subparagraph (15), disburse alll
attorney trust account monies that are appropriate to be disbursed and shall arrange to transfer the
balance of any trust monies fo an attorney admitted to practice law in this state and in good standing for
appropriate disbursement, on notice to all interested parties, or dispose of the balance of funds in
accordance with R. 1:21-6(), “Unidentifiable and Unclaimed Trust Fund Accumulations and Trust
Funds Held for Missing Owners”; however, it shall not be a violation of this subparagraph for an
attorney to take appropriate action to comply after the stated 30-day period;

(6) shall, from the date of the order imposing discipline (regardiess of the effective date thereof), not
solicit or procure any legal business or retainers for the disciplined attorney or for any other attorney;

(7) shall promptly request the telephone company to remove any listing in the telephone directory
indicating that the attorney is a lawyer, or holds a similar title;
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(8) shall promptly request the publishers of Martindale-Hubbeil Law Directory, the New Jersey Lawyers
Diary and Manual, and any other law list in which the attorney’s name appears, including all websites
on which the attorney's name appears, to remove any listing indicating that that attorney is a member
of the New Jersey Bar in good standing;

(9) shall notify the admitting authority in any jurisdiction to whose bar the attorney has been admitted of
the disciplinary action taken in the State of New Jersey;

(10) shall, except as otherwise provided by paragraph (d) of this rule, promptly notify all clients in
pending matters, other than litigation or administrative proceedings, of the attorney's suspension,
transfer to disability-inactive status, disbarment, or disbarment by consent, and of the attorney's
consequent inability to act as an attorney due to disbarment, suspension, or disability-inactive status,
and shall advise said clients to seek legal advice elsewhere and to obtain another attorney to complete
their pending matters. Even if requested by a client, the attorney may not recommend another attorney
to complete a matier. When a new attorney is selected by a client, the disciplined or former attorney
shall promptly deliver the file and any other paper or property of the client to the new attorney or to the
client if no new attorney is selected, without waiving any right to compensation earned as provided in
paragraph (13) below;

(11) shall, except as otherwise provided by paragraph (d) of this rule, as to litigated or administrative
proceedings pending in any court or administrative agency, promptly give notice of the suspension,
transfer to disability-inactive status, disbarment, or disbarment by consent and of the consequent
inability to act as an attorney due to disbarment, suspension, or disability-inactive status, to: (1) each
client; (2) the attorney for each adverse party in any matter involving any clients; and (3) the
Assignment Judge with respect to any action pending in any court in that vicinage, or the clerk of the
appropriate appellate court or administrative agency in which a matter is pending. The notice to clients
shall advise them to obtain another attorney and promptly to substitute that attorney for the disciplined
or former attorney. Even if requested by a client, the disciplined or former attorney may not recommend
an attorney to continue the action. The notices to opposing attorneys and the Assignment Judge or
Court Cierk shall clearly indicate the caption and docket number of the case or cases and name and
place of residence of each client invoived. In the event a client involved in litigation or a pending
proceeding does not obtain a substitute attorney within 20 days of the mailing of said notice, the
disciplined or former attorney shall move pro se in the court or administrative tribunal in which the
action or proceeding is pending for leave to withdraw therefrom. When a client selects a new attorney,
the disciplined or former attorney shall promptly deliver the file and any other paper or property of the
client to the new attorney or to the client if no attorney is selected, without waiving any right to
compensation earned, as provided in paragraph (13), below;

(12) shail, in all cases in which the attorney is then acting, or who thereafter attempts to obtain letters
of appointment from a Surrogate to act, in any specified fiduciary capacity, including, but not limited to,
executor, administrator, guardian, receiver or conservator, promptly notify in writing all (1) co-
fiduciaries, (2) beneficiaries, (3) Assignment Judges and Surrogates of any vicinage and county out of
which the matter arose, of the attorney’s suspension, transfer to disability-inactive status, disbarment,
or disbarment by consent. Such notice shail clearly state the name of the matter, any caption and
docket number, and, if applicable, the name and date of death or current residence of the decedent,
settior, individual or entity with respect to whose assets the attorney is acting as a fiduciary;

(13) shall not share in any fee for legal services performed by any other attorney following the
disciplined or former attorney’s prohibition from practice, but may be compensated for the reasonable
value of services rendered and disbursements incurred prior to the effective date of the prohibition,
provided the attorney has fully complied with the provisions of this rule and has filed the required
affidavit of compliance under subparagraph (b)(15). The reasonable value of services for the disciplined
or former attorney and the substituted attorney shall not exceed the amount the client would have had
to pay had no substitution been required. If an attorney-trustee has been appointed under =~ 2." é,
all fees for legal services and other compensation due the attorney shall be paid solely to the attorney-
trustee for disbursement as directed by the court in accordance with the provisions of that rule.
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Compensation shall include any monies or other thing of value paid for legal services due or that is
related to any agreement, sale, assignment or transfer of any aspect of the attorney's share of a law
firm;

(14) shall maintain:

(A) files, documents, and other records relating to any matter that was the subject of a disciplinary
investigation or proceeding;

(B) files, documents, and other records relating to all terminated matters in which the disciplined or
former attorney represented a client prior to the imposition of discipline;

(C) files, documents, and other records of pending matters in which the disciplined or former
attorney had responsibility on the date of, or represented a client during the year prior to, the
imposition of discipline or resignation;

(D) ail financial records related to the disciplined or former attorney's practice of law during the
seven years preceding the imposition of discipline, including but not limited to bank statements,
time and billing records, checks, check stubs, journals, ledgers, audits, financial statements, tax
returns, and tax reports; and

(E) ail records relating to compliance with this rule.

(15) shail within 30 days after the date of the order of suspension (regardless of the effective date
thereof) file with the Director the original of a detailed affidavit specifying by correlatively numbered
paragraphs how the disciplined attorney has complied with each of the provisions of this rule and the
Supreme Court's order. Signed copies of that affidavit shall be provided at the same time to the Clerk of
the Supreme Court and to the Disciplinary Review Board. The affidavit shall be accompanied by a copy
of all correspondence sent pursuant to this rule and shall also set forth the current residence or other
address and telephone number of the disciplined or former attorney to which communications may be
directed. The disciplined or former attorney shall thereafter inform the Director of any change in such
residence, address, or telephone number. The affidavit shall also set forth whether the attorney
maintained malpractice insurance coverage for the past five years and, for each policy maintained, the
name of the carrier, the carrier's address, the policy number, and the dates of coverage. The affidavit
shall also attach an alphabetical list of the names, addresses, telephone numbers, and file numbers of
all clients whom the attorney represented on the date of discipline or transfer to disability-inactive
status.

(c) Failure to Comply. Failure to comply fully and timely with the obligations of this rule and file the affidavit
of compliance required by paragraph (b)(15) within the 30-day period, unless extended by the Director for
good cause, shall, in the case of a suspension, preclude the Board from considering any petition for
reinstatement until the expiration of six months from the date of filing proof of compliance in accordance

ethics authorities) and =" 2 <<’ (conduct prejudicial to the administration of justice). The Director also

may file and prosecute an action for contempt pursuant to “5-2.

(d) Definite Suspension of Six Months or Less. A lawyer who has been suspended for a definite period of
six months or less is exempt from the requirements of paragraph (b)(7) and (b)(8).

(e) Responsibility of Partners and Shareholders. An attorney who is affiliated with the disciplined or former
attorney as a partner, shareholder, or member shall take reasonable actions to ensure that the attorney
complies with this rule. In lieu of compliance by the attorney with the requirement of paragraph (b)(10) and
(b)(11), the firm, corporation, or limited liability entity may promptly notify all clients represented by the
disciplined or former attorney of the attorney's inability to act due to disbarment, suspension, or disability-
inactive status and that the firm will continue to represent the client unless the client requests in writing that
the firm withdraw from the matter and substitute a new attorney.

If the disciplined or former attorney fails to comply with this rule within 30 days of the date of
suspension, transfer, or disbarment, the law firm shall do so. Proof of compliance shall be by verified
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affidavit of a member of the firm, shareholder, or member filed with the Director within 30 days of the
date of suspension, transfer, or disbarment. The affidavit shall be accompanied by a copy of all notices
sent to clients pursuant to this paragraph.

History _

Adopted February 23, 1978, to be effective April 1, 1978; amended January 31, 1984 to be effective February 15,
1984; amended July 13, 1994 to be effective September 1, 1994; paragraph (a) was former = 2"-:, new
paragraphs (b), (c) and (d) adopted January 31, 1995 to be effective March 1, 1995; paragraph (d); - amended July
10, 1998 to be effective September 1, 1998; paragraphs (a), (b)(10), (b)(11) and (d); amended, paragraphs (b)(12),
(b)(13), and (b)(14); amended and redesignated as paragraphs (b)(13), (b) (14), and (b)(15), and new paragraph
(b)(12) adopted July 5, 2000 to be effective September 5, 2000; caption of rule; amended, paragraphs (a) and (b);
amended, former paragraph (c) redesignated as (d), former paragraph (d) redesignated as (e) and; amended, and
new paragraph (c) adopted July 28, 2004 to be effective September 1, 2004; subparagraphs (b)(5), (b)(7), and
(b)(8); amended July 9, 2008 to be effective September 1, 2008.

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NJ - New Jersey State & Federal Court Rules > Rules Governing the Courts of the State of New
Jersey > PARTI. Rules of General Application > CHAPTER II. Conduct of Lawyers, Judges and
Court Personnel

Rule 1:20-21. Reinstatement after final discipline.

(a) Definite Suspension of More Than Six Months and Indefinite Suspensions. After the expiration of a
definite suspension of more than six months or at any time after an indefinite suspension has been ordered,
an attorney may file a verified petition for reinstatement with the Disciplinary Review Board pursuant to this
tule.

(b) Definite Suspension of Six Months or Less. A lawyer who has been suspended for a definite period of
six months or less may file a petition for reinstatement and publish notice of reinstatement forty days prior
to the expiration of the period of suspension. All other procedures specified by this rule shall apply, except
that the petition need not contain responses to paragraphs (f)(6), and (f)(8) to (f)(10), inclusive.

(c) Filing and Service of Petition. The petitioner shall file an original and 12 copies of the verified petition
with the Board and shall serve two copies on the Director.

(d) Costs. Petitions for reinstatement shall be accompanied by a non-refundable check payable to the
Disciplinary Oversight Committee in the amount of $750 to cover the reasonable administrative costs of
processing the petition. Either the Board or the Court may also direct the petitioner to pay such additional
sum during the processing of a petition as it deems appropriate to meet the cost of actual out-of-pocket
expenses, including, but not limited to, medical or psychiatric examinations, transcripts and other
investigatory and review expenses deemed necessary to a proper evaluation of the reinstatement petition.

(e) Publication of Notice. Contemporaneously with the filing of the petition for reinstatement, or within
twenty-one days prior thereto, the petitioner shall publish a notice of application for reinstatement in bold-
faced type in all official newspapers designated by the Supreme Court and in a newspaper of general
circulation in each county in which the respondent last maintained a law office and in the county in which
respondent resided at the time of the imposition of discipline. Publication of a notice shall be sufficient if in
the following language: NOTICE TO THE PUBLIC. John Doe, who was admitted to the bar of the State of
New Jersey OM ....... eee ,20.... and who was thereafter suspended from the practice of law by the
Supreme Court, is applying to be reinstated to the practice. Obiections or relevant information concerning
this application for reinstatement should be forwarded immediately to Chief Counsel, Disciplinary Review
Board, P.O. Box 962, Trenton, New Jersey 08625-0962.

(f) Contents of Petition. The petitioner shall provide a certified petition for reinstatement setting forth all
material facts on which the petitioner relies to establish fitness to resume the practice of law. The petition
shall in the discretion of the Board considering the nature of the disciplinary offense contain, in correlatively
numbered paragraphs, the following information:

(1) the name of the petitioner and a copy of a current photograph of petitioner, not smaller than three
inches by three inches showing front and side views,

(2) the date on which the suspension was imposed and the citation of the reported opinion, if any;

(3) the age, current residence address and telephone number of the petitioner, the address of all
residences maintained during the suspension period and the date of each residence;
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(4) the nature of petitioner's occupation during the suspension, including the name and address of
each employer, the dates of each employment, the positions occupied and titles held, the name,
address and telephone of the immediate supervisor, and the reason for leaving the employment;

(5) the case caption, general nature, dates and disposition of every civil, criminal, administrative or
disciplinary action which was pending during the period of suspension to which petitioner was either a
party or claimed an interest;

(6) petitioner's written consent to the Board and to the Director to examine and secure copies of any
records relating to any criminal investigation of or action against petitioner;

(7) astatement of the monthly earnings and other income of the petitioner and the sources from which
all earnings and income were derived during the period of suspension;

(8) a statement of assets and financial obligations of the petitioner as of the date of the original
suspension and at the time of the reinstatement application, the dates when acquired or incurred, and
the names and addresses of all creditors;

(9) the names and addresses of all financial institutions at which petitioner had, or was signatory to,
accounts, safety deposit boxes, deposits or loans during the period of suspension, the number of each
account, box, deposit or loan; the date each account, box, deposit or loan was opened, approved or
made; and the date each account, box, deposit or loan was closed, discharged or paid;

(10) copies of petitioner's federal and state income tax returns and any business tax returns for each of
the three years immediately preceding the date the petition is filed and for each year, or part of a year,
during the period of suspension and, in an appropriate form, petitioner's written consent to the Board
and the Director fo secure copies of the original returns;

(11) a statement of restitution made for any and all obligations to all former clients and the Lawyers’
Fund for Client Protection and the source and amount of funds used for this purpose;

(12) whether the petitioner, during the period of suspension, sought or obtained assistance,
consultation or treatment, whether as an in- or out-patient, for a mental or emotional disorder or for
addiction to drugs or alcohol, if such services relate to the disciplinary offenses or the Board determines
that such information is relevant to the petitioner's present ability to practice law. The name, address
and telephone of each provider of these services, the services rendered, their duration and purpose
and a copy of all medical records shall be provided to the Board;

(13) whether the petitioner, during the period of suspension, applied for admission or reinstatement to
practice as an attorney in this state or any other state and the caption and details of the application;

(14) whether the petitioner has ever applied for or been granted a license or certificate relating to any
business or occupation and whether that license or certificate has ever been the subject of any
disciplinary action and the details thereof;

(15) a statement as to whether or not any applications were made during the period of suspension for
a license requiring proof of good character, the dates, name, address and telephone of the authority to
whom such applications were addressed and the disposition thereof,

(16) whether petitioner, during the period of suspension, engaged in the practice of law in any
jurisdiction and all material facts relating thereto;

(17) a statement of any procedure or inquiry during the period of suspension, relating to petitioner's
standing as a member of any other profession or organization, or holder of any license or office, which
involved the censure, removal, suspension, revocation of license, or discipline of petitioner, and, as to
each, the dates, facts, and the disposition thereof and the name, address and telephone of the
authority in possession of the record thereof,

(18) a written representation of petitioner's intentions concerning the practice of law, if reinstated;

(19) anewly completed Annual Attorney Registration Statement;
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(21) such other information as the Director, the Board or the Supreme Court may from time to time
require.

(g) Objections by Director; Recommendation by the Board. Within 21 days following receipt of the petition
or 14 days if the period of suspension was six months or less, the Director shall file an original and 12
copies of a response with the Board either objecting or not objecting to the petition. The Director shall serve
the respondent with a copy of the response. If the Director consents or fails to file objections, the Board
may submit its findings and recommendations to the Supreme Court. If the Director files objections, the
Board may set the matter down for oral argument on notice to the parties or may, after considering the
objections, submit its findings and recommendations as to the attorney’s fitness to practice law to the
Supreme Court without argument. The Board may recommend and the Court may impose conditions on the
attorney's reinstatement deemed necessary to protect the lawyer, clients or the public.

(h) Referral to Trier of Fact. in an appropriate case, the Board may refer specific issues regarding
reinstatement to a trier of fact, which shall then hold a hearing and furnish the Board with a report of
findings and recommendations.

(i) Consideration of Petition for Reinstatement. No petition for reinstatement shall be considered by the
Board unless:

compliance has not occurred, and if the required affidavit of compliance has not been timely filed, the
Board shall not consider the petition until the expiration of six months from the date of filing of that proof
of compliance.

{A) the respondent first affirmatively demonstrates full and timely compliance with =< 26-20. If

(B) all disciplinary costs assessed have been paid, unless an extraordinary financial hardship claim
has been timely requested and granted and unless respondent is current in the schedule of payments
thereunder;

(C) all orders for restitution have been paid;

(D) the respondent has reimbursed or has reached agreement in writing with the Lawyers’ Fund for
Client Protection to reimburse it in full for all sums paid or authorized to be paid as a result of the
respondent's conduct;

(E) all annual registration fees and charges for ethics and the Lawyers’ Fund for Client Protection have
been paid.

(j) Successive Petitions. Except as otherwise ordered by the Supreme Court, a petitioner may not file a
subsequent petition for reinstatement until six months after the Supreme Court has adversely decided the
prior petition.

(k) Public Proceedings and Records. All reinstatement records and proceedings shall be considered public
in accordance with R. 1:20-9.

(i) Standard of Proof. The standard of proof in reinstatement proceedings shall be by clear and convincing
evidence.

(m) Burden of Proof, Burden of Going Forward. The burden of proof in proceedings seeking reinstatement
shall be on the petitioner.

History

Adopted January 31, 1995 to be effective March 1, 1995; paragraph (e); amended July 12, 2002 to be effective
September 3, 2002; paragraphs (c), (d), (e), (f), (g), (h), and (i); amended and new paragraphs (I) and (m) adopted
July 28, 2004 to be effective September 1, 2004.
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APPENDIX F

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LexisNexis New Jersey Court Rules Annotated > PART! RULES OF GENERAL APPLICATION >
CHAPTER If! CONDUCT OF LAWYERS, JUDGES AND COURT PERSONNEL > RULE 1:20
DISCIPLINE OF MEMBERS OF THE BAR > 1:20-18 Supervision of disciplined attorney

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(a) Generally. An order of discipline or reinstatement entered by the Supreme Court may require the
respondent to practice law under supervision by a practicing attorney. Such order shall include
the general conditions prescribed by this rule and such specific additional conditions as the
Director may require with the approval of the Supreme Court.

(b) Violation of Supervision or RPC’s.The supervisor and the respondent shall report promptly to
the Director any facts that appear to constitute a violation by the respondent of the Rules of
Professional Conduct or the conditions of supervision.

(c) Mental or Physical Disability. The supervisor and the respondent shall report promptly to the
Director any facts that appear to demonstrate alcohol or substance abuse by the respondent, or
that indicate that the respondent may be incapacitated from practicing law by reason of mental
or physical infirmity or illness.

(d) Weekly Conferences. The supervisor shall confer in person with the respondent at least weekly
to review the status of all matters being handled.

(e) Time Records. The respondent shall maintain contemporaneous time records on ail legal
matters, which shall be retained for a minimum of one year after termination of the supervisory

period.

(f) New Cases. The respondent shall not accept any cases without the prior approval of the
supervisor.

(g) Respondent’s Monthly Reports.The respondent shall provide monthly Case Listing Reports to
the supervisor by the fifth business day of each month, listing for each case assigned to the
respondent: (1) the case caption, (2) the full name and address of the client(s), (3) a brief
description of the nature of the case, (4) a brief narrative of its current status, (5) the name of all
opposing attorneys, and (6) in all litigated matters, the name of the court and docket number, as
well as the names of all judges before whom the attorney appeared during that month. The

submitted in a form acceptable to the Director.

(h) Supervisor’s Quarterly Reports.The supervisor shall provide to the Director the supervisor's
Quarterly Reports in a form acceptable to the Director beginning on the tenth business day of
the third month following respondent’s order of discipline or of reinstatement by the Supreme
Court of New Jersey imposing Conditions of Supervision. Reports shall be made quarterly
thereafter on the tenth business day of the month. The quarterly report shall be certified in
accordance with @.< 7.4-4'5: and shall have appended to it a copy of each monthly Case
Listing Report submitted by the respondent during the quarter. The quarterly report shall set
forth the supervisor’s overall analysis of the handling of all legal matters entrusted to the
respondent and shall indicate specifically whether, in the supervisor's judgment, the
respondent’s handling of any matter is unsatisfactory. The supervisor shall support his or her

conclusions by a brief statement of facts and reasons.
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(}) Financial Record Keeping Instructions.During the term of this supervision, the supervisor shall
instruct the respondent as to the proper maintenance of trust and business accounts and
records in accordance with “FC 7/2 and Rule 1:21-6.

{j) Selection of Supervisor. The respondent shall submit the name of a proposed supervisor to the
Director for approval.

(k) Termination of Supervision.After the expiration of time set forth in the order of discipline or
reinstatement imposing the Conditions of Supervision, the respondent shall apply to the
Supreme Court for termination of the conditions on notice to the Director, who shall file a report
and recommendation with the Court.

(I) Failure to Comply. If during the term of the supervision, the Director becomes aware of facts that
should be brought to the Court's attention, such as a respondent’s failure to comply with the
conditions of supervision or a supervisor's failure to comply therewith or a request to be
relieved, the Director shail petition the Court for an appropriate order on notice to the
supervisor and the respondent.

Adopted January 31, 1995 to be effective March 1, 1995; paragraphs (a), (b), (c), (f), (g), (h), (@, @), (K), and
(l) amended July 28, 2004 to be effective September 71, 2004.

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APPENDIX G

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CHAPTER II CONDUCT OF LAWYERS, JUDGES AND COURT PERSONNEL > RULE 1:20
DISCIPLINE OF MEMBERS OF THE BAR > 1:20-15A Final disciplinary determinations; sanctions

1:20-15A

(a) Categories of Discipline. The imposition of final discipline may include any of the following
sanctions, all of which shall be public:

(1) Disbarment. An attorney who is disbarred shall have his or her name permanently stricken
from the roll of attorneys.

(2) Indeterminate Suspension. Unless the Court’s Order provides otherwise, an indeterminate
suspension shall prohibit the attorney from seeking reinstatement for a minimum of five
years.

(3) Term of Suspension. Absent special circumstances, a suspension for a term shall be for a
period that is no less than three months and no more than three years.

(4) Censure.
(5) Reprimand.
(6) Admonition.

(b) Conditions. The Supreme Court’s Order may provide for one or more of the following, either as a
part of a sanction imposed pursuant to paragraph (a) or as a condition to reinstatement:

(1) Financial controls including, but not limited to, a designated co-signatory for all attorney
trust and business account checks;

(2) Restrictions on the ability to practice including, but not limited to, the use of a supervising
attorney approved by the Office of Attorney Ethics as a prerequisite to engaging in the
private practice of law;

(3) Substance abuse control including, but not limited to, requiring abstinence, testing, and an
identifiable commitment to appropriate support groups;

(4) Mental health treatment and counseling, together with a finding of fitness to practice by a
mental health professional approved by the Office of Attorney Ethics;

(5) Taking and passing the New Jersey bar examination, as well as meeting all other
qualifications for admission including, but not limited to, a certification of the attorney’s
good character by the Supreme Court after review by the Committee on Character; and

(6) Such other conditions as may be deemed appropriate in the light of the circumstances
presented including, but not limited to, probation or a suspended suspension.

Adopted July 30, 2002, to be effective September 3, 2002.

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APPENDIX H

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COMMITTEE ON CHARACTER
Appointed by the Supreme Court of New Jersey

REGULATIONS GOVERNING THE COMMITTEE ON CHARACTER
(Approved, as amended, by the Supreme Court, effective May 1, 2022)

PART I - GENERAL REGULATIONS

REGULATION 101. Applicability and Citation of Regulations

101:1 Adoption and Approval. These regulations have been adopted by the Committee on
Character and approved by the Supreme Court pursuant to Rule 1:25.

101:2 Citation. These regulations shall be referred to as "Regulations Governing the Committee

on Character" of the New Jersey Supreme Court and may be cited as, for example, "RG. 102".

REGULATION 102. Membership and Structure

102:1 Appointments. The Supreme Court shall appoint the Committee on Character

(hereinafter known as “the Committee”), which shall consist of such members of the bar as the
Court may determine. Members shall serve for terms of three (3) years and may be reappointed
at the discretion of the Supreme Court. A vacancy shall be filled by the Court for the unexpired
portion of the member's term. A member participating in a matter when his or her term expires

may continue to participate until certification is granted or withheld.
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102:2 Statewide Chair. The Court shall annually designate a member of the Committee to serve
as Statewide Chair. The Statewide Chair shall be the administrative head of the Committee and
the Statewide Panel and shall perform such other duties as are set forth in these Regulations. In
the absence of the Statewide Chair or the Statewide Chair’s inability to serve, the functions of

that position shall be performed by the Part Chair who is senior in service and able to serve.

102:3 Parts and Membership. The Committee shall be divided into such number of Parts as
the Supreme Court may determine with one member of each Part designated as its Chair. Each
Part shall be assigned a specified area. The Statewide Chair may assign members of one Part

temporarily to a different Part or assign files from one Part to another Part.

102:4 Statewide Panel. The Statewide Chair together with the individual Part Chairs shall
comprise the Statewide Panel, which shall be the policy board of the Committee and shall

perform such other duties as are set forth in these Regulations.

a. Quorum. Four (4) members of the Statewide Panel shall constitute a quorum and all
administrative determinations shall be made by a majority of the quorum.

b. Operations. The Statewide Panel shall, consistent with these Regulations, establish
procedures, publish forms, and maintain records as required for the conduct of the Committee's

operations.

102:5 Secretary. The Secretary of the Board of Bar Examiners shall serve as the Secretary to
the Committee. The Secretary shall maintain the files of the Committee and shall be authorized
to receive the Certified Statement, alternatively known as the Character and Fitness
Questionnaire, of each candidate for admission to the bar, together with any other materials the
Committee shall deem relevant. The Secretary shall be responsible for the transmission of the

record to a Committee member for every candidate for admission to the bar in this State.

REGULATION 103. Committee Purpose and Authority

103:1 Purpose. It shall be the purpose and duty of the Committee on Character to determine

the fitness to practice law of each candidate for admission to the Bar of the State of New
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Jersey and thereby to promote the public interest and to protect the integrity of the legal
profession. The Committee shall review the record established pursuant to these Regulations
and shall certify each candidate's fitness to the Supreme Court or shall recommend the

withholding of such certification or admission subject to conditions.

103:2 Authorization. One member may exercise the full jurisdiction and authority of the
Committee as to certification pursuant to RG. 302. The withholding of certification and
admission with conditions shall be in accordance with RG. 303 and RG. 304. Review of the

decisions by RG. 303 hearing panels shall be in accordance with RG. 303 and 304.

103:3 Discretion of Committee. Except as provided by these Regulations, the Committee shall

have complete discretion over its procedures.
PART II - REQUIREMENTS OF CANDIDATES
REGULATION 201. Submissions

201:1 Statement of Candidate. Each candidate shall file a Certified Statement with the
Secretary to the Committee on or before a date set by the Committee. The Certified Statement

shall be in the form prescribed by the Committee.

201:2 References. The Secretary or any member of the Committee before whom an
application is pending may request that the references listed by the candidate in the Certified
Statement supply information on forms prescribed by the Committee. The responses of any
named references are confidential and will not be released to the candidate, except when they

are to be used as evidence pursuant to RG. 303 or RG. 304 of these Regulations.

201:3 Additional Investigation. The Secretary or any member of the Committee may
request information or documentation from candidates and appropriate sources including,
but not limited to, named references, current or former employers, Federal and State
regulators or agencies, other bar jurisdictions or licensing and regulating agencies, law

enforcement agencies, educational institutions, financial institutions, or medical personnel.

201:4 Waivers. Candidates shall submit such written waivers, releases, or consents as the
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Committee may require to enable it to have access to all records involving conduct, past and
present. The candidate’s file will be deemed abandoned if the candidate withdraws or modifies

his or her written waivers, releases, or consents.

201:5 Certification by Candidate. The candidate’s signature on any document, letter or other
communication to the Committee shall constitute a certification that the candidate has read the
documents and has certified to the truthfulness of the contents. The signature is equivalent to and
has the same meaning and effect as the certification language contained in RG. 202:4. If the
candidate is submitting documents as part of an electronic or on-line bar application and
Certified Statement, typing the candidate’s name and/or initials will have the same force and

effect as a signature.
REGULATION 202. Duties of Candidates

202:1 General Duty of Candidate. It shall be the duty of each candidate for admission to the
Bar of the State of New Jersey to disclose all available information requested by the Committee.
Candidates shall be required to demonstrate their fitness to practice law in this State and their
possession of the requisite traits of honesty, integrity, financial responsibility, and

trustworthiness.

202:2 Time Limitation on Candidate Response to the Committee. Each candidate must
diligently pursue his or her certification by the Committee. Candidates must respond in writing
to inquiries and forward requested documentation to the reviewing member or appropriate staff
for the Committee or upload the information to their on-line bar account within thirty (30) days
of the inquiry, unless an extension of time for good cause is requested in writing prior to the

expiration of the thirty (30) days. A grant of an extension shall be for a date certain.

202:3 Failure to Respond in a Timely Manner. In the absence of good cause shown to the
contrary, failure to respond to inquiries by the Committee or to make a timely request for an
extension of time to respond shall result in a declaration that the application for admission of
the candidate has been abandoned. The Secretary of the Board of Bar Examiners shall notify
the candidate in writing at the candidate’s last known address. In no event shall the candidate’s

eligibility terminate sooner than ninety (90) days after the release of the examination results.
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202:4 Continuing duty to disclose. A candidate shall have a continuing duty to disclose
changes that occur with respect to any information given in response to questions in the Certified
Statement until the attorney oath has been administered and admission confirmed by the Board
of Bar Examiners or Committee. All additional information shall be promptly communicated by
the candidate to the Secretary in an amendment to the Certified Statement. The candidate must
provide the following certification language with each update, “I certify that the foregoing
statements by me are true. ] am aware that if any of the foregoing statements made by me are

willfully false, I am subject to punishment.” (R. 1:4-4(b).)

202:5 Failure to cooperate. A candidate's failure or refusal to supply information deemed
relevant by the Committee or otherwise to cooperate with the Committee may be grounds for the
withholding of certification. A candidate’s file will be deemed abandoned if the candidate

withdraws or modifies his or her written waivers, releases, or consents.

202:6 Child support obligations. Each candidate must certify as part of the Certified Statement
that he or she is not the obligor of a child support order, or that the candidate is the obligor of a
child support order but does not owe past-due support and has complied with all health insurance
provisions related to the child, and that the candidate is not the subject of a child-support related
warrant. If the candidate cannot or does not so certify, the candidate shall be ineligible for
consideration for admission to the bar unless the candidate can provide satisfactory proof of an
inability to pay and proof of a history of good faith efforts to pay the support and arrears when
the candidate is able to do so. Upon receiving notification that the candidate cannot be certified
for this reason, the candidate may not seek to reinstate his or her application for one (1) year
from the date of the notification of ineligibility. If the reinstatement request is filed more than
three (3) years after the candidate sat for the bar examination, retaking, and passing the bar
examination shall be a prerequisite for consideration of the application. The Supreme Court may,

for good cause shown, waive the retaking of the examination pursuant to RG. 402:3.

202:7 Student loan obligations. As a part of the Certified Statement, each candidate must
certify the loan number, lender, and the amount of each student loan and that he or she is not in
default of any state, federal, or governmentally guaranteed student loan. If a candidate does not

so certify, or if the candidate does not provide satisfactory proof of inability to pay and that the
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candidate has made good faith efforts to cure the default after having been requested to do so by
the Committee, the candidate shall receive notification that the candidate is ineligible for
consideration for admission. Upon receiving notification that the candidate cannot be certified
for this reason, the candidate may not seek to reinstate his or her application for one (1) year
from the date of the notification of ineligibility. If the reinstatement request is filed more than
three (3) years after the candidate sat for the bar examination, retaking and passing the bar
examination shall be a prerequisite for consideration of the application. The Supreme Court may,

for good cause shown, waive the retaking of the examination pursuant to RG. 402:3.

202:8 Ineligibility due to criminal conduct. A candidate who has yet to complete a custodial
sentence in connection with a criminal offense shall be deemed ineligible for consideration by
the Committee. If the relevant conduct occurred in New Jersey, the Committee shall apply the
laws of New Jersey to determine if it constitutes a criminal offense for the purposes of this
regulation. If the relevant conduct occurred in another state, the Committee may apply either the
laws of that jurisdiction or the laws of New jersey to determine if it constitutes a criminal offense

for the purposes of this regulation.

202:9 Severe misconduct during another state’s bar examination. A candidate who is alleged
to have engaged in severe misconduct on a bar examination in another state shall not be eligible
for consideration in this state until the state in which the severe misconduct occurred has

completed its investigation.

202:10 Petition based on exceptional circumstances. A candidate who is ineligible for
consideration for certification due to child support obligations (RG. 202:6), student loan
obligations (RG. 202:7), criminal conduct (RG. 202:8), or severe misconduct during another
state’s bar examination (RG. 202:9), shall have the right to petition the Statewide Panel fora
waiver of the ineligibility provision based on the demonstration of exceptional circumstances. If
the Statewide Panel grants the petition, the Committee shall conduct a hearing before a RG. 303

Panel to consider the candidate’s current character and fitness to be admitted to practice.
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PART I CERTIFICATION PROCEDURES
REGULATION 301. Investigations

301:1 Investigation assistance. A member of the Committee may request a detailed
investigation of facts and circumstances bearing on a candidate's fitness to practice law. Staff
of the Committee shall, to the extent practicable, provide investigative assistance as needed. The
Secretary may arrange for additional investigation or other assistance from the Administrative

Office of the Courts, or such other agency as may be appropriate.

301:2 Special Master. When, in the discretion of the Statewide Panel, the issues involving the
fitness of a candidate for admission to the bar require extensive interviews or additional
resources, the Panel may apply to the Supreme Court for the appointment of a Special Master to
make findings of fact and recommended conclusions. The report will be submitted to the
Statewide Panel for decision before being forwarded to the Supreme Court. A Special Master
shall conduct the hearings in accordance with the provisions of RG. 303:5. Retired judges may
serve pro bono or, if they are on recall, may be paid at the rate in effect for judges on recall
service. A Special Master may serve pro bono or may be paid the per diem rate in effect for

single arbitrators under Rule 4:21A-5.

302:1 Conduct Requiring Investigation. The appropriate Part of the Committee, or such
member or members thereof so assigned, or the staff of the Committee shall review the
candidate’s Certified Statement-and related documents. If, on such review, further information is
deemed desirable, a request therefore may be made of the candidate or any other appropriate
source. The request may be made in person or by telephone, e-mail, mail, or through the online

system. Conduct requiring additional action may include, but is not limited, to the following:

a. Nondisclosure of information;

b. Academic dishonesty or misconduct;

c. Unlawful conduct, including arrests, whether resulting in conviction, dismissal, or
expungement;

d. Failure to file required federal, state, or local tax returns or to pay tax obligations;

e. Financial misrepresentation, mismanagement, irresponsibility, or neglect;
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f. Default or arrearages in the payment of student loans;

g. Allegations of fraud, perjury, or false swearing;

h. Misconduct in employment;

i. Evidence of moral turpitude;

j. Having been disciplined as a member of a profession, trade or occupation, including but not
limited to the practice of law;

k. Failure to comply with Court orders, such as support and alimony orders;

1. Domestic violence;

m. Abuse of legal process or history of vexatious law suits;

n. Current substance abuse; or

o. Evidence of psychiatric disorders that may affect the candidate’s ability to practice law in a
competent, ethical, or professional manner;

p. Misconduct during a bar examination;

q. Investigation or determination of unauthorized practice of law;

r. The making of false statements or omitting material information in connection with an
application to sit for a bar examination;

s. Denial of admission to the bar in another jurisdiction;

t. Acts which demonstrate disregard for the rights or welfare of others; and

u. Any other conduct or condition which reflects adversely on moral character or fitness of the

candidate to practice law.
302:2 Interview Procedures.

a. A candidate and any other persons with knowledge relevant to the candidate's character and
fitness to practice law may be asked to appear for an informal interview before the member or
members. The interview shall be conducted in private unless the candidate requests otherwise.
The candidate has the right to be represented by counsel. Testimony may be given under oath,
and a verbatim record may be taken at the request of either the Committee or the candidate. Any
member of the Committee is authorized to administer the oath to the candidate and such
witnesses as may appear before the Committee. The Committee shall not be bound by the strict

rules of evidence. Whenever a transcript of the record is ordered, a copy shall be furnished to the

candidate.
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b. Subsequent to the interview, the interviewing Committee member or members, with the
approval of their Part Chair or of the Statewide Chair, may offer the candidate the opportunity to
consent to admission subject to specific conditions. In such cases, the candidate shall be
provided with a stipulation of conditions by consent. All stipulations of conditions by consent
shall include the following: a recommendation that the candidate consider the matter carefully
and that he or she consult with an attorney; and the candidate’s assertion that consent is freely
and voluntarily given, that he or she has not been subjected to coercion or duress, and that he or
she is not under any impairment that would prevent his or her knowing and voluntary consent.
The candidate shall be given thirty (30) days to sign the stipulation. All stipulations of

conditions by consent must be reviewed by the Statewide Panel in accordance with RG. 304:1.

302:3 Determination of Certification. If the Committee determines that a candidate is fit to
practice law, the member or members of the Committee shall so certify the candidate to the

Supreme Court.

302:4 Consequences of failure to certify. Ifa candidate has not been certified by the
Committee at the time the Board of Bar Examiners reports the results of the bar examination,
such results shall not be withheld pending final Committee action. The attorney oath, however,
shall not be administered to any candidate nor shall admission to the bar be given effect prior to
a certification of fitness by the Committee. If a candidate attempts to be sworn in prior to
Committee certification for fitness but completes an oath card and is registered, the matter may

be referred to the Office of Attorney Ethics for review, if appropriate.

302:5 Revocation of Certification. Certification of a candidate may be revoked by the
Commnittee at any time prior to the administration of the oath and/or entry of the information
into the Roll of Attorneys on the receipt of information warranting further review. The

Committee may take further action as it deems appropriate.

REGULATION 303. Part Hearing

303:1 When Held. If a single member of the Committee determines not to certify a candidate

as fit to practice law or desires to have a determination made by a Panel, a hearing shall be
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conducted by three (3) members of the Committee. In the discretion of the assigned member,
the candidate may waive entitlement to a three-member Panel and proceed with a hearing before

the assigned member of the Committee.

303:2 Reasons for a hearing. Reasons for a hearing may include, but are not limited to,

evidence of the conduct specified in RG. 302:1.

If a factual question arises in respect of the candidate's certification pursuant to RG.
202:6 or RG. 202:7, a hearing shall be held. The Panel shall make findings of fact on whether
the candidate is in violation of one or more of the conditions contained in the Regulations. If the
Panel determines that the candidate has failed to meet or comply with one or more of the
conditions of the Regulations, the Panel shall report same for final decision on the candidate's

eligibility for admission pursuant to RG. RG. 304:1.

A determination that the candidate is not currently in violation of the requirements of
RG. 202:6 in respect of child support obligations shall not prohibit the Committee from
inquiring into the impact of past violations of child support orders on the current fitness and

character of the candidate.

303:3 Presumption from Nondisclosure. There shall be a rebuttable presumption that
nondisclosure of a material fact in the Certified Statement is prima facie evidence of the lack of

good character.

a. The presumption shall be the same whether the nondisclosure is discovered prior or
subsequent to the applicant's admission to the bar.
b. The presumption may be rebutted by clear and convincing evidence of mistake or of

rehabilitation and current good character.

303:4 Notice. The hearing shall be conducted on at least seven days’ written notice to the
candidate. The notice shall state the reasons for the hearing. Once notice has been given of
hearing, the candidate and/or candidate’s counsel shall communicate only through designated

Committee staff and not directly with the hearing panel or the Statewide Panel.
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303:5 Procedures. A candidate has the right to be represented by counsel, to present witnesses,
and to cross-examine witnesses. The hearing shall be conducted in private. The Panel shall
have the sole discretion to determine who may be present in the hearing room and whether to
sequester witnesses. All testimony shall be given under oath. Any member of the Committee is
authorized to administer oaths to the candidate and such witnesses as may appear before the
Committee. Testimony and written documentation need not be presented in strict accordance
with the rules of evidence. A verbatim record may be made at the request of either the
candidate or the Committee. Whenever a transcript of the record is ordered by the Committee, a
copy shall be furnished to the candidate. The Committee may issue subpoenas in the same

manner as provided by Rule 1:20-7(i).

303:6 Burden of Proof. The candidate shall have the burden to establish by clear and
convincing evidence his or her good character and current fitness to be admitted to the practice

of law in this State. Among the factors the Committee shall take into consideration are the:

a. Severity of the conduct;

b. Cumulative nature of the conduct;

c. Candidate's candor and honesty before the Panel;

d. Age of the candidate at the time of the alleged misconduct; and

e. Any rehabilitation evidence presented by the candidate.

303:7 Rehabilitation Evidence. The candidate may present rehabilitation evidence including,

but not limited to:

a. Positive social conduct and community service;

b. Absence of recent misconduct;

c. Reputation testimony;

d. Demonstration of the candidate's understanding of responsibility to the administration of

justice and the practice of law.

Substance abuse or mental illness may not be considered a defense or justification for
misconduct, but evidence of treatment and recovery may be offered to support a claim of

rehabilitation.
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303:8 Determination; Report and Recommendations.

On the conclusion of the hearing, if the evidence adduced clearly and convincingly
demonstrates that the matter could have been resolved appropriately through the informal
interview process set forth in RG. 302, the Panel may certify the candidate pursuant to RG.
302:3. The vote of each member shall be expressly noted. Any Panel member who does not

join in the report may prepare a separate report.

a. Ifthe Panel determines that the candidate can be admitted subject to specific
conditions, the pane] may offer the candidate the opportunity to consent to admission subject to
those conditions. In such cases, the Panel shall not issue a report. The candidate shall be
provided with a stipulation of conditions by consent. All stipulations of conditions by consent
shall include the following: a recommendation that the candidate consider the matter carefully
and that he or she consult with an attorney; and the candidate’s assertion that his or her consent
is freely and voluntarily given, that he or she has not been subjected to coercion or duress, and
that he or she is not under any impairment that would prevent his or her knowing and voluntary
consent. The candidate shall be given thirty (30) days to sign the stipulation. All stipulations
of conditions by consent must be reviewed by the Statewide Panel in accordance with RG.

304:1.

b. Ifthe Panel determines to certify the candidate, it shall file a report with the Secretary

and the Statewide Panel. A copy shall be sent forthwith to the candidate.

c. If the Panel determines to recommend that certification be withheld, it shall file a
report with the Secretary and the Statewide Panel. A copy shall be sent forthwith to the
candidate. Reasons for withholding certifications may include, but need not be limited to, the

criteria listed in RG. 302:1.

d. In cases in which the Panel determines that inappropriate conduct has resulted from
substance abuse, mental illness, psychological disorder, or such other grounds as the Committee,
with good cause, may determine, or when the candidate has been treated for substance abuse or
bipolar disorder, schizophrenia, paranoia, or other psychotic disease substance abuse, bipolar

disorder, schizophrenia, paranoia, or other psychotic disease within the twelve months preceding
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the submission of the Statement, the Panel may recommend certification subject to conditions. If
the Panel determines to certify with conditions, it shall file a report with the Secretary and the

Statewide Panel. A copy shall be sent forthwith to the candidate.

REGULATION 304. Review of RG 303 Hearing Reports and Recommendations and

Stipulations of Conditions by Consent.
304:1 Review by Statewide Panel.

The Statewide Panel shall review every report and recommendation made by a Hearing
Panel pursuant to RG. 303. The Statewide Panel also shall review all stipulations of conditions

by consent. The Statewide Panel shall have plenary powers to:

a. Approve the recommendations of the RG. 303 Hearing Panel;

b. Modify the recommendation, including recommending, rejecting, or modifying proposed
conditions;

c. Recommend the withholding of certification;

d. Approve a stipulation of conditions by consent, after which the candidate may be certified for
admission with conditions without further review by the Supreme Court;

e. Reject a stipulation of conditions by consent, after which the matter will be referred for further
proceedings in accordance with the directions of the Chair of the Statewide Panel;

f. Modify the conditions in any stipulation of conditions by consent and offer the candidate the
opportunity to consent to the conditions as modified. The candidate shall be given thirty (30)
days to sign the stipulation. If the candidate does not consent to the conditions as modified, the
matter will be referred for further proceedings in accordance with the directions of the Chair of
the Statewide Panel; or

g. Remand the matter to the Hearing Panel for further proceedings.

The Statewide Panel shall take final action on a stipulation of conditions by consent in
accordance with d., e. or f. above within thirty (30) days of the date the candidate signs the
stipulation. With the exception of actions taken regarding stipulations of conditions by consent,
the Statewide Panel shall file its report and recommendation with the Secretary who shall refer

the report to the Supreme Court for final approval pursuant to RG. 304:2. A copy shall be sent
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forthwith to the candidate. If the Statewide Panel's recommendation is to withhold certification,
or to certify with conditions, the candidate shall have fifteen (15) days from the filing date of the
report within which to submit an original plus eight (8) copies of written exceptions to the
Supreme Court on the papers submitted unless the Court directs additional filings or oral
argument. The decision of the Supreme Court shall be transmitted by the Clerk of the Supreme

Court to the candidate and to the Committee.

304:2 Determination by Supreme Court. The Supreme Court shall make the final
determination on the papers submitted unless the Court directs additional filings or oral

argument.

304:3 Request to Reopen. Following a final decision to withhold certification, which is a
denial of admission, a candidate may reapply for admission when the candidate can
demonstrate clear and convincing evidence of rehabilitation and current fitness to practice
law, but no earlier than one (1) year from the date of the final decision or as otherwise
provided in the order of the Supreme Court. The Supreme Court may require a candidate
seeking to reopen his or her application to retake the bar examination if the examination on
which admission would otherwise be based occurred more than three (3) years prior to the

date the candidate is eligible to reapply for admission.

a. The candidate shall submit an original verified petition and eight (8) copies with appropriate
supporting documentation attesting to the candidate’s rehabilitation and current fitness to
practice law as the request to reopen. If the petition is granted, the candidate must submit
another four (4) copies of the petition with appropriate supporting documentation for use by the
hearing panel convened for this purpose.

b. The State Chair or, in the event of the Chair's unavailability, the most senior Part Chair shall
appoint a panel of three (3) members to review the petition and make a recommendation on the

petition to the Supreme Court.

1. The panel may appoint a member of the Committee to investigate and report on the

candidate's petition.

2. The record before the panel shall consist of the candidate's existing file, the verified
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petition and supporting documentation together with such additional evidence as may be

considered by the panel in its discretion.
3. The panel may, in its discretion, take testimony or hear oral argument on the petition.

4. The panel shall prepare and forward a report and recommendation to the Supreme

Court for appropriate action.

A candidate who has been deemed ineligible for consideration for admission because of
his or her failure to meet the conditions set forth in RG. 202:6 (Child Support Obligations) may
apply to reopen in accordance with these Regulations and on the submission of satisfactory proof

of his or her compliance with all child support orders.

A candidate who has been deemed ineligible for consideration for admission because of
his or her failure to meet the conditions set forth in RG. 202:7 (Student Loan Obligations) may
apply to reopen in accordance these Regulations and on submission of satisfactory proof that

the candidate has made satisfactory arrangements for the repayment of each defaulted loan.
304:4 Withdrawal of Application; Reinstatement.

a. A candidate may withdraw his or her application at any time prior to the submission to the
Statewide Panel of the RG 303 report and recommendation or an executed Stipulation of
Conditions by Consent. Failure to give the Committee written notice of the withdrawal in a
timely manner will result in the matter proceeding to disposition before the Supreme Court
pursuant to RG. 304:2.

b. A candidate who withdraws may not seek to reinstate his or her application for one (1) year
from the date of withdrawal. If the reinstatement request is filed more than three (3) years after
the candidate sat for the bar examination, retaking and passing the examination shall be a
prerequisite for consideration of the application. The Supreme Court may, for good cause shown,
waive the retaking of the examination.

c. A candidate who successfully reinstates his or her application must submit a current Certified
Statement and updated attachments and be fingerprinted again. The record before the reviewing

RG. 303 Panel will consist of the original file, including but not limited to all transcripts,
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exhibits, briefs, and reports, supplemented as may be appropriate by testimony and exhibits
presented to the Panel. To the extent feasible, the Statewide Chair will appoint the original Panel

members to consider the renewed application.
304:5 Petitions for Termination from Conditions.

a. Ifthe Court grants conditional admission to a candidate, the conditionally admitted
attorney must comply with the terms of the Order and file quarterly certifications as directed by

the Committee.

:

b. A lst of conditionally admitted lawvers shal! be transmitted each month io the Office
of Attorney Ethics. In the event a complaint of unethical conduct is filed against the
conditionally admitted lawver or there is a violation of the Order of conditional admission. the
Committee's file may be transmitied to the Office of Attorney Ethics upon the request of that

Office,

c, The terms of the condiuonal admission shall remain in place unul subsequent Order of

the Court modifving or terminating the conditional admission.

d. Any candidate seeking to terminate the conditions of his or her canditional admission
at the end of the period set forth in the Order shall cause to be filed an original and eight (8)

copies of a petition that shall be reviewed bv the Statewide Panel.

After review of the petition. the Statewide Panei shall recommend action to terminate.

modify. or extend canditions of admission and the Court shall review same and issue an Order:

2. Ifthe Statewide Panel deems it necessarv to take testimony from the conditionally
admutted attorney. the Chair of the Statewide Panel may appoint a panel consisting of three (3)
members of the Statewide Panel io conduct such hearing and issue a report that shall be reviewed

°

bv the Court.

3. The Statewide Panel or any subpanel may require the conditionally admitted attorney

to obtain an evaluation or provide further information before making is determination. Failure to
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comply with the requests of the Committee may cause the file to be transmitted to the Office of

Attorney Ethics for review.
REGULATION 305. Revocation of Certification

305:1 Revocation of prior certification. When the Committee receives information that is
unfavorable or otherwise requires the attention of the Committee in respect of a previously
certified candidate whose name has not been entered on the Roll of Attorneys, the original
certification shall be revoked and, whenever possible, the candidate's file shall be forwarded for
review to the member who previously granted certification. If the member is no longer on the
Committee, the Part Chair or his or her designee will review the matter. This section shall apply
whether the information is obtained from the candidate as required by RG. 202 or from a third
party. Ifthe information is received after the attorney’s name has been entered on the Roll of
Attorneys and the Committee deems the information significant, the matter will be referred to the

Office of Attorney Ethics for review.
PART IV - COMMITTEE RECORDS
REGULATION 401. Confidentiality; Retention

401:1 Confidentiality. All Certified Statements, reference letters, records, files, proceedings
and reports of the Committee shall be confidential and shall not be disclosed or attended by

anyone except as authorized by these rules or as provided by the Supreme Court and as follows:

a. At the request of or with the consent of the candidate in which event the Certified Statement
may be released; or

b. At the request of the New Jersey Office of Attorney Ethics, the Disciplinary Review Board, or
the Committee on the Unauthorized Practice of Law in connection with the consideration and
determination of the appropriate sanctions that should be imposed on an attorney who has
engaged in unethical conduct; or

c. At the request of a jurisdiction to which the candidate has applied for admission to the bar; or

d. By order of the Supreme Court, on notice to the candidate unless the Court otherwise orders.
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401:2 Retention. Certified Statements, letters from candidate’s references, and other relevant
documents shall be retained as established by the Records Retention Schedule of the Supreme
Court Clerk’s Office. All Committee records may be electronically stored after one (1) year

and the originals thereupon destroyed.
REGULATION 402. Miscellaneous Procedures

402:1 Committee on Character and Staff Immunity. Members of the Committee and their
staff, Committee staff, and lawfully appointed designees shall be absolutely immune from
liability, whether legal or equitable in nature, for any action or omission in the performances of

their official duties.

402:2 Third-Party Immunity. Persons disclosing information in good faith to the Committee
and persons supplying information to the Committee pursuant to an authorization and release
executed by the candidate shall be absolutely immune from liability, whether legal or equitable

in nature.

402:3 Validity of bar examination results. The results of a New Jersey bar examination shall
be valid for three (3) years from the date the exam was administered. Uniform Bar Examination
results also are valid for three (3) years from the date the applicant sat for the examination for

which the qualifying score was attained. The Supreme Court may, for good cause shown, waive

the retaking of the examination after review of a petition filed by the candidate.

REGULATION 501. Time Goals

501:1 Effect of Goals. The time goals articulated in this rule shall guide the processing of
matters pending with the Committee on Character. The time periods herein prescribed are not

binding on the Committee, nor shall they serve as a bar or defense in any character proceeding.

501:2 Initial Review. The Committee on Character shall make the candidate’s file available to
the reviewing attorney expeditiously, and the reviewing attorney shall endeavor to complete the

initial review of each assigned candidate file within thirty days of the date on which the file is
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made available.

501:3 Priority of Completed Applications; Communicating Deficiencies of Incomplete
Applications. The reviewing attorney shall endeavor to review all completed applications and
certify all candidates with completed applications who demonstrate character and fitness in
accordance with Rule 1:25 and Rule 1:27-1(a)(2) within sixty days of the date on which the
Committee made the file available. Within sixty days of the date on which the Committee made
. the file available, the reviewing attorney shall endeavor to communicate to any candidate with an
incomplete application the deficiencies of the application. Any communication noting an
incomplete application shall provide a deadline (generally thirty days) by which the candidate

must cure the deficiencies.

501:4 Abandonment of File. If the candidate does not timely respond to a reviewing attorney’s
request to cure deficiencies, and fails to respond to limited follow-up inquiries providing
additional opportunities to cure, the Committee shall proceed to have the application deemed
abandoned, consistent with RG 202:3. A candidate whose file has been abandoned for failure to
respond to inquiries may not have the file reinstated or seek admission for one year from the date
that the Committee declares the application abandoned. If a candidate is unable to timely cure
deficiencies, the candidate may avoid abandonment by documenting the effort made to comply

with the request and provide the status of the outstanding submissions.

501:5 Timing of Evaluations. If the Committee refers a candidate for a substance abuse/mental
health evaluation, the candidate shall endeavor to schedule and participate in such an evaluation
within forty-five days of being notified of the need for such an evaluation. The evaluator shall
endeavor to furnish a completed evaluation to the reviewing attorney as expeditiously as

possible.

501:6 Hearings. Whenever possible, the Committee shall endeavor to schedule a hearing
pursuant to RG 303 within sixty days of the reviewing attorney’s determination that a hearing is

required and the file is sufficiently complete to proceed.
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501:7 Reports. The RG 303 panel shall endeavor to complete the RG 303 report within ninety
days following the RG 303 hearing, or, if additional documents are requested at the hearing or

post-hearing, within ninety days of the panel’s receipt of those documents from the candidate.
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APPENDIX I

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~haracter & Fitness Questionnaire

iECTION 1 - IDENTIFICATION
i - General Information

This Questionnaire must be submitted on-line, according to the fee schedule and deadlines. Do NOT send a paper copy to
the Board of Bar Examiners.

All supporting documentation required by each section of the Character and Fitness Questionnaire must be uploaded to your
User Home Page. Note: Prior to uploading all supplemental document(s), YOU must redact your Social Security
number from the document(s). It is YOUR responsibility to ensure this information is not included. Pay
attention to the time limits in each section, as the time periods may vary for certain kinds of records. Older documents may
be required based on the nature and severity of the underlying matter in the discretion of the Committee. If no time limit is
specified, all documents must be provided. The upload feature will become available AFTER this questionnaire is submitted
and will be located on the lower right hand side of your User Home Page. Detailed upload instructions are listed below. If you
are not in possession of any documentation required by the Character and Fitness Questionnaire, you must make a diligent
effort to obtain these documents by submitting written requests to the relevant agencies, and uploading these requests
through your User Home Page. If the required documents are unavailable, you must obtain and upload written
correspondence from the agency, on agency letterhead, indicating that the records are unavailable or do not exist.

To avoid delays in the Character and Fitness Questionnaire review process, supplemental documents must be uploaded by
January 15 for a February exam, June 15 for a July exam, or within 30 days for In-House Counsel applicants, or within 60
days for UBE or Motion applicants.

You should continue to upload documents as you receive them, and timely amend your Questionnaire as changes occur.

Certification Requirements

If additional space is required to answer any of the questions in the Questionnaire, upload a separate document clearly
identifying the Section Number and the question for which additional information is being provided. One document may
contain additional information for multiple sections/questions. Please make sure to date the document, and include
certification language before your signature: "I certify that the foregoing statements made by me are true. Iam aware that if
any of the foregoing statements made by me are false, I am subject to punishment [R. 1:4-4(b)]."

To upload supplemental documentation or narratives

1. YOU ARE NOT ABLE TO UPLOAD ANY ITEMS UNTIL YOU HAVE COMPLETED AND SUBMITTED THE CHARACTER AND
FITNESS QUESTIONNAIRE (THIS DOCUMENT).

2. Once you have completed and submitted the Character and Fitness Questionnaire, an "upload" feature will activate on
your User Home Page. Note: Prior to uploading all supplemental document(s), YOU must redact your Social
Security number from the document(s). It is YOUR responsibility to ensure this information is not included.

3. Prepare any documentation that you plan to upload. Only PDF documents will be accepted for uploads, all other file types
will be discarded. Be sure that the files have been scanned without any encryption or password protection.

4. To access the upload feature, log into your user account on our website, www.njbarexams.org.

5, Click the red "Upload New Document" button on the right side of your User Home Page, under the "Uploaded Documents"

header.

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6. Enter the Title and Description of your document.

7. Click "Choose File" and navigate to document and select "Open" and then "Upload Document".

8. You will receive an on screen confirmation that your document has successfully uploaded to the server.

9. After upload, all documents that you have submitted are viewable from your User Home Page. To access, click the red
"user home" fink. Scroll to the "Uploaded Documents" section. Click the file name that you entered while uploading the

document. The date to the right of the file name is the date the document was uploaded.

10. Retain the original documents in your records. You must be able to supply them upon request.

To amend/correct your Character and Fitness Questionnaire

1. Visit your User Home Page by logging into your account on our website, www.njbarexams,org,

2. At the top of the Current Application column, click the red "amend application” button, then confirm that you wish to
amend.

3. Scroll down to Forms and Progress, and click "Amend" next to Character and Fitness Questionnaire.

4. Navigate to the appropriate sections, and complete/correct your response.

5. Be sure to return to your User Home Page and click the green “submit amendments" button. Your amendment will NOT be
viewable to office staff and is NOT considered submitted until you click this button to submit.

'- Personal Information

Please enter your personal information.

All processing will be done on the basis of your full legal name; therefore, all records will be maintained and certification(s)
issued in your full legal name. Please include your middle name if you have one.

Full LEGAL name [First, Middle, Last, Suffix (Jr, III)] John Smith
By what name are you usually called?

Date of birth January 10, 1961
Birth City

Birth State

Birth Country

Have you EVER been known by another name other than a nickname (e.g. maiden name)?

List each name used, or by which you have at any time been known, and the dates that name was used.

Note: If your name was changed by court order, give the name and location of the court issuing the order and the date of
the order. You must upload a copy of the court order to your User Home Page after submitting the Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Other Name Used
From Mo/Yr
To Mo/Yr

Reason name was used

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, ~ Citizenship
Are you a citizen of the United States?
Please state the country of which you are a citizen

If you are not a citizen of the United States, have you applied for naturalization? Upload a copy of your US
Citizenship and Immigration Services (USCIS) issued documents as well as your current passport through your User
Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading

documents are available in Section 14 of this Questionnaire.
When do you expect to become a naturalized citizen?

Describe your immigration status

Do you have an alien registration number?

Provide your alien registration number

Upload a copy of your resident alien card through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions to upload documents are available in Section 1A of this Questionnaire.

Upload a copy of your U.S, Citizenship and Immigration Services (USCIS) issued documents through your User Home Page,
after you have submitted this Character and Fitness Questionnaire online. Detailed instructions for uploading documents are
available in Section 1A of this Questionnaire.

ECTION 2 - ADDRESSES

.~ Current Addresses

Address 1 3855 Lake Clearwater Place
Address 2 Apt. 222
City California
State Florida
Zip 90210
County Marion
Province

Country United States of America

NOTE: If you have a New Jersey State address and the County field is blank, click on Edit Personal Info in the upper right
hand corner of your User Home Page. Be sure to hit the "Update" button on the bottom of the page when making any
changes to your User Home Page.

'~ Address History

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List each address at which you have resided in the past 10 years in chronological order, beginning with your current
address. List all addresses, including college, law school, summer, and any other temporary residence. If you resided in
school dormitory housing, you do not have to designate the specific dormitory, but need to provide the other required

information.
Address 1
Address 2
City

State

Zip

Country
From

To

iECTION 3 - EDUCATION

i+ High School / Secondary School

Include all education starting with high school, including study abroad and non-degree education, but not CLE.

School Name
City
State
Zip
From
To
1« College or University
School Name
City
State
Zip
From

To

Degree (e.g.. BS, BA, etc.)

Date Awarded

School or Program of Study

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‘~ Law School

Did you (or do you expect to) receive a Juris Doctor from an ABA approved law school before the examination for
which you are applying? This requirement must be met if you wish to sit for the New Jersey bar examination. If you
do not meet this requirement and still apply for the examination, you will not receive a refund. Bar examination
applicants are required to submit a Law School Certificate from EVERY law school ever attended.

Name of Law School
Non-ABA Law School
City
State
Zip
From
To
Attended
Degree
Date Awarded
Have you attended any other law schools from which you did not receive a Juris Doctor?
Name of Law School
City
State
Zip
From
To
Attended
Degree
Date Awarded
1- Probation, Discipline or Leaves of Absence (after high school graduation)

After high school graduation, have you been placed on academic probation, suspended, expelled, taken a leave of
absence or had an interruption in your education for academic or personal reasons, been asked to leave school, or
asked to resign or permitted to withdraw?

If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
regarding the incident. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. If the
school no longer has any documentation, obtain a letter from the school stating such.
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Details of incident

Which school does this pertain to?
Name of School
Date of incident or leave

After high school graduation, have you been disciplined, reprimanded, suspended, placed on probation, expelled,
asked to resign, or permitted to withdraw from any educational institution for other than academic reasons including
but not limited to housing violations, warnings, any step in progressive discipline, student code of conduct or honor

code violations?

If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
regarding the incident. Detailed instructions to upload documents are available in Section 1A of this Questionnaire. If the
school no longer has any documentation, obtain a letter from the school stating such.

Provide details of each incident. If additional space is required, upload a certification to supplement your response. Detailed
instructions are available in Section 1A of this Questionnaire.

Which school does this pertain to?
Name of School
Date of Incident

Since high school graduation, have you been the subject of a formal or informal disciplinary procedure, honor code
charge, and/or student conduct code charge that was not disclosed above, regardless of the disposition of the
charges? NOTE: The acceptance of a lower grade or F to resolve the matter, the imposition of community service or
other requirements or sanctions IS considered Informal Discipline. Accepting resolution in lieu of a

hearing IS considered Informal Discipline.

If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
regarding the incident. Detailed instructions to upload documents are available in Section 1A of this Questionnaire. If the
school no longer has any documentation, obtain a letter from the schoo! stating such.

Provide details of each incident. If additional space is required, upload a certification to supplement your response. Detailed
instructions are available in Section 1A of this Questionnaire.

Which school does this pertain to?
Name of school
Date of incident

Since entering college, have you ever been approached or confronted, in person or in writing, including e-mail, by a
professor, instructor, teacher, dean, or other member of the academic community concerning excessive absences,
fluctuations in grades, or failure to complete assignments or any behavior or misconduct not disclosed above?

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If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
regarding the incident. Detailed instructions to upload documents are available in Section 1A of this Questionnaire. If the
school no longer has any documentation, obtain a letter from the school stating such.

Provide details of each incident. If additional space is required, upload a certification to supplement your response. Detailed
instructions are available in Section 1A of this Questionnaire.

What school does this pertain to?
Name of School

Date of Incident

If you answered "yes" to any of the questions above, you are required to request that your school send your academic and
disciplinary records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all
documentation through your User Home Page after you have submitted this Character and Fitness Questionnaire on-line.
Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

ECTION 4 - EMPLOYMENT AND BUSINESS VENTURES

i= Employment History

Please list your employment status for the past ten years (or since your 18th birthday if you are under 28 years of age) in
chronological order, beginning with your most recent employment or unemployment status. If you were unemployed,
including during periods of schooling, enter "Unemployed" as the employer and enter the reason you were unemployed (for
example - attending law school) under "Reason Employment Ended”. You must address all gaps in employment. You
must timely update the questionnaire when current employment ends.

NOTE: YOU MUST INCLUDE ALL TEMPORARY AND/OR PART-TIME WORK, INCLUDING CLINICS, INTERNSHIPS
or EXTERNSHIPS WHETHER PAID OR UNPAID.

Indicate and describe any self-employment in detail.

If you are unable to recall or obtain a supervisor's name or a company address after having made reasonable effort to do so,
write "Unable to recall." You may be contacted for additional information and to take further action.

Please remember, it is your continuing duty to update this questionnaire as your employment status changes
in any way after submission.

Company or Firm
Address 1
Address 2

City

State

Zip

Phone Number

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Position Held

Supervisor's Name

Supervisor's Prefix

Supervisor's Job Title

Supervisor/Employer E-mail (enter N/A if unavailable)
Full time, part time or N/A

Employment Start Date

Are you still employed with this employer?
(If CURRENTLY employed, please select Yes for this answer)

Seemann eratanmnrtnstemarenvtenetntnnastee {tne Face Soy § Tap ae en er nN nt tent Te coda a ann Ae

Employment End Date

Reason Employment Ended

}- Discharge / Charges

Have you EVER been discharged from any employment or requested or permitted to resign in lieu of disciplinary
action or in lieu of criminal charges being filed against you?

For each instance, provide details and a full factual narrative describing the date and the entire circumstances in the space
provided. If additional space is required, upload a certification to supplement your response. Detailed instructions are
available in Section 1A of this Questionnaire. If the employer was not an individual, state the name and title of your
supervisor. In addition, you are required to upload all documentation regarding the discharge.

Date of discharge or resignation

Provide an explanation of circumstances of discharge or resignation

Name of Employer

Name and Title of Supervisor
Supervisor/Employer E-mail
Address 1

Address 2

City

State

ZIP Code

In connection with your employment, have you EVER been subject to any formal or informal charges of improper
behavior that had any part in your quitting, being permitted to resign, being discharged or resulting in a suspension,
demotion or loss of pay?
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For each instance, provide details and a full factual narrative describing the incident, including the date and circumstances, in
the space provided. If additional space is required, upload a certification to supplement your response. Detailed instructions
are available in Section 1A of this Questionnaire. In addition, you are also required to upload all documentation regarding the
charges.

Date of charge

Circumstances of charge

Name of Employer

Name and Title of Supervisor
Supervisor/Employer E-mail
Address 1

Address 2

City

State

ZIP Code

Have you EVER been approached or confronted by an employer, supervisor, or colleague concerning excessive
absences or lateness, lack of diligence, failure to maintain confidential material, or employment-related misconduct
or deficiency?

For each instance, provide details and a full factual narrative describing the incident, including the date and circumstances, in
the space provided. If additional space is required, upload a certification to supplement your response. Detailed instructions
are available in Section 1A of this Questionnaire. In addition, you are required to upload all documentation regarding the

issues.
Date of misconduct or deficiency

Circumstances of misconduct or deficiency

Name of Employer

Name and Title of Supervisor
Supervisor/Employer E-mail
Address 1

Address 2

City

State

ZIP Code

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Have you EVER applied for a position that required proof of good character and had that application denied for
reasons involving your background or character, or in which you withdrew that application after questions about your
character arose?

For each instance, provide details and a full factual narrative describing the incident, including the date and circumstances, in
the space provided. If additional space is required, upload a certification to supplement your response. Detailed instructions
are available in Section 1A of this Questionnaire. You are also required to upload all documentation regarding the denial or

withdrawal.
Date of denial or withdrawal

Circumstances of denial or withdrawal

Name of Employer
Employer Contact Person
Address 1

Address 2

City

State

ZIP Code

Have you EVER applied for a position that required a pre-employment drug test and had that application denied
because you failed the test?

For each instance, provide details as well as a full factual narrative describing the incident, including the date and
circumstances, in the space provided. You are also required to upload all documentation regarding the test.

Date of application denial

Circumstances of application denial

Name of Employer
Employer Contact Person
Supervisor/Employer E-mail
Address 1
Address 2
City
State
ZIP Code

- BUSINESS VENTURES

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Have you EVER been involved in a business venture, including but not limited to corporations, partnerships, limited
liability companies, general associations or trusts, in which you have been an officer, director, manager, trustee, or
had any financial interest in the business venture?

If you answered "yes" to the question name each business entity and your exact involvement with the entity and the current
status of the business entity.

In the space provided, you are required to provide details, and a description of your interest in the business. In addition, you
are required to upload documentation regarding the formation of this business venture and proof that the business is in good
standing with its requirements. If the venture is no longer active, you are required to upload a copy of the dissolution

paperwork. These documents must be uploaded through your User Home Page, after you have submitted this Character and
Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Name of Business Venture
Business E-mail

Phone

Address 1

Address 2

City

State

ZIP Code

Country

Your position/involvement
Start date of your involvement
Are you still involved with the business venture?
Date involvement ended

Reason involvement ended

ECTION 5 - ARMED FORCES SERVICES
.~ Armed Forces
Have you EVER served in any of the armed forces of the United States?

If you answered "yes" to this question, you are required to state the branch of service, dates of each period of active service,
rank, serial number and your last commanding officer.

Branch of Service

Start Date
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End Date

Highest Rank Achieved

Serial Number or EDIPI (Electronic Data Interchange Personal Identifier)
Your Last Commanding Officer

Are separated from the Service?

If you answered "yes" to this question, you are required to upload a copy of discharge or separation papers (DD form 214)
through your User Home Page after you have submitted this Character and Fitness Questionnaire on-line. Detailed
instructions for uploading documents are available in Section 1A of this Questionnaire.

Nature of Separation
Type of Discharge

Were any courts martial, Article 15 proceedings, or administrative discharge proceedings lodged against you during
your period of service?

If you answered "yes" to this question, you are required to provide details of the charge, nature of proceedings and
disposition. Upload all relevant documents, including the disposition, and any explanations that do not fit in the space
provided, through your User Home Page, after you have submitted this Character and Fitness Questionnaire on-line. Detailed
instructions for uploading documents are available in Section 1A of this Questionnaire. In addition, you must request that a
copy of your entire military and disciplinary file be sent DIRECTLY to the New Jersey Board of Bar Examiners.

Charge
Nature of Proceedings
Disposition
ECTION 6 - LICENSES
i~ Other Professional / Occupational Licenses

Have you EVER held, or do you currently hold, any professional, occupational, or business license in any jurisdiction,
other than as an attorney at law? Sample licenses which require a "yes" answer to this question include, but are not
limited to: Teaching, Nursing, Insurance and Banking and FINRA licenses, Notary Public, US Patent Agent, Realtor

and EMS.

If you answered "yes" to this question, you are required to upload proof of the current status of your license, and if you still
hold the license, provide a Certificate of Good Standing through your User Home Page, after you have submitted this
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this

Questionnaire.

If you have additional information to supply for this question, upload the explanation and/or documents through your User
Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents
are available in Section 1A of this Questionnaire.

Date of Application
License Applied For:

Name of Authority
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Authority Information
Address i

Address 2

City

State

Zip

License Number

Did you take the exam?
Date of Examination, If Any
Exam Result

Have you ever voluntarily surrendered or been asked to surrender such a license?

Reason for surrender

Have you allowed the license to lapse?

Explain when and why

i+ Discipline

Have you EVER been disciplined as a member of any licensed profession or occupation (except law), including, but
not limited to, being suspended from practice, reprimanded, censured, disqualified, revoked, permitted to resign,
admonished, sanctioned or removed, or have any complaints or charges, formal or informal, ever been made or filed
or proceedings instituted against you in such capacity?

If you answered "yes" to this question, you are required to provide all details, including a factual narrative with a detailed
explanation of the circumstances surrounding the discipline and request that a copy of your entire disciplinary file be sent
DIRECTLY to the New Jersey Board of Bar Examiners. You must ALSO upload any and all documentation regarding the
discipline. All documents must be uploaded through your User Home Page, after you have submitted this Character and
Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

NOTE: This section does not pertain to conduct in the legal profession - see Section 15.
Date of incident

Explanation

Exact Charges

Disposition of the matter

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Name and compiete address of the authority in possession of the records thereof
Name of authority

Address 1

Address 2

City

State

Zip

Have you EVER held a professional or occupational license (except law), that was administratively suspended or
revoked (e.g., for failure to pay required fees or failure to complete required courses)?

If you answered "yes" to this question, you are required to provide all details, including a factual narrative with a detailed
explanation of the circumstances surrounding the suspension or revocation and upload documentation, including petitions for
relief and reinstatement, if applicable. All documents must be uploaded through your User Home Page, after you have
submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
section 1A of this Questionnaire.

This section does not pertain to conduct in the legal profession - see Section 15.
Date of incident

Explanation
Disposition of the matter

Name and complete address of the authority in possession of the records thereof

Name of authority

Address 1

Address 2

City

State

zip

Have you EVER filed an application for a professional, occupational, or business license or certificate that was

denied, that was withdrawn by you after questions about your character or qualifications arose, or that otherwise
was unfavorably acted on by the licensing authority?
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If you answered "yes" to this question, you are required to provide all details, including a factual narrative with a detailed
explanation of the circumstances and upload all documentation regarding this denial, withdrawal or otherwise unfavorable
decision. Documents must be uploaded through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Nature of Application

Date denied, withdrawn, or otherwise unfavorably acted on
Name and complete address of the relevant authority
Name of authority
Address 1
Address 2
City
State
Zip
‘ECTION 7 - OFFICIAL POSITIONS AND PUBLIC OFFICES
i - Official Positions
Have you EVER been appointed or elected to a federal, state, county, or municipal office or position?

Law clerk positions should be listed under Section 4 - Employment and applicants holding a notary license should list this
under Section 6 - Licenses.

State the following for each office or position held.
Position or office

Dates From

Date to

Name of authority

Address 1

Address 2

City

State

zip

~ Discipline

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Have you EVER been dismissed, discharged, reprimanded, censured, requested or permitted to resign in lieu of
disciplinary action or potential disciplinary action, removed from office or otherwise disciplined as a hoider of an
official position or public office?

If you answered "yes" to this question, you're required to provide the details of the discipline, including the dates, the facts,
the exact charges, the disposition of the matter and the name and address of the party in possession of the record and to
upload any additional information or documentation through your User Home Page, after you have submitted this Character
and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
Questionnaire.

Date of filing

Explanation

Charges

Disposition of the matter

Provide the name and address of the party in possession of the record.
Name
Address 1
Address 2
City
State _
Zip
ECTION 8 - LEGAL PROCEEDINGS

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You are required to disclose ALL proceedings in which you have EVER been a party and provide full details of the nature of
the proceeding on a separate attachment, including narrative of facts, dates, charges, case numbers, name and location of
court, if any, references to court records, facts and disposition.

For each civil or administrative proceeding resolved within the last ten (10) years, provide a copy of the complaint, petition,
answer, and settlement document or final judgment, decision or Order.

For each criminal proceeding resolved within the last ten (10) years, provide narrative police reports, charging documents,
judgment of conviction or certificate of disposition, and a pre-sentence report, if any.

It is YOUR responsibility to obtain and submit the appropriate records. If the appropriate records are not available or are no
longer in existence (after having made a reasonable effort to obtain them), provide a letter on the agency's letterhead,

stating that the records are not available or are no longer in existence.

All documents must be provided for each incident/ proceeding resolved within the last ten (10) years, even if
the incident occurred /proceeding began more than 10 years ago. You must submit a full and detailed
narrative in addition to the records provided. Submission of documents is NOT a substitute for providing a full,
factual and chronological narrative explanation. Failure to provide a full narrative will be considered as failure
to provide all required information.

Note that you may be required to disclose something in this section, even though you will not be required to provide
documentation with your submission, as many questions ask “have you ever..."

.~ Civil, Administrative, Governmental, Arbitration or Disciplinary Proceedings

Have you EVER been a named party (e.g., plaintiff/defendant) in any civil proceeding, regardless of the age of the
matter or whether the final disposition was a dismissal or a settlement? This includes, but is not limited to,
malpractice, negligence actions, intentional torts, landlord/tenant matters, contract matters, or domestic relations
matters, including divorce, custody, visitation, support, petitions for protection from abuse, restraining orders and/or
peace orders and expungement proceedings. Have you ever been a party, complainant or participant in or to an
administrative, governmental, investigative, judicial, arbitration or disciplinary proceeding, including but not limited
to workers’ compensation, unemployment, pension, disability, licensing boards, welfare, child protection, Title IX
proceedings, conservatorship, fee arbitration or attorney disciplinary/grievance proceedings? NOTE: Simple receipt of
benefits does NOT trigger an affirmative response if no proceedings were held.

If you were the child in question in a custody proceeding, you were not considered a named party.

If you answered "yes" to this question, you are required to provide full details and a chronological explanation
of the legal proceeding and provide information concerning the parties, when filed, where the proceeding was
venued, docket or case number and status of the proceeding. For each proceeding resolved within the last ten

(10) years, you must also provide the documents listed below.

Date of incident

Provide a detailed description of the matter that includes the outcome. Explain if you had any monetary obligations pursuant
to the final judgment or resolution and, if so, whether you have met or are meeting your obligations.

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If the proceedings were resolved within the last ten (10) years, you must upload a copy of the complaint, petition, answer
and settlement documentation or final judgment, decision or Order from your User Home Page after submitting the Character
Questionnaire on-line. If the records are not available or are no longer in existence, you are required to provide a letter from
the agency on their letterhead stating that the documents are not available and you must document your diligent efforts to
obtain the documentation. All documents must be uploaded through your User Home Page, after you have submitted this
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
Questionnaire.

3 - Violation of Law

Have you EVER been cited for, charged with, taken into custody for, arrested for, indicted, tried for, pled guilty to, or
convicted of, the violation of any law (other than a minor traffic violation) or been the subject of a juvenile
delinquent or youthful offender proceeding or received a conditional discharge, adjournment in contemplation of
dismissal, or pretrial diversionary program? (NOTE: driving while intoxicated or impaired, driving without insurance,
reckless driving, leaving the scene of an accident, and driving while suspended are not considered minor traffic
offenses for the purposes of this section).

The entry of an expungement or sealing order does not relieve you of the duty to disclose the matter on this statement. You
must upload a copy of the expungement petition and Order to your account AND disclose the proceeding in Section 8A.
Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
the facts of the actual event in addition to a procedural recitation. If the violation of the law also led to an
Order of Protection or restraining order, please disclose as well.

Date of incident

Location of incident (city/state)

Name, complete mailing address, and telephone number of law enforcement agency involved:
Law Enforcement Agency

Address

City

State/Province

Zip/Postal Code

Country

Telephone

Charge(s) at time of arrest / citation. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

Citation Number

Detailed description of incident

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Upload additional information (documents, explanations that do not fit in the space provided, etc.) through your User Home
Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
available in Section 1A of this Questionnaire.

If the proceedings were resolved within the last ten (10) years, you are required to upload a copy of the arresting
agency's file (including a copy of the complaint/summons/ticket/investigative report) and the Court disposition
records obtained from the Court that decided the matter (in person or by mail). Do you have all of the records in
your possession to upload, as required?

Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
requests have been directed and when made. Provide proof of these written requests as well as any responses you received
from the police or arresting agency through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. Please
provide the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain records
otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.

Was this matter decided in court or through plea by mail or electronically? (Provide details)
Provide the mailing address, and telephone number of court involved:
Court
Address
City
State/Province
Zip/Postal Code
Country
Telephone
Caption of case (e.g., State v. Smith)
Case or court file number
All Charges prior to final disposition
Date of final disposition
Final disposition
~ Legal Charges

Have you EVER been charged with fraud, larceny, embezzlement, misappropriation of funds, misrepresentation,
perjury, false swearing, conspiracy to conceal, or a similar offense in any legal proceeding, civil or criminal, or in
bankruptcy, regardless of the age or the disposition of the charges?

The entry of an expungement or sealing order does not relieve you of the duty to disclose the matter on this
confidential statement. You may indicate the existence of such an order in your explanation. You must upload
a copy of the expungement petition and Order, and disclose this proceeding in Section 8A as well.
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You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
the facts of the actual event in addition to a procedural recitation.

Date of incident

Location of incident (city/state)

Name, complete mailing address, and telephone number of law enforcement agency involved:
Law Enforcement Agency/Police Department

Address

City

State/Province

Zip/Postal Code

Country

Telephone

Charge(s) at time of arrest / citation. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

Citation Number

Detailed description of incident

Upload additional information (documents, explanations that do not fit in the space provided, etc.) from your User Home
Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
available in Section 1A of this Questionnaire.

If the proceedings were resolved within the last ten (10) years, you are required to upload a copy of the police or
arresting agency's file (including a copy of the complaint/summons/ticket/ investigative report) and the Court
disposition records obtained from the Court that decided the matter (in person or by mail). Do you have all of the
records in your possession to upload as required?

Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
requests have been directed and when made. Provide proof of these written requests, as well as any responses you received
from the police or arresting agency, through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. Provide
the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain the records
otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.

Did you, or an attorney on your behalf, appear in court in connection with this charge or arrest or was the ticket paid
by mail or electronically?

Provide the mailing address, and telephone number of court involved:

Court

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Address

City

State/Province

Zip/Postal Code

Country

Telephone

Caption of case

Case or court file number

Charges at time of final disposition. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

Date of final disposition
Final disposition
)- Deportation/Removal/Exclusion

Have you EVER been a party to Deportation, Removal or Exclusion Proceedings, or otherwise denied entry to or
removed from any country?

You must submit a full and detailed narrative of this incident and must supply the applicable records. The
narrative must recount the facts of the actual event in addition to a procedural recitation.

If yes, please supply a detailed explanation and upload all documentation related to the proceedings through your User
Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents
are available in Section 1A of this Questionnaire.

- Restricted Access, Denied Access or Ban

Have you EVER been denied access, had your access restricted for any period of time or been banned from any of the
following, whether or not criminal charges were ever filed:

(a) from this country or any other country;

Detailed explanation

(b) from any educational, religious or charitable institution or governmental or judicial facility;

Detailed explanation

(c) from a casino or gambling establishment;

Detailed explanation
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(d) from a bar, restaurant or any public facility;

Detailed explanation

(e) from any form of transportation including, but not limited to, public transportation, including buses, trains,
subways, airplanes, taxicabs, or private transportation including travel for fee (e.g. Uber or Lyft, etc.)?

Detailed explanation

You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
the facts of the actual event in addition to a procedural recitation.

If yes, please supply a detailed explanation and upload all documentation through your User Home Page after submitting the
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
Questionnaire.

'- Immunity/Investigation

Are you currently under investigation or have you EVER been offered or granted immunity to testify in any grand
jury proceeding, criminal action or criminal proceeding?

You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
the facts of the actual event in addition to a procedural recitation.

State the place, the date, the name of each defendant, the nature of the action or the proceeding, the Prosecutor's Office,
the Court and the circumstances. If necessary, upload additional information (documents, explanations that do not fit in the
space provided, etc.) after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
documents are available in Section 1A of this Questionnaire.

Place
Date

Name of each defendant
Nature of the action or the proceeding

Name of court

Circumstances

Upload additional information (documents, explanations that do not fit in the space provided, etc.) from your User Home
Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
available in Section 1A of this Questionnaire.

1 - Business Practices
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Has any business in which you had a financial interest, managed or in which you actively participated in the control
or management of EVER been charged with fraud, larceny, embezzlement, misappropriation of funds,
misrepresentation, conspiracy to conceal, or a similar offense in any legal proceeding, civil or criminal, or in

bankruptcy?

You must submit a full and detailed narrative of the incident in addition to the records provided. The narrative
must recount the facts of the actual event in addition to a procedural recitation. Documents must be supplied
no matter the age of the proceeding. All documents must be uploaded through your User Home Page, after you have
submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
Section 1A of this Questionnaire.

Date of incident

Location of incident (city/state)

Name, complete mailing address, and telephone number of law enforcement agency involved:
Law Enforcement Agency

Address

City

State/Province

Zip/Postal Code

Country

Telephone

Charge(s) at time of arrest / citation. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

Citation Number

Detailed description of incident.

Upload additional information (documents, explanations that do not fit in the space provided, etc.) from your User Home
Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
available in Section 1A of this Questionnaire.

You are required to upload a copy of the police or arresting agency's file (including a copy of the
complaint/summons/ticket/ investigative report) and the Court disposition records obtained from the Court that
decided the matter (in person or by mail). Do you have all of the records in your possession to upload as required?

Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
requests have been directed and when made. Provide proof of these written requests as well as any responses you received
from the police or arresting agency, through your User Home Page after you have submitted the Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. Please
provide the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain records
otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.
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Did you, or an attorney on your behalf, appear in court in connection with this charge or arrest?
Provide the mailing address, and telephone number of court involved:
Court

Address

City

State/Province

Zip/Postal Code

Country

Telephone

Caption of case

Case or court file number

Charges at time of final disposition. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NISA 2C:33-4.

Date of final disposition
Final disposition
3.2 - Business Practices

To your knowledge, have you or any business that you had a financial interest in, managed, or actively participated
in the control of EVER been the subject of any investigation or inquiry by any Federal, State, Local, or administrative
agency relating to the alleged violation of law, rule, regulation, or other legal standard?

You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
the facts of the actual event in addition to a procedural recitation.

Date of incident

Location of incident (city/state)

Name, complete mailing address, and telephone number of law enforcement agency involved:
Law Enforcement Agency

Address

City

State/Province

Zip/Postal Code

Country

Telephone

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Charge(s) at time of arrest / citation. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

Citation Number

Detailed description of incident. If additional space is required, upload a certification supplementing your response. Additional
instructions are provided in Section 1A of this Questionnaire.

Upload additional information (documents, explanations that do not fit in the space provided, etc.) through your User Home
Page after you have submitted the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
documents are available in Section 1A of this Questionnaire.

You are required to upload a copy of the arresting agency's file (including a copy of the complaint/summons/ticket/
investigative report) and the Court disposition records obtained from the Court that decided the matter (in person or
by mail). Do you have all of the records in your possession to upload as required?

Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
requests have been directed and when made. Provide proof of these written requests as well as any responses you received
from the police/arresting agency, through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. Please
provide the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain records
otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.

Did you, or an attorney on your behalf, appear in court in connection with this charge or arrest?
Provide the mailing address, and telephone number of court involved:
Court

Address

City

State/Province

Zip/Postal Code

Country

Telephone

Caption of case

Case or court file number

Charges at time of final disposition. Include the names(s) of the charges as well as the corresponding
statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

Date of final disposition
Final disposition

| + Probation or parole
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Are you presently on probation or parole?

You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
the facts of the actual event in addition to a procedural recitation. If you need additional space, you may
upload a certification to supplement your answers. See Section 1A of this Questionnaire for additional

instructions.

Name of the court

Name of probation or parole offices
Address of probation or parole officer
Address i

Address 2

City

State

Zip

Terms of sentence

JECTION 9 - FINANCIAL
i~ Debts Overdue
In the past twelve (12) months, have you had any debts more than ninety (90) days overdue?

Provide details of the debt, and an explanation for the debt. If additional space is required, upload a certification
supplementing your response. Additional instructions are provided in Section 1A of this Questionnaire. Upload a statement
from the holder of the debt showing the present balance and documentation concerning any payment plan entered into, with
proof of payment attached. All documents must be uploaded through your User Home Page, after you have submitted this
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this

Questionnaire.

Holders of the debt
Amounts overdue

Loan or Credit numbers

Provide an explanation for this debt and detail the action taken to remedy the situation. Upload proof of final payment or
copy of payment plan and proof of compliance with the plan. If a payment plan is not approved in writing, upload proof of
your last six (6) payments, as well as documentation evidencing the amount of the debt and outlining your obligation.
Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

.- Child Support or Alimony
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Are you now, or have you EVER been, the subject of any court-ordered obligation to provide child support or
alimony? Upload a copy of the court order through your User Home Page after submitting the Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this

Questionnaire.

Are you in arrears in child support in an amount equal to or exceeding the amount of child support payable for six
(6} months?

Have you failed to comply with the health insurance provisions relating to an order for child support?
Are you the subject of a child-support related warrant?

NOTE: If you are in violation of child-support obligations, as set forth in RG 202:6 of the Regulations of the Committee on
Character, you are ineligible to receive a license to practice law in this State.

Court Order
Case number

Date of arrearages
Amount of arrearages

Current Status

Upload a certified narrative outlining the actions you have taken to remedy the arrearages. Upload proof of the present
balance of child support from your User Home Page after you have submitted this Character and Fitness Questionnaire on-
line, Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. A child support probation

account transcript is acceptable, if dated within the last month.

_~ Other Obligations

Are you now, or have you EVER been, in arrears on any court-ordered obligation including child-support or alimony
not covered by Section B, supra? If you answer "yes," you are required to upload a copy of the court order through
your User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for

uploading documents are available in Section 1A of this Questionnaire.

Court Order

Case number
Date of arrearages
Amount of arrearages

Current status

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Upload a narrative outlining the actions you have taken to remedy the arrearages. Upload proof of the present balance
through your User Home Page after you have submitted your Character and Fitness Questionnaire on-line. Detailed
instructions for uploading documents are available in Section 1A of this Questionnaire.

) - Judgment
Has a judgment EVER been entered against you?

Provide the names and addresses of the holders and the details of the judgment. Upload certified copies of such judgments
through your User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for
uploading documents are available in Section 1A of this Questionnaire. Please make sure that you have disclosed the

original lawsuit under Section 8A.
Name of holder

Address 1

Address 2

City

State

Zip

Details of the judgment

Has this judgment been satisfied?

If you answered "yes" to this question, you are required to upload a copy of the warrant of satisfaction, and the pleadings in
this matter. All documents must be uploaded through your User Home Page, after you have submitted this Character and
Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Please explain the action taken to remedy the situation.

If a payment plan has been established, upload proof of the amount of the obligation and the terms of the plan, through
your User Home Page, after you have submitted this Character and Fitness Questionnaire on-line. Detailed instructions for
uploading documents are available in Section 1A of this Questionnaire. If the plan was not approved in writing, provide proof

of your last six (6) payments and your explanation of the payment plan.
- Lien

Have any liens EVER been placed against your property? Do not include real estate mortgage liens, but include any
tax liens.

Provide a detailed explanation.

You are required to upload all documentation regarding the initial lien and a statement from the lien holder showing the
current balance through your User Home Page after you have submitted the Character and Fitness Questionnaire on-line.
Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

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Was this lien satisfied?

You are required to upload a copy of the lien satisfaction through your User Home Page, after you have submitted this
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
Questionnaire.

You are required to upload all documentation regarding the initial lien and a statement from the lien holder showing the
current balance through your User Home Page, after you have submitted this Character and Fitness Questionnaire on-line.
Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

‘~ Personal Bankruptcy

Have you EVER filed a petition in bankruptcy or for establishment of a wage earner plan, or has one been
involuntarily filed against you?

For each filing, list the final dispositions of the matters, the court in which the dispositions were filed, the dates of the filings,
and an explanation of the reasons for the bankruptcy. Upload a copy of the petition, all schedules, and the final order of the
court or discharge or dismissal through your User Home Page after you have submitted your Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Final disposition

Name of court
Date of filing of initial petition
Date of final disposition, dismissal or discharge

Provide a detailed explanation of the reason(s) for the bankruptcy or circumstances leading to bankruptcy. If additional space
is required, upload a certification supplementing your response. Additional instructions are provided in Section 1A of this
Questionnaire.

i- Business Bankruptcy
Has any business in which you had a financial interest EVER filed for bankruptcy?

For each filing list the final disposition of the matter, the court in which such disposition was filed, the date(s) of filing(s) and
an explanation of the reason(s) for the bankruptcy. Upload a copy of the petition, all schedules, and the final order of the
court of discharge or dismissal through your User Home Page after you have submitted your Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Final disposition

Name of court
Date of filing of initial petition

Provide a detailed explanation of the reason(s) for the bankruptcy or the circumstances leading up to the bankruptcy. If
additional space is required, upload a certification supplementing your response. Additional instructions are provided in
Section 1A of this Questionnaire.

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i- Student Loans
Do you currently have any student loans?
Have you EVER been in arrears or defaulted on any student loan?

If you answered "yes," provide factual details and give name and address of creditor, the loan account number, the amount
owed and what steps have been taken to bring the account up to date.

Details

Name of creditor

Address 1

Address 2

City

State

Zip

Loan account number

Amount owed

Ts the account now current?

Provide proof that the account is now current.

If a payment plan has been established, upload proof of the terms of the plan, through your User Home Page after
submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
Section 1A of this Questionnaire. If the plan was not approved in writing, provide proof of your last six (6) payments and
your explanation of the payment plan. If the loan has now been placed in deferment, explain the terms of the deferment.

Provide a detailed explanation of any action taken to remedy the situation.

- Custodians, Guardians, Conservators, Trustees, Receivers and Special Fiscal Agents

Subsequent to your 18th birthday, have you or your property EVER been placed under the control of a guardian,
conservator, trustee, receiver, special fiscal agent or any other custodian?

Provide details and upload related documentation through your User Home Page after submitting the Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

- Money Laundering Control

To your knowledge, has a Currency Transaction Report (CTR) or Suspicious Activity Report (SAR) EVER been filed
for your activities?
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Provide details and upload related documentation through your User Home Page after submitting the Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

iECTION 10 - TAX RETURN INFORMATION
\- Personal Tax Return/ Filing and Payment

NOTE: A filing pursuant to a proper extension is considered timely for this purpose. A payment plan is NOT considered timely
payment.

Have you EVER failed to file a federal, state, or local income tax return when due and without a lawful extension or
have you EVER failed to pay federal, state, or local income taxes when due?

If you answered "yes," you are required to provide a narrative explaining the reason for your failure to file or pay, when the
matter occurred, and when you resolved the issue. Explain the steps that have been taken to remedy the defect. Upload
proof that the tax return was subsequently filed, proof of payment, and current status of any owed taxes, fines or penalties
and upload an account transcript (available from the IRS or other tax authority. IRS transcripts are free. Additional
information can be found at http://www. irs.gov/Individuals/Get-Transcript). All documents must be uploaded through your
User Home Page, after you have submitted this Character and Fitness Questionnaire on-line. Detailed instructions for
uploading documents are available in Section 1A of this Questionnaire.

}- Corporate Tax Return/Filing and Payment

Have you or any business, corporation or other entity in which you held an equity interest EVER failed to pay
employer's withholding taxes or ever failed to remit sales, excise, or other taxes to the appropriate taxing authority?

If you answered "yes" to this question, you are required to provide a detailed narrative explaining the reason for your failure
to file or pay, when the matter occurred, and when the issue was resolved. A payment plan for past due obligations must be
detailed in your response. In addition, you are required to upload all documentation regarding such occurrences and provide
proof that the situation(s) has been remedied. All documents must be uploaded through your User Home Page, after you

have submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available

in Section 1A of this Questionnaire.

/~ Judgment Against You

Has the Internal Revenue Service or any other taxing authority ever obtained a judgment or made a levy against you
for unpaid taxes, assessments or penalties?

Provide a narrative explanation of the circumstances surrounding the judgment or levy and provide information about your
attempts to resolve the judgment or lien.

Has the judgment/levy been satisfied?

Upload a copy of the judgment/levy and a copy of the warrant of satisfaction through your User Home Page, after you have
submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in

Section 1A of this Questionnaire.
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Provide a narrative explanation of the action(s) taken to remedy this situation. If additional space is required, upload a
certification supplementing your response. Detailed instructions for uploading documents are available in Section 1A of this
Questionnaire.

If a payment plan has been established, upload proof of the terms of the plan through your User Home Page after submitting
the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of
this Questionnaire. If the plan was not approved in writing, provide proof of your last six (6) payments.

JECTION 11 - DRIVER'S INFORMATION
.- Driver's Licenses

List each state or foreign jurisdiction in which you have EVER been issued a driver's license, including operator permits. You
must also provide an abstract for any license that has been active in the past seven (7) years*. Review your driver's
history to answer this section.

Three (3) year (abbreviated) abstracts are not accepted. Abstracts obtained on-line are permitted provided
that they are obtained from the motor vehicle agency of the respective state or jurisdiction (no third party
abstracts will be accepted).

Have you applied for or been issued a driver's license or operator's permit in any state or jurisdiction (including
foreign countries)?

Jurisdiction
Country

Month/Year Issued
(original date - do NOT include renewal dates)

License or permit number
Is this license currently active?

You are required to upload a driver's abstract for this license through your User Home Page after submitting
the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
in Section 1A of this Questionnaire. Please read instructions below regarding ordering driver's abstracts.

Has this license been active during the last seven (7) years?

You are required to upload a driver's abstract for this license through your User Home Page after submitting
the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
in Section 1A of this Questionnaire. Please read instructions below regarding ordering driver's abstracts.

An abstract is not required for this license.
Date license surrendered (month/year)

Reason license surrendered
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*Driver's Abstract Instructions

Driver's Abstracts must be obtained for each license or permit that has been active during the prior seven (7) years. Driver's
abstracts are available from the Division of Motor Vehicles in the state or jurisdiction (including foreign jurisdictions) that
issued the license or permit. No third party abstracts will be accepted. Three year (abbreviated) abstracts are NOT accepted.
Once received from the appropriate Motor Vehicle agency, upload the abstract through your User Home Page after submitting
the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of
this Questionnaire. Keep the original in your files. Review your abstract before completing this section. If you are not
supplying your abstract at this time, you may need to update this section once you obtain the document.

3 - Suspended License

Has your driver's license EVER been suspended or revoked in any state or jurisdiction, including foreign jurisdictions
(including for excessive or unpaid parking tickets)?

Name of Agency

Address 1

Address 2

City

State

Other State or Jurisdiction
ZIP Code

Country

Date of Suspension
Length of Suspension

Reason for Suspension
Provide a detailed explanation.

:~ Denied License
Have you EVER been refused a driver's license by any state or jurisdiction, including foreign jurisdictions?
State or jurisdiction

Date denied

Provide a detailed explanation. Upload documentation regarding this denied license through your User Home Page after you
have submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
in Section 1A of this Questionnaire.

'- Late/failure to answer ticket, citation or summons

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Have you EVER been late to timely answer or failed to answer a ticket or summons for any legal proceeding
(including parking tickets)?

If you answered "yes," you must provide a narrative detailing the facts of each failure to timely answer a ticket or summons.
regardless of how long ago, to the best of your ability. Upload documentation regarding the initial ticket(s) or summons(es)
and indicate if a warrant was issued at any time for these tickets/summonses through your User Home Page after you have
submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
Section 1A of this Questionnaire.

Upload documentation regarding the initial ticket(s) or summons(es) through your User Home Page, after you have .
submitted this Character and Fitness Questionnaire on-line, and indicate if a warrant was issued at any time for these
tickets/summonses. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Date

Nature of Violation

Court Designation
Address 1
Address 2

City

State

ZIP Code

Disposition

: - DUI (Please be sure to include this incident under Section 8B Legal Proceedings as well)

Have you EVER been charged with driving under the influence of drugs or alcohol or refusing to provide a breath
sample?

Date you were charged

The Blood Alcohol Content (B.A.C.) reading(s) (enter “Refused” if you refused the test):
Charging Agency (Police Department)

Address 1

Address 2

City

State

ZIP Code

Were you convicted of this offense?
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If you answered "yes" to any part of this section, you are required to upload copies of all court documents and arresting
agency/police documents through your User Home Page after you have submitted your Character and Fitness Questionnaire
on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Were you convicted of a lesser charge?

If you were charged with DUI but convicted of a lesser offense, state the offense for which you were convicted, the name
and address of the convicting court and the sentence imposed.

Offense for which you were convicted

Date Convicted

Name of Court in which you were convicted
Address 1

Address 2

City

State

ZIP Code

What was the sentence imposed? (including conditions precedent to dismissal. e.g., community service, alcohol education,
etc.)

Disposition

If your sentence provided for probation or suspension, indicate whether supervised or unsupervised.
Date Convicted

Name of Court in which you were convicted

Address 1

Address 2

City

State

ZIP Code

What sentence was imposed?
Disposition

If your sentence provided for probation or suspension, indicate whether supervised or unsupervised.

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Upload documentation of your sentence (through your User Home Page after you have submitted your Character and Fitness
Questionnaire on-line; instructions are provided in Section 1A of this Questionnaire) including the arresting officer's report,
any citations and court documents for each charge. (These documents are obtained from two different places).

Provide a narrative describing the facts and circumstances surrounding each offense, including reason for refusing a
breathalyzer test if applicable, including any requirements for drug or alcohol evaluations or community service.

Have you completed all the requirements of the sentence? If you have answered "yes," upload proof that you have
completed the requirements. Detailed instructions for uploading documents are available in Section 1A of this
Questionnaire.

If you have not, explain what you have not completed and why.

Explain what you have not completed and why.

SECTION 12 - HEALTH

‘'reamble

Section 12 addresses recent mental health, chemical, alcohol, and/or psychological dependency matters. The Committee on
Character ("Committee") asks these questions because of its responsibility to protect the public by determining the current
fitness of an applicant to practice law, and the purpose of these questions is to determine the current fitness of an applicant
to practice law. Each applicant is considered on an individual basis. The mere fact of treatment for menta! health problems or
chemical, alcohol, or psychological dependency is not, in and of itself, a basis on which an applicant is ordinarily denied
admission to the New Jersey bar. The Committee regularly recommends licensing of individuals who have demonstrated
personal responsibility and maturity in dealing with mental health and chemical, alcohol, or psychological dependency issues.
The Committee encourages applicants who may benefit from treatment to seek it and the Committee views such treatment
as a positive factor in evaluating an application. As indicated in the Regulations Governing the Committee, all information is
treated confidentially by the Committee and the Committee's Offices and all proceedings are confidential.

On occasion, a license may be denied when an applicant's ability to function is impaired in a manner that indicates that the
applicant is currently unfit to practice law at the time the licensing decision is made, or when an applicant demonstrates lack
of candor and/or credibility by his or her responses. Each applicant is responsible for demonstrating that he or she possesses
the qualifications necessary to practice law. Your responses may include information as to why, in your opinion or that of your
treatment provider, your condition will not affect your ability to practice law in a competent and professional manner.

The Committee does not, by its questions, seek information that is characterized as situational counseling, such as stress
counseling, domestic counseling, and grief counseling. Generally, the Committee does not view these types of counseling as

germane to the issue of whether an applicant is qualified to practice law.

_- Addiction to Alcohol or Drugs

Have you, within the last five (5) years, exhibited any conduct or behavior that could call into question your
ability to practice law in a competent, ethical and professional manner?

If you answered "yes" to this question, furnish a thorough explanation in the space provided, and upload related
documentation through your User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed
instructions for uploading documents are available in Section 1A of this Questionnaire.

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3 - Other Disorders

Do you CURRENTLY have any condition or impairment (including but not limited to substance abuse, alcohol
abuse, or a mental, emotional or nervous disorder or condition) that in any way affects your ability to practice law in
a competent, ethical and professional manner and in compliance with the Rules of Professional Conduct, the Rules of

Court, and applicable case law?

If yes, please describe any ongoing treatment programs you receive to reduce or ameliorate the condition or impairment.

iECTION 13 - BAR APPLICATIONS
\- Bar Examination or License to Practice Law

Other than the application you are currently completing for admission to the New Jersey Bar, have you EVER sat for
a bar examination in any jurisdiction (excluding foreign jurisdictions) or are you CURRENTLY applying to sit for a
bar examination in any jurisdiction (excluding foreign jurisdictions); have you EVER applied for bar admission or a
law license in any jurisdiction (excluding foreign jurisdictions) or are you CURRENTLY applying for bar admission or
a law license in any jurisdiction (excluding foreign jurisdictions). This includes but is not limited to:

x Applications for jurisdictions where you were granted or denied admission;

« Applications for previous administrations of the New Jersey Exam;

« Applications to another jurisdiction for this administration (even if you have not yet begun the application
process) or previous administrations of an exam;

« Applications for admission to jurisdictions in which there was no exam involved (In-House
Counsel/reciprocity/admission on motion, UBE Score Transfer, etc.);

« Exams that you applied for but did not sit or withdrew;

«x Exams that you sat for but did not pass.

NOTE: If you are CURRENTLY a UBE Score Transfer applicant, an Admission on Motion applicant or an In-
house Counsel applicant in New Jersey, or if you have EVER passed, failed or withdrawn from a bar
examination in ANY jurisdiction (including New Jersey), including any prior UBE attempts in any jurisdiction,
you MUST answer "Yes" to this Section

Date of Application
Jurisdiction
Name of Authority

Date of Examination or motion filed

Date of Admission (answer this only if actually admitted, not pending)

Status (Pass / Fail / Waiting for Results / Withdrew)

You are required to update your bar status in each jurisdiction if changes occur after submitting the Character
and Fitness Questionnaire (e.g., passing the bar exam, interview, hearing, decision, etc.).

i+ Interview /Hearing
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Did any other jurisdiction in which you EVER applied request an interview or hearing or conduct an investigation to
evaluate your character or fitness or regarding improprieties on a bar examination? (This includes "routine"
interviews for admission.)

Jurisdiction
Date of Interview/Hearing

You are required to upload a copy of the transcript of any character proceeding through your User Home Page after you have
submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
Section 1A of this Questionnaire. In addition, you must request that a copy of your entire file be sent directly to the New

Jersey Board of Bar Examiners.

Provide details in the space provided, If additional space is required, upload a certification supplementing your response.
Additional instructions are provided in Section 1A of this Questionnaire.

> + Denied Application

Has your application to sit for a bar examination or to be admitted to practice by examination, UBE score transfer or
motion EVER been denied or withheld? Upload a copy of the transcript of any proceeding through your User Home
Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents
are available in Section 1A of this Questionnaire. You must request that a copy of your entire file be sent DIRECTLY
to the New Jersey Board of Bar Examiners.

Name of jurisdiction
Date of decision

Reason for denial or withholding certification

You must request that a copy of your entire file be sent DIRECTLY to the New Jersey Board of Bar Examiners.

)~ Bar Exam Improprieties

Have you ever been accused of OR ever been the subject of an inquiry for any alleged improprieties on the bar
examination? Upload a copy of the transcript of any proceeding through your User Home Page after submitting the
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section
1A of this Questionnaire. You must request that a copy of your entire file be sent DIRECTLY to the New Jersey

Board of Bar Examiners.
Name of jurisdiction
Date of Exam

Detailed Explanation

You must request that a copy of your entire file be sent DIRECTLY to the New Jersey Board of Bar Examiners.

- Evaluation

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Has any other jurisdiction in which you applied EVER requested that you submit to an alcohol, drug, mental health
or other evaluation in connection with your application?

You are required to upload a copy of the evaluation for each instance through your User Home Page, after you
have submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading
documents are available in Section 1A of this Questionnaire.

Name of jurisdiction

Explanation

‘- Other Certifications

In the State of New Jersey, have you EVER applied for any of the following certifications, limited licenses,
registrations and/or admissions: In-House Counsel, or Foreign In-House Counsel, Foreign Legal Consultant, Pro Hac
Vice, or Multi-Jurisdictional Practitioner?

Type of certification
Date of application

Provide the case name and briefly describe the nature of the case.

Was the application for certification denied or withheld?

You are required to provide a narrative giving the reason for denial or being withheld. In addition, you are required to upload
all documentation regarding this denial or withholding through your User Home Page after you have submitted your
Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this

Questionnaire.

Date certification was granted
ECTION 14 - PROFESSIONAL QUALIFICATIONS
.+ Late Disclosures to Law Schools and Bar Jurisdictions, Alterations or Falsifications

Have you EVER made a late disclosure, been accused of or been the subject of an inquiry for alteration, falsification,
omission and/or misrepresentation of any document or copy thereof referring to your professional qualification to be
a lawyer before or after law school, including but not limited to, online or late disclosures on your law school
applications or applications to other bar jurisdictions, bar examination results letter, recommendation letter, report,
etc. Have you ever been accused of OR been the subject of an inquiry for any alleged improprieties on a
standardized test, including, but not limited to, SAT, LSAT, MPRE, MCAT, GRE, etc. Have you ever been accused of
OR ever been the subject of an inquiry for any alleged improprieties on the bar examination? If yes, provide the

following for EACH incident.
Date of late disclosure/accusation

Agency/Organization/School
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Provide an explanation and disposition of the matter. If additional space is required, upload a certification supplementing your
response. Additional instructions are provided in Section 1A of this Questionnaire.

If you answered "yes" to this question, you are required to upload all documentation from the agency/organization/school
through your User Home Page, after you have submitted your Character and Fitness Questionnaire on-line. Detailed
instructions for uploading documents are available in Section 1A of this Questionnaire. In addition, you must request that
your law school send your academic and disciplinary records and an official transcript DIRECTLY to the Board of Bar
Examiners. If another bar jurisdiction is involved, you must sign a release for their entire file to be forwarded DIRECTLY to

the New Jersey Board of Bar Examiners.

}- Other Testing Improprieties

Have you ever been accused of OR been the subject of an inquiry for any alleged improprieties on a standardized
test, including, but not limited to, SAT, LSAT, MPRE, MCAT, GRE, etc?
If yes, provide the following for EACH incident.

Date of accusation/inquiry

Agency/Organization/School

Provide an explanation and disposition of the matter. If additional space is required, upload a certification supplementing your
response. Additional instructions are provided in Section 1A of this Questionnaire.

If you answered "yes" to this question, you are required to upload all documentation from the agency/organization/school

through your User Home Page, after you have submitted your Character and Fitness Questionnaire on-line. Detailed
instructions for uploading documents are available in Section 1A of this Questionnaire. In addition, you must request that
your law school send your academic and disciplinary records and an official transcript DIRECTLY to the Board of Bar

Examiners.

‘+ Unauthorized Practice of Law

Have you EVER been accused of engaging in the Unauthorized Practice of Law in any jurisdiction?

Date

Jurisdiction

Explanation

Upload all documentation through your User Home Page after you have submitted your Character and Fitness Questionnaire
on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

ECTION 15 - BAR ADMISSIONS IN OTHER JURISDICTIONS

.~ Admission in Other Jurisdictions

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Have you EVER been admitted to the practice of law in any United States jurisdiction or territory? (This includes any
court including but not limited to state, federal, military, etc. Please note, the application for any admission listed in
Section 15 should also appear in Section 13.)

You are required to upload the following for any jurisdiction in which you have EVER been admitted. If your license is no
longer active in that jurisdiction, including retirement and resignation, you must provide a letter from the jurisdiction
explaining your status.

1. Certificate of Good Standing; and
2. Certificate of Ethical Conduct (disciplinary history).

Please note that these may not be the same documents and typically come from different agencies. A list of disciplinary
offices is available on our web site (www.njbarexams.org) under the "General Application Information" tab. Online printouts
from the jurisdiction's website are not accepted.

NOTE: These jurisdictions must also be listed in Section 13A, Bar Applications.
Please disclose the following information for each jurisdiction to which you have ever been admitted.

Have you resigned or retired this license? If no, provide a Certificate of Good Standing and a Disciplinary History for
each license. If yes, provide a verification of status and a Disciplinary History.

Date of resignation or retirement
Name of jurisdiction

Country Name

Court or agency

Date of admission

Have you EVER been disciplined as a member of the bar of this jurisdiction, including, but not limited to, being
disbarred, suspended, disqualified, reprimanded, censured, permitted to resign, admonished, sanctioned or
removed, or have any complaints, charges or grievances, formal or informal, ever been made or filed or proceedings

instituted against you in such capacity?

Provide a detailed explanation of the circumstances of each event and upload all relevant documents. State the dates, facts,
exact charges, disposition of the matter and the name and complete address of the authority in possession of the records
thereof. All documents must be uploaded through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

Date

Facts and exact charges

Disposition of the matter. (You must request that a copy of your entire disciplinary file and your initial bar application be sent
DIRECTLY to the New Jersey Board of Bar Examiners.)

Name of authority
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New Jersey Board of Bar Examiners - Print Application Forms

Address 1
Address 2
City

State

Zip

Have you EVER held a law license in any jurisdiction that was administratively suspended or revoked (e.g., for
failure to pay required fees or failure to complete required courses)?

You are required to upload a detailed narrative, which provides all details, and upload all relevant documents through your
User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
documents are available in Section 1A of this Questionnaire. State the dates, facts, exact charges, disposition of the matter

and the name and complete address of the authority in possession of the records thereof.
Date

Facts and exact charges

Disposition of the matter. You must request that a copy of your entire disciplinary file and your initial character application be
sent DIRECTLY to the New Jersey Board of Bar Examiners.

Name of authority
Address 1
Address 2

City

State

Zip

Provide the names, addresses and phone numbers of two (2) attorneys from each jurisdiction who are familiar with your
professional conduct. Do not list close relatives, anyone used as a personal reference in Section 16, or yourself.

Pursuant to RG 201:2, the responses of any named references are confidential and will not be released to you.
Professional Reference 1

Name

Email address

Phone number

Address 1

Address 2
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City
State
Zip
Professional Reference 2
Name
Email address
Phone number
Address 1
Address 2
City
State
Zip
SECTION 16 - REFERENCES

.~ Personal References

List the names, addresses and phone numbers of five (5) individuals who know you well enough to attest to your integrity
and fitness to practice law. You may not use close relatives, law school classmates (if you are a recent graduate), significant
others, or more than one member of the same law firm, business entity, or family unit. You may use employers. The
Committee may, in its discretion, contact any or all of your named references.

Pursuant to RG 201:2, the responses of any named references are confidential and will not be released to you.
Name
Email address
Phone number
Address 1
Address 2
City
State
Zip
ECTION 17 - MISCELLANEOUS

Ither Information

Is there any information (event, incident, occurrence, etc.) that was not specifically addressed and/or asked of you
in this application and/or in the instructions that could be considered a character issue?

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Provide a full and detailed explanation.

Within the past five years, have you engaged in any conduct that: (1) resulted in an arrest, discipline, sanction or
warning not already disclosed in Sections 1 through 16; (2) resulted in termination or suspension from school or
employment not already disclosed in Sections 1 through 16; (3) resulted in loss or suspension or other discipline for
any license not already disclosed in Sections 1 through 16; (4) resulted in any inquiry, investigation, administrative or
judicial proceeding by an educational institution, governmental agency, professional organization, or licensing
authority, or in connection with an employment disciplinary or termination procedure not already disclosed in
Sections 1 through 16; or (5) endangered the safety of others, breached fiduciary obligations or violated workplace
or academic conduct rules not already disclosed in Sections 1 through 16? If so, explain below and include any
asserted defense or claim in mitigation or as an explanation of your conduct and upload all related documentation.

If you answered "yes" to this question, you are required to provide a full and detailed explanation. In addition, you must -
upload all related documentation through your User Home Page, after you have submitted this Character and Fitness
Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

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I understand that the full and correct completion of this Certified Statement of Candidate is a prerequisite for the Committee
on Character's consideration of me as an applicant for admission to the practice of law. Candor and truthfulness are
significant elements of fitness. I must provide the Committee with all available information, however unfavorable, even if I

doubt its relevance.

if I am unable to provide all of the required documentation at the time I submit this Certified Statement of Candidate, I will
timely supplement my application. I understand that until all of the required documentation is provided, my file will be
deemed incomplete for review by the Committee. I must answer all questions and upload all documentation to my
account within a timely period.

I understand further that I have a continuing duty to disclose all required information to the Committee, and that this
duty continues until the date of my admission to the Bar of New Jersey.

I understand that I have a continuing duty to amend this Certified Statement of Candidate within thirty (30) days
of any occurrence that would change or render incomplete any answer.

T will submit all additional information requested by the Committee in the form of an affidavit or certification, together with
such supplemental documentation as the Committee deems necessary for its review.

T understand that I must respond to requests by the Committee within the time prescribed by the Regulations Governing the
Committee on Character or face the abandonment of my application.

I will retain a copy of the completed Certified Statement of Candidate, with attachments, to facilitate submission of
supplemental information.

T hereby certify that I have read the Regulations Governing the Committee on Character and all of the questions and my
answers in this Certified Statement of Candidate. I further certify that all my answers are true and complete. I am aware that
if any answers are willfully omitted or false, I may prejudice my admission to the Bar of the State of New Jersey, my
subsequent good standing as a member of the Bar, and that I may be subject to such penalties as are provided by law.

I further certify that I have read the foregoing Statement of Candidate and the facts stated therein are true and complete to
the best of my knowledge and belief.

You MUST submit your Character and Fitness Questionnaire on-line after you certify (by clicking on "agree")
or your application packet will not be considered complete.

I agree
Date

Full LEGAL name [First, Middle, Last, Suffix (Jr, ITD] John Smith
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APPENDIX J

Rule 25

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Model Rules for Lawyer Disciplinary Enforcement

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Generally. A lawyer suspended for more than six months or a disbarred lawyer shall be
reinstated or readmitted only upon order of the court. No lawyer may petition for
reinstatement until [six months before] the period of suspension has expired. No lawyer may
petition for readmission until [five] years after the effective date of disbarment. A lawyer who
has been placed on interim suspension and is then disbarred for the same misconduct that
was the ground for the interim suspension may petition for readmission at the expiration of
[five] years from the time of the effective date of the interim suspension.

Petition. A petition for reinstatement or readmission must be under oath or affirmation
under penalty of perjury and shall specify with particularity the manner in which the lawyer
meets each of the criteria specified in paragraph E or, if not, why there is good and sufficient
reason for reinstatement or readmission. [Unless abated under Rule 26] the petition must be
accompanied by an advance cost deposit in the amount set from time to time by the board to

cover anticipated costs of the proceeding.

Service of Petition. The lawyer shall file a copy of the petition with disciplinary counsel and
disciplinary counsel shall serve a copy of the petition upon each complainant in the
disciplinary proceeding that led to the suspension or disbarment.

Publication of Notice of Petition. At the same time that a lawyer files a petition for
reinstatement or readmission, the lawyer shall also publish a notice of the petition in the
journal of the state bar and in a newspaper of general circulation in each judicial district in
which the lawyer maintained an office for the practice of law when the lawyer was suspended
or disbarred. The notice shall inform members of the bar and the public about the application
for reinstatement or readmission, and shall request that any individuals file notice of their
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opposition or concurrence with the board within [sixty] days. In addition, the lawyer shall
notify the complainant(s) in the disciplinary proceeding that led to the lawyer's suspension or
disbarment that the lawyer is applying for reinstatement or readmission, and shall inform
each complainant that he or she has [sixty] days to raise objections to or to support the

lawyer's petition.

Criteria for Reinstatement and Readmission. A lawyer may be reinstated or readmitted only
if the lawyer meets each of the following criteria, or, if not, presents good and sufficient reason
why the lawyer should nevertheless be reinstated or readmitted:

(1) The lawyer has fully complied with the terms and conditions of all prior disciplinary
orders except to the extent that they are abated under Rule 26.

(2) The lawyer has not engaged nor attempted to engage in the unauthorized practice of
law during the period of suspension or disbarment.

(3) If the lawver was suffering under a physical or mental disability or infirmity at the
time of suspension or disbarment. including alcohol or other drug abuse, the disability
or infirmity has been removed. Where alcohol or other drug abuse was a causative
factor in the lawyer's misconduct, the lawyer shall not be reinstated or readmitted

unless:
(a) the lawyer has pursued appropriate rehabilitative treatment;

(b) the lawyer has abstained from the use of alcohol or other drugs for at least

fone year]; and

(c) the lawyer is likely to continue to abstain from alcohol or other drugs.

(4) The lawyer recognizes the wrongfulness and seriousness of the misconduct for
which the lawyer was suspended or disbarred.

(5) The lawyer has not engaged in any other professional misconduct since suspension

or disbarment.
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(6) Notwithstanding the conduct for which the lawyer was disciplined, the lawyer has the

requisite honesty and integrity to practice law.

(7) The lawyer has kept informed about recent developments in the law and is
competent to practice.

(8) In addition, a lawyer who has been disbarred must pass the bar examination and the
character and fitness examination.

F. 6 Review of Petition. Within [ninety] days after receiving a lawyer's petition for reinstatement

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or readmission, disciplinary counsel shall either: (1) advise the lawyer and the [board] court
that disciplinary counsel will stipulate to the lawyer's reinstatement or readmission, or (2)
advise the lawyer and the [board] court that disciplinary counsel opposes reinstatement or
readmission and request the [board] court to set a hearing.

Hearing; Report. Upon receipt of disciplinary counsel's request for a hearing, the [board]
court shall promptly refer the matter to a hearing committee. Within [ninety] days of the
request, the hearing committee shall conduct a hearing at which the lawyer shall have the
burden of demonstrating by clear and convincing evidence that he or she has met each of the
criteria in paragraph E or, if not, that there is good and sufficient reason why the lawyer
should nevertheless be reinstated or readmitted. The hearing committee shall file a report
with the [board] court containing its findings and recommendations. [The board shall
promptly review the report of the hearing committee and the record and shall file its own
findings and recommendations with the court]

Decision as to Reinstatement or Readmission. The court shall review the report filed by the
[hearing committee] [board] or any stipulation agreed to by the lawyer and disciplinary
counsel. If the court finds that the lawyer has complied with each of the criteria of paragraph
E, or has presented good and sufficient reason for failure to comply, the court shall reinstate
or readmit the lawyer. If the court reinstates or readmits the lawyer, the court shall issue a
written opinion setting forth the grounds for its decision; if the court denies reinstatement or
readmission, the court shall issue a written opinion setting forth the ground for its decision
and shall identify the period after which the lawyer may reapply. Generally, no lawyer should
be permitted to reapply for reinstatement or readmission within one year following an
adverse judgment upon a petition for reinstatement or readmission.
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Conditions of Reinstatement or Readmission. The court may impose conditions ona
lawyer's reinstatement or readmission. The conditions shall be imposed in cases where the
lawyer has met the burden of proof justifying reinstatement or readmission, but the court
reasonably believes that further precautions should be taken to protect the public.

SIO The court may impose any conditions that are reasonably related to the grounds for the

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lawyer's original suspension or disbarment, or to evidence presented at the hearing regarding
the lawyer's failure to meet the criteria for reinstatement or readmission. Passing the bar
examination and the character and fitness examination shall be conditions to readmission
following disbarment. The conditions may also include any of the following: limitation upon
practice (to one area of law or through association with an experienced supervising lawyer);
participation in continuing legal education courses; monitoring of the lawyer's practice (for
compliance with trust account rules, accounting procedures, or office management
procedures); abstention from the use of drugs or alcohol; active participation in Alcoholics
Anonymous or other alcohol or drug rehabilitation program; monitoring of the lawyer's
compliance with any other orders (such as abstinence from alcohol or drugs, or participation
in alcohol or drug rehabilitation programs). If the monitoring lawyer determines that the
reinstated or readmitted lawyer's compliance with any condition of reinstatement or
readmission is unsatisfactory and that there exists a potential for harm to the public, the
monitoring lawyer shall notify the court and, where necessary to protect the public, the
lawyer may be suspended from practice under Rule 20(8).

Reciprocal Reinstatement or Readmission. Where the court has imposed a suspension or
disbarment solely on the basis of imposition of discipline in another jurisdiction, and where
the lawyer gives notice to the court that he or she has been reinstated or readmitted in the
other jurisdiction, the court shall determine whether the lawyer should be reinstated or
readmitted. Unless disciplinary counsel presents evidence demonstrating procedural
irregularities in the other jurisdiction's proceeding or presents other compelling reasons, the
court shall reinstate or readmit a lawyer who has been reinstated or readmitted in the
jurisdiction where the misconduct occurred.

Commentary

Readmission occurs when a disbarred lawyer is returned to practice. Since the purpose of lawyer
discipline is not to punish, readmission may be appropriate; the presumption, though, should be
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against readmission. In no event should a lawyer be considered for readmission until at least five
years after the effective date of disbarment.

Reinstatement occurs when a suspended lawyer is returned to practice. Reinstatement is
appropriate when a lawyer shows rehabilitation. Application for reinstatement should be
permitted at the expiration of the ordered period of suspension. While reinstatement should not
be ordered prior to the expiration of the ordered period of suspension, application for
reinstatement may be allowed up to six months preceding the expiration so that the time
required for a decision on the application does not unfairly prolong the suspension.

As a condition of readmission or reinstatement, a disbarred or suspended lawyer is usually
required to establish rehabilitation, fitness to practice and competence, and may be required to
pay the costs of the disciplinary proceedings, to make restitution, to disgorge all or part of the
lawyer's or law firm's fee, to pass an examination in professional responsibility, and to comply with
court orders.

There is a compelling reason not to grant reciprocal reinstatement under paragraph Jif the forum
jurisdiction imposed a longer suspension than the original jurisdiction or if there was a delay
between the imposition of the original discipline and the imposition of the reciprocal discipline.

Next - i 2G, ABATEMENT OR MODIFICATION OF CONDITIONS OF DISCIPLINE,
REINSTATEMENT, OR READMISSION

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APPENDIX K

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2008
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Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 293 of 372 PAGEID #: 293

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Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 297 of 372 PAGEID #: 297

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Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 307 of 372 PAGEID #: 307

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Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 308 of 372 PAGEID #: 308

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Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 309 of 372 PAGEID #: 309

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Case: 2:24-cv-01200-ALM-CMV Doc #: 1 Filed: 03/15/24 Page: 310 of 372 PAGEID #: 310

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APPENDIX L
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REINSTATEMENT CRITERIA (BY JURISDICTION) — 7/20/2022

State/Territory Permanent Criteria
Disbarment?
Alabama No Alabama Rule of Disciplinary Procedure, accessed here,
Rule 28 addressing Reinstatement, accessed here and its
Can seek Appendix A, accessed here.

reinstatement
after 5 years

The petitioner shall have the burden of demonstrating by
clear and convincing evidence that he or she has the moral
qualifications to practice law in this state and that his or her:
resumption of the practice of law within the state will not be
detrimental to the integrity and standing of the Bar or the
administration of justice, and will not be subversive to the
public interest.

Potential Requirements:

(1) Restitution;

(2) Payment of the costs of reinstatement proceedings;

(3) Probation or limitation upon practice;

(4) Appointment of a probation supervisor, monitor, or
trustee or receiver;

(5) Proof of passage of the bar examination, the professional
responsibility examination, or both, or any other proof of
competency deemed appropriate by the Disciplinary Board;
(6) Attendance at continuing legal education courses in
addition to the annual mandatory continuing legal education
requirement; and

(7) Any other requirement that the Disciplinary Board deems
appropriate.

Alaska

No

Can seek
reinstatement
after 5 years

Alaska Bar Rule 29, accessed here

Petitioner will have the burden of demonstrating by clear and
convincing evidence that (s)he has the moral qualifications,
competency, and knowledge of law required for admission to
the practice of law in this State and that his or her
resumption of the practice of law in the State will not be
detrimental to the integrity and standing of the Bar, or to the
administration of justice, or subversive of the public interest.

The retaking and passing of Alaska's general applicant bar
examination will be conclusive evidence that the Petitioner
possesses the knowledge of law necessary for reinstatement
to the practice of law in Alaska.

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Arizona No Arizona Rules of the Supreme Court 64
Can seek In order to be reinstated to the active practice of law, a
reinstatement disbarred lawyer must pass the bar exam and show by clear
after 5 years and convincing evidence that the lawyer has been
rehabilitated and possesses the moral qualifications and
knowledge of the law required for admission to practice law
in this state in the first instance.
A lawyer convicted of a serious crime is presumed to be
disqualified for reinstatement, but this is rebuttable by clear
and convincing evidence.
Arizona Rules of the Supreme Court 65
The lawyer requesting reinstatement shall have the burden of
demonstrating by clear and convincing evidence the lawyer's
rehabilitation, compliance with all applicable discipline
orders and rules, fitness to practice, and competence.
Arkansas No, unless Procedures of the Arkansas Supreme Court Regulating
disbarment was | Professional Conduct
a result of a
serious crime or | No attorney who has been disbarred shall be readmitted
conduct except upon application made to the State Board of Law
reflecting Examiners in accordance with the Rules Governing
adversely on Admission To The Bar, or any successor rules, and the
individual’s approval of the Arkansas Supreme Court.
honesty or
trustworthiness
Can seek
reinstatement
after 5 years
California No California Rules of Procedure (Ch. 3, Rule 5.440)
Can seek Petitioners for reinstatement must:
reinstatement - Pay all discipline costs and monetary sanctions
after 5 years - Reimburse any Client Security Fund payments
- Pass the Attorneys’ Examination within three years prior to
the filing of the petition for reinstatement.
- pass a professional responsibility examination within one
year prior to filing the petition;
- establish their rehabilitation; and
- establish present moral qualifications for reinstatement.

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Colorado No Colorado Rules of Professional Conduct Rule 242.39
Can seek To petition for readmission, the lawyer must have satisfied
reinstatement the supreme court's bar examination and MPRE
after 8 years requirements within the preceding eighteen months.

The petitioner must prove by clear and convincing evidence
that the petitioner:

(A) Has been rehabilitated, as measured by considerations
including the circumstances and seriousness of the original
misconduct, conduct since being disbarred or suspended,
remorse and acceptance of responsibility, how much time
has elapsed, restitution for any financial injury, and evidence
that the petitioner has changed in ways that reduce the
likelihood of future misconduct;

(B) Has complied with all applicable disciplinary orders and
with all provisions of Chapter 20, including the Colorado
Rules of Professional Conduct; and

(C) Is fit to practice law, as measured by the petitioner's
satisfaction of the following eligibility requirements for the
practice of law, as applicable:

(i) Honesty and candor with clients, lawyers, courts,
regulatory authorities, and others;

(ii) The ability to reason logically, recall complex factual
information, and accurately analyze legal problems;

(iii) The ability to use a high degree of organization and
clarity in communicating with clients, lawyers, judicial
officers, and others;

(iv) The ability to use good judgment on behalf of clients
and in conducting professional business;

(v) The ability to act with respect for and in accordance with
the law;

(vi) The ability to exhibit regard for the rights and welfare of
others:

(vil) The ability to comply with the Colorado Rules of
Professional Conduct; state, local, and federal laws;
regulations, statutes, and rules; and orders of tribunals;

(viii) The ability to act diligently and reliably in fulfilling
obligations to clients, lawyers, courts, and others;

(ix) The ability to be honest and use good judgment in
personal financial dealings and on behalf of clients and
others; and

(x) The ability to comply with deadlines and time
constraints.

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Connecticut

No

Can seek
reinstatement
after 5 years, but
12 years for
misappropriation

Connecticut Rule of Superior Court 2-53
Connecticut Practice Book, Sec. 2-53

In the case of misappropriation, full restitution must be made
before reinstatement can be considered. Petitioner must pass
the MPRE, have completed any criminal sentence, and any
other disciplinary conditions imposed.

Delaware

No

Can seek
reinstatement
after 5 years

Delaware Lawyers’ Rules of Disciplinary Procedure, Rule
22

The petitioner shall have the burden of demonstrating, by
clear and convincing evidence:

(1) the petitioner’s professional rehabilitation, including
substantial rehabilitation from any drug or alcohol problem
from which the petitioner had suffered;

(2) the petitioner’s compliance with all applicable
disciplinary orders and other rules, including conditions of
restitution;

(3) the petitioner’s fitness to practice;

(4) the petitioner’s overall competence and current
awareness of recent developments in the law;

(5) that the petitioner has not engaged in any other
professional misconduct in any jurisdiction since suspension
or disbarment;

(6) that the petitioner sincerely recognizes the wrongfulness
and seriousness of any misconduct upon which the
suspension or disbarment was predicated;

(7) that the petitioner has the requisite honesty and
professional integrity to resume the practice of law; and

(8) that the petitioner’s resumption of the practice of law will
not be detrimental to the administration of justice.

The Court may attach any conditions it deems appropriate to
4 reinstatement order, including but not limited to, restitution
to former clients or third parties, the successful completion
of the bar examination administered by the Board of Bar
Examiners, or a period of probation with such terms and
conditions as the Court deems appropriate.

District of
Columbia

No

Can seek
reinstatement
after 5 years

Rules Governing DC Bar/Rule XI] Disciplinary Proceedings,
Section 16

An attorney seeking reinstatement shall have the burden of
proof to establish by clear and convincing evidence:

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(a)That the attorney has the moral qualifications,
competency, and learning in law required for readmission;
and

(b) That the resumption of the practice of law by the
attorney will not be detrimental to the integrity and standing
of the Bar, or to the administration of justice, or subversive
to the public interest.

If the attorney is found fit to resume the practice of law, the
Court may condition reinstatement on the making of partial
or complete restitution to persons harmed by the misconduct
which led to the suspension or disbarment, or upon the
payment of all or part of the costs of the reinstatement
proceedings, or both. The reinstatement may also be
conditioned upon the furnishing of evidence, in a form
determined by the Court, of the attorney's successful
completion of an examination for reinstatement subsequent
to the date of suspension or disbarment. The Court may
impose such other conditions on reinstatement as it deems
appropriate.

after 5 years

Florida No Florida Bar Rules of Discipline
Rule 3-7.10(n)

Can seek
reinstatement A former member who has been disbarred may be admitted
after 5 years, or | again only upon full compliance with the rules and
longer if regulations governing admission to the bar, and payment of
designated in all restitution and disciplinary costs.
disbarment order

Georgia No Georgia Bar Rules Governing Admission, Part A, Section 10
Can seek An applicant who is seeking reinstatement to the State Bar of
reinstatement Georgia pursuant to Bar Rule 1-501(b) shall file a fitness

application after completing the requirements contained in
that Bar Rule and shall not be required to take the bar
examination. An applicant who has been terminated by the
State Bar

pursuant to Bar Rule 1-501(c) is required to comply with the
provisions of that Bar Rule and is required to take and pass
the bar examination before being readmitted.

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after 5 years

Hawaii No Hawaii Rules of the Supreme Court 2.17
Hawaii Disciplinary Rule 30
Can seek
reinstatement To be reinstated, a disbarred attorney must show proof of the
after 5 years following by clear and convincing evidence: rehabilitation,
(as of fitness to practice law, competence and compliance with all
6/14/2022) applicable disciplinary or disability orders and rules, and
compliance with any other requirements imposed by the
supreme court, which may include the successful completion
of requirements for passing the bar examination.
No suspended or disbarred attorney shall be eligible for
reinstatement except upon a showing that he or she has
reimbursed both the Board for all costs ordered including
those incurred under RSCH 2.20, if any, and the Lawyers’
Fund for Client Protection for monies paid out on account of
the attorney's conduct, together with interest at the Hawai'i
statutory judgment rate.
Idaho No Idaho Bar Commission Rule 506
Can seek A disbarred lawyer seeking reinstatement shall have the
reinstatement burden of overcoming the rebuttable presumption of
after 5 years "unfitness to practice law."
Illinois No Illinois Supreme Court Rule 767
Can seek A hearing panel considering reinstatement of a disbarred
reinstatement attorney shall consider the following factors, and such other

factors as the panel deems appropriate, in determining the
petitioner's rehabilitation, present good character and current
knowledge of the law:

(1) the nature of the misconduct for which the petitioner was
disciplined;

(2) the maturity and experience of the petitioner at the time
discipline was imposed;

(3) whether the petitioner recognizes the nature and
seriousness of the misconduct;

(4) when applicable, whether petitioner has made restitution;
(5) the petitioner's conduct since discipline was imposed;
and

(6) the petitioner's candor and forthrightness in presenting
evidence in support of the petition.

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Indiana Yes Indiana Admission Bar & Discipline Rules (Section 23, Par.

3(a))

One of the following types of discipline may be imposed
upon any attorney found to have committed professional
misconduct: (1) permanent disbarment from the practice
of law; (2) suspension from the practice of law without
automatic reinstatement; (3) suspension from the practice of
law for a fixed period of time, not to exceed 180 days, with
provision for automatic reinstatement after the expiration of
the fixed period, upon any conditions as the Supreme Court
may specify in the order of suspension; (4) a public
reprimand; (5) a private reprimand; or (6) a private
administrative admonition.

lowa No lowa Rule 34.25 Procedure on application for reinstatement
Can seek To be reinstated, a revoked attorney must:
reinstatement a. File the attorney's character and fitness application with

after 5 years the National Conference of Bar Examiners (NCBE) and pay
the NCBE's application fee.

b. Pay an administrative fee of $525 to the Iowa Board of
Law Examiners.

c. Include satisfactory proof that the applicant is of good
moral character and is in all respects worthy of readmission
to the bar. The applicant must provide a detailed affidavit
describing the applicant's personal, educational, and work
history since the date of revocation. The application must be
accompanied by the recommendation of at least three
reputable attorneys currently practicing law in the judicial
district in which the applicant then lives and has lived at
least one year prior to filing the application. If the applicant
does not reside in the district in which the applicant lived at
the time of the revocation, the applicant must also file a
recommendation from three reputable attorneys currently
practicing law in the district where the applicant resided at
the time of revocation.

d, Include satisfactory proof that the applicant, at the time of
the application, has paid all fees required by the provisions
of chapters 39, 41, and 42 of the Iowa Court Rules.

e. Include satisfactory proof that the Client Security Trust
Fund has been repaid in full, or that the Client Security
Commission has approved a repayment plan, for all client
security claim payments paid from the Client Security Trust
Fund under Iowa Court Rule 39.9 based on the applicant's
conduct.

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f. Include satisfactory proof that the applicant, at the time of
the application, has paid all costs assessed against the
applicant under rule 36.24.

The supreme court in its discretion may place conditions on
readmission, including, but not limited to, passing the lowa
bar examination. If the supreme court does not require the
applicant to pass the bar examination, it will impose a
requirement that the applicant must report up to 100 hours of
continuing legal education. The applicant must post a scaled
score of at least 80 on the Multistate Professional
Responsibility Exam (MPRE) as a condition of readmission.
The MPRE score must be from a test taken no longer than
three years prior to the date of filing of the application for
readmission.

Kansas

No

Can seek
reinstatement
after 5 years

Kansas Rule Relating to the Discipline of Attorneys 322

The petitioner has the burden of proof to establish that the
petitioner is fit to practice law and that the following factors
weigh in favor of reinstatement.

(A) the petitioner's current moral fitness;

(B) the petitioner's consciousness of the wrongful nature of
the petitioner's misconduct and the disrepute the misconduct
brought the profession;

(C) the seriousness of the misconduct leading to disbarment
or suspension does not preclude reinstatement;

(D) the petitioner's conduct since the Supreme Court
imposed discipline;

(E) the petitioner's present ability to practice law,

(F) the petitioner's compliance with the Supreme Court's
orders;

(G) the petitioner has not engaged in the unauthorized
practice of law;

(H) the petitioner has received adequate treatment or
rehabilitation for any substance abuse, infirmity, or problem;
and

(1) the petitioner has resolved or attempted to resolve any
other initial complaint, report, or docketed complaint against
the petitioner.

If the Supreme Court grants a petition for reinstatement, it
may order the attorney to comply with any condition or
limitation on the attorney's practice. The court may also
order that the attorney's practice be supervised for a period
of time.

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Kentucky

Yes

Kentucky Rules of the Supreme Court 3.380

Upon findings of a violation of these rules, discipline may be
administered by way of public reprimand, suspension from
practice for a definite time, all of which may be with or
without such conditions as the Court may impose, or
permanent disbarment,

Louisiana

Yes (by
discretion of the
Court)

Louisiana Rules for Lawyer Disciplinary Enforcement
10.A.)

Disbarment by the court. In any order or judgment of the
court in which a lawyer is disbarred, the court retains the
discretion to permanently disbar the lawyer and permanently
prohibit any such lawyer from being readmitted to the
practice of law.

Maine

No

Can seek
reinstatement
after 5 years,
unless otherwise
provided in
disbarment
Order

Maine Bar Rule 29
Criteria for Reinstatement. A petitioner may be reinstated
only if the petitioner meets each of the following criteria:
(1) the petitioner has fully complied with the terms and
conditions of all prior disciplinary orders issued in Maine or
in any other jurisdiction except to the extent they are abated
under Rule 30, unless such suspension, disbarment, or
discipline is solely the result of reciprocal action resulting
from disciplinary action taken by Maine authorities;
(2) the petitioner has not engaged or attempted to engage in
the unauthorized practice of law during the period of
suspension or disbarment;
(3) if the petitioner was suffering under a physical or
mental disability or infirmity at the time of suspension or
disbarment, including alcohol or other drug abuse, the
disability or infirmity has been removed. Where alcohol or
other drug abuse was a causative factor in the petitioner’s
misconduct, the petitioner shall not be reinstated unless:

(A) _ the petitioner has pursued appropriate
rehabilitative treatment;

(B) the petitioner has abstained from the use of
alcohol or other drugs for at least one year; and

(C) the petitioner is likely to continue to abstain from
alcohol or other drugs;
(4) the petitioner recognizes the wrongfulness and
seriousness of the misconduct for which the petitioner was
suspended or disbarred;
(5) the petitioner has not engaged in any other professional
misconduct since suspension or disbarment,
(6) notwithstanding the conduct for which the petitioner
was disciplined, the petitioner has the requisite honesty and
integrity to practice law;

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(7) the petitioner has met the CLE requirements of Rule 5
for each year the attorney has been suspended or disbarred,
but need not complete more than 24 hours of approved credit
hours for that entire period of absence from practice,
provided that (i) no more than one half of the credit hours
are earned through self study; (ii) at least two credit hours
are primarily concerned with the issues of ethics or
professionalism; and (iii) at least two credit hours are
primarily concerned with issues of recognition and
avoidance of harassment and discriminatory communication
or conduct related to the practice of law; and

(8) In addition to all of the requirements in this provision,
the attorney shall comply with Rule 4(a) and (), and remit
to the Board an arrearage registration payment equal to the
total registration fee that the attorney would have been
obligated to pay the Board under Rule 4(a) and (b) had the
attorney remained actively registered to practice in Maine.

The Court may impose conditions on a petitioner’s
reinstatement that are reasonably related to the grounds for
the petitioner’s original suspension or disbarment, or to
evidence presented at the hearing regarding the petitioner’s
failure to meet the criteria for reinstatement. Passing the bar
examination and the character and fitness examination shall
be conditions to reinstatement following disbarment. The
conditions may include, but are not limited to any of the
following: (1) limitation upon practice to one area of law or
through association with an experienced supervising lawyer;
(2) participation in continuing legal education courses; (3)
monitoring of the petitioners practice for compliance with
trust account rules, account procedures, or office
management procedures; (4) abstention from the use of
drugs or alcohol; (5) active participation in an alcohol or
drug rehabilitation program; (6) active participation in
mental health treatment; or (7) monitoring of the petitioners
compliance with these conditions and any other orders.

Maryland

No

No minimum

Maryland Rule of Disciplinary Procedure 19-752

In determining whether to grant a petition for reinstatement,

period — the Court of Appeals shall consider the nature and
whatever circumstances of the attorney's conduct that led to the
timeframe is disciplinary or remedial order and the attorney's (A)
indicated in subsequent conduct, (B) current character, and (C) current
disbarment qualifications and competence to practice law.

Order

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The Court may order reinstatement if the attorney meets
each of the following criteria or presents sufficient reasons
why reinstatement should be ordered in the absence of
satisfaction of one or more of those criteria:

(A) the attorney has complied in all respects with the
provisions of Rule 19-741 or, if applicable, 19-743 and with
the terms and conditions of prior disciplinary or remedial
orders;

(B) the attorney has not engaged in or attempted or offered
to engage in the unauthorized practice of law during the
period of disbarment, suspension, or inactive status;

(C) if the attorney was transferred to disability inactive
status, the incapacity or infirmity, including alcohol or drug
abuse, no longer exists and is not likely to recur in the
future;

(D) if the attorney was disbarred or suspended, the petitioner
recognizes the wrongfulness and seriousness of the
professional misconduct for which discipline was imposed;
(E) the attorney has not engaged in any professional
misconduct or, other than minor traffic or municipal
infractions, any unlawful activity since the imposition of
discipline;

(F) the attorney currently has the requisite honesty and
integrity to practice law;

(G) the attorney has kept informed about recent
developments in the law and is competent to practice law;
and

(H) the attorney has complied with all financial obligations
required by these Rules or by court order, including (i)
reimbursement of all amounts due to the attorney's former
clients, (ii) payment of restitution which, by court order, is
due to the attorney's former clients or any other person, (iii)
reimbursement of the Client Protection Fund for all claims
that arose out of the attorney's practice of law and
satisfaction of all judgments arising out of such claims, and
(iv) payment of all costs assessed by court order or otherwise
required by law,

An order that reinstates an attorney may include, as a
condition precedent to reinstatement or as a condition of
probation after reinstatement that the attorney:

(1) take the oath of attorneys required by Code, Business
Occupations and Professions Article, § 10-212;
(2) pass the Uniform Bar Examination;

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(3) successfully complete the Maryland Law Component
required for admission to the Maryland Bar;

(4) take the Multistate Professional Responsibility
Examination and earn a score that meets or exceeds the
passing score in Maryland established by the Board of Law
Examiners;

(5) attend a bar review course approved by Bar Counsel and
submit to Bar Counsel satisfactory evidence of attendance;
(6) submit to Bar Counsel evidence of successful completion
of a professional ethics course at an accredited law school,
(7) engage an attorney satisfactory to Bar Counsel to
monitor the attorney's legal practice for a period stated in the
order of reinstatement;

(8) limit the nature or extent of the attorney's future practice
of law in the manner set forth in the order of reinstatement;
(9) participate in a program tailored to individual
circumstances that provides the attorney with law office
management assistance, attorney assistance or counseling,
treatment for substance or gambling abuse, or psychological
counseling;

(10) demonstrate, by a report of a health care professional or
other evidence, that the attorney is mentally and physically
competent to resume the practice of law;

(11) issue an apology to one or more persons; or

(12) take any other corrective action that the Court deems
appropriate.

Massachusetts | No Supreme Judicial Court Rule 4:01
Can seek A petitioner for reinstatement shall have the burden of
reinstatement demonstrating that he or she has the moral qualifications,
after 8 years, competency and learning in law required for admission to
unless court practice law in this Commonwealth, and that his or her
orders otherwise | resumption of the practice of law will not be detrimental to
the integrity and standing of the bar, the administration of
justice, or to the public interest.
Michigan No MCR 9.119 described in this FAQ
Rule 9.123 / Rule 9.124
Can seek
reinstatement Lawyers who have been disbarred and are seeking

after 5 years

reinstatement must establish by clear and convincing
evidence that:

(1) they desire in good faith to be restored to the privilege of
practicing law in Michigan;

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(2) the term of the suspension ordered has elapsed or 5 years
have elapsed since their disbarment or resignation;

(3) they have not practiced or attempted to practice law
contrary to the requirement of their suspension or
disbarment;

(4) they have complied fully with the order of discipline;

(5) their conduct since the order of discipline has been
exemplary and above reproach;

(6) they have a proper understanding of and attitude toward
the standards that are imposed on members of the bar and
will conduct themselves in conformity with those standards;
(7) taking into account all of the past conduct, including the
nature of the misconduct which led to the revocation or
suspension, they nevertheless can safely be recommended to
the public, the courts, and the legal profession as a person fit
to be consulted by others and to represent them and
otherwise act in matters of trust and confidence, and in
general to aid in the administration of justice as a member of
the bar and as an officer of the court;

(8) they are in compliance with the requirements of subrule
(C), if applicable; and

(9) they have reimbursed the client security fund of the State
Bar of Michigan or has agreed to an arrangement satisfactory
to the fund to reimburse the fund for any money paid from
the fund as a result of his or her conduct. Failure to fully
reimburse as agreed is ground for vacating an order of
reinstatement.

An attorney who is disbarred must be recertified by the
Board of Law Examiners before the attorney may be
reinstated to the practice of law.

A reinstatement order may grant reinstatement subject to
conditions that are relevant to the established misconduct or
otherwise necessary to insure the integrity of the profession,
to protect the public, and to serve the interests of justice.

Minnesota No Rule 18
No set Unless specifically waived by this Court, no lawyer shall be
timeframe for reinstated to the practice of law following the lawyer's
seeking disbarment until the lawyer shall have satisfied (1) the
reinstatement requirements imposed under the rules for Continuing Legal

Education on members of the bar as a condition to a change
from a restricted to an active status and (2) any subrogation
claim against the lawyer by the Client Security Board,

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Minnesota standards for reinstatement are laid out in the case
of In re Anderley 696 N.W.2d 380 (2005). An applicant
must have “undergone a moral change,” plus these five
criteria are considered: 1) recognition that the previous
conduct was wrong, 2) the length of time since the
misconduct and disbarment; 3) the seriousness of the
original misconduct; 4) the attorney’s physical or mental
iliness or pressures that are susceptible to correction, and 5)
the attorney’s intellectual competency to practice law.

after 5 years

Mississippi No, but felony Rules of Discipline (12(e))
conviction may
result in A disbarred attorney seeing reinstatement shall be required
permanent to take and pass the complete Bar examination administered
disbarment by the Mississippi Board of Bar Admissions and achieve the
score required for admission of new attorneys to the Bar and
Can seek the Multi-State Professional Responsibility Exam with the
reinstatement score required for admission of new attorneys to the Bar.
after 5 years
Petitioners must also show that they have made full amends
and restitution in connection with their prior misconduct,
give specific reasons justifying reinstatement, and discuss in
detail their rehabilitation and attainment of the requisite
moral character and legal learning to be reinstated to the
Privilege of practicing law.
Missouri No Rule 5.28
Can seek Petitioners for reinstatement are required to show that :
reinstatement (1) The cause for suspension or disbarment has abated;

(2) All persons injured as a result of the conduct that resulted
in the loss of the privilege to practice law have received
restitution, their claims have been discharged by operation of
law, or the injured persons have been notified at least 10
days but not more than 90 days in advance of the filing of
the petition for reinstatement,

(3) All special conditions for reinstatement required by this
Coutt at the time the privilege to practice law was lost have
been accomplished; and

(4) The person has taken within the two years immediately
preceding filing of the petition the multistate professional
responsibility examination and scored a grade at least equal
to that established by the board of law examiners as passing
at the time the examination was taken.

(5) The person has taken the bar examination prescribed by
Rule 8.08 and has attained a passing score within one year
prior to the date of filing the petition.

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The person must establish, by clear and convincing
evidence, that the person is of good moral character, is fit to
practice law, and the best interest of the public will be served
by reinstatement of the person's license to practice law.
Factors to consider in determining whether the person has
met this burden include the following:

(1) The person's acceptance of responsibility for wrongdoing
with sincerity and honesty and a lack of malice toward those
who brought evidence against the person;

(2) The extent of the person's rehabilitation, as demonstrated
by good current reputation for character and moral standing
in the community; .

(3) The nature and severity of the misconduct leading to
discipline;

(4) The person's conduct since discipline, including strict
compliance with the specific conditions of any disciplinary,
judicial, administrative, or other order, where applicable;

(5) The time elapsed since discipline,

(6) Other instances of dishonesty, criminal behavior,
professional discipline, unauthorized practice of law,
academic and employment misconduct, financial
irresponsibility, or involvement in or neglect of legal and
professional! matters;

(7) The cumulative effect of all misconduct;

(8) The person's current competency and qualifications to
practice law;

(9) Restitution;

(10) Candor in the discipline and reinstatement processes;
and

(11) Positive social contributions since the misconduct.

Montana No Rules for Lawyer Disciplinary Enforcement (Rule 29)
Can seek The petitioner shall have the burden of demonstrating by
reinstatement clear and convincing evidence that they meet the following
after 5 years criteria or, if not, why they should nevertheless be reinstated:

(1) The lawyer has fully complied with the terms of all prior
disciplinary orders; (2) The lawyer has not engaged nor
attempted to engage in the unauthorized practice of law; (3)
If the lawyer was suffering under a physical or mental
disability or infirmity at the time of suspension, including
alcohol or other drug abuse, the disability or infirmity has
been removed, and where alcohol or other drug abuse was a
causative factor in the lawyer's misconduct, the lawyer: (a)
has pursued appropriate rehabilitative treatment; and (b) has

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abstained from the use of alcohol or other drugs for at least
one year, and is likely to continue to abstain from alcohol or
other drugs; (4) The lawyer recognizes the wrongfulness and
seriousness of the misconduct; (5) The lawyer has not
engaged in any other professional misconduct since
suspension; (6) The lawyer has the requisite honesty and
integrity to practice law; and (7) The lawyer has kept
informed about recent developments in the law and is
competent to practice.

reinstatement
after 7 years

Nebraska No Rule 3-310
All applications for reinstatement from an order of
Can seek disbarment shall include a character and fitness evaluation
reinstatement pursuant to Neb. Ct. R. § 3-803(F). Upon completion of the
after 5 years character and fitness evaluation, the Commission shall make
a recommendation to the Supreme Court concerning the
member’s character and fitness to practice law.
Nevada Yes Rule 102
Misconduct is grounds for “irrevocable disbarment” by the
supreme court.
New Hampshire | Yes N.H. R. Sup. Ct. 37
Can seek The petition shall be under oath and shall: (A) specify with

particularity the manner in which the petitioner has fully
complied with all of the terms and conditions set forth in all
prior disciplinary orders; (B) certify, if the attorney was
disbarred in New Hampshire as a result of having been
disbarred in another jurisdiction, that they have been
readmitted to practice law in the other jurisdiction prior to
applying for readmission in New Hampshire; (C) certify that
the petitioner has taken the New Hampshire Bar
Examination within one year of the filing of the petition and
has received a passing grade as established by the Board of
Bar Examiners; and (D) certify that the petitioner has taken
the Multistate Professional Responsibility Examination after
entry of the order of disbarment, and has received a passing
grade as established by the Board of Bar Exam.

The petitioner shall bear the burden of demonstrating by
clear and convincing evidence that they have the competence
and learning in the law required for admission to practice
law in this State and that the resumption of the practice of
law will be neither detrimental to the integrity and standing
of the bar or the administration of justice nor subversive to

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the public interest. The petitioner shall also bear the burden
of demonstrating by clear and convincing evidence that they
have good moral character and fitness.

New Jersey Yes Rule 1:20 (5A(a)(1))
An attorney who is disbarred shall have his or her name

permanently stricken from the roll of attorneys.

New Mexico Yes Rule 17-214
A person who has been disbarred may not apply for
reinstatement,
New York No Court Rules 1240.16&808.16
Lawyers seeking reinstatements must show by clear and
Can seek convincing evidence, that: they have complied with the order
reinstatement of disbarment, suspension or the order removing the
after 7 years respondent from the roll of attorneys; they have has

complied with the rules of the court; they have the requisite
character and fitness to practice law; and it would be in the
public interest to reinstate them to the practice of law.

North Carolina | No 27 NCAC Chapter 1B- Seciton.0100
.0129 reinstatement
Can seek
reinstatement The petitioner will have the burden of proving by clear,
after 5 years cogent, and convincing evidence that

- the petitioner has reformed and presently possesses the
moral qualifications required for admission to practice law in
this state taking into account the gravity of the misconduct
which resulted in the order of disbarment;

- permitting the petitioner to resume the practice of law
within the state will not be detrimental to the integrity and
standing of the bar, to the administration of justice, or to the
public interest, taking into account the gravity of the
misconduct which resulted in the order of disbarment;

- the petitioner's citizenship has been restored if the
petitioner has been convicted of or sentenced for the
commission of a felony;

- the petitioner has complied with Rule .0128 of this
subchapter;

- the petitioner has complied with all applicable orders of the
commission and the council;

- the petitioner has complied with the orders and judgments
of any court relating to the matters resulting in the
disbarment;

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- the petitioner has not engaged in the unauthorized practice
of law during the period of disbarment;

- the petitioner has not engaged in any conduct during the
period of disbarment constituting grounds for discipline
under G.S. 84-28(b);

- the petitioner understands the current Rules of Professional
Conduct. Participation in continuing legal education
programs in ethics and professional responsibility for each of
the three years preceding the petition date may be considered
on the issue of the petitioner's understanding of the Rules of
Professional Conduct;

- the petitioner has reimbursed the Client Security Fund of
the North Carolina State Bar for all sums, including costs
other than overhead expenses, disbursed by the Client
Security Fund as a result of the petitioner's misconduct.

- the petitioner has reimbursed all sums which the
Disciplinary Hearing Commission found in the order of
disbarment were misappropriated by the petitioner and
which have not been reimbursed by the Client Security
Fund;

- the petitioner paid ail dues, Client Security Fund
assessments, and late fees owed to the North Carolina State
Bar as well as all attendee fees and late penalties due and
owing to the Board of Continuing Legal Education at the
time of disbarment.

_ if a trustee was appointed by the court to protect the
interests of the petitioner’s clients, the petitioner has
reimbursed the State Bar all sums expended by the State Bar
to compensate the trustee and to reimburse the trustee for
any expenses of the trusteeship;

- the petitioner has properly reconciled all trust or fiduciary
accounts, and all entrusted funds of which the petitioner took
receipt have been disbursed to the beneficial owner(s) of the
funds or the petitioner has taken all necessary steps to
escheat the funds.

If less than seven years have elapsed between the effective
date of the disbarment and the filing date of the petition for
reinstatement, the petitioner will also have the burden of
proving by clear, cogent, and convincing evidence that the
petitioner has the competency and learning in the law
required to practice law in this state.

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Factors which may be considered in deciding the issue of
competency include

(i) experience in the practice of law;

(ii) areas of expertise;

(iii) certification of expertise;

(iv) participation in continuing legal education programs in
each of the three years immediately preceding the petition
date;

(v) certification by three lawyers who are familiar with the
petitioner's present knowledge of the law that the petitioner
is competent to engage in the practice of law.

Attainment of a passing score on a regularly scheduled
written Uniform Bar Examination prepared by the National
Conference of Bar Examiners and successful completion of
the State-Specific Component prescribed by the North
Carolina Board of Law Examiners, no more than nine
months before filing the petition, and taken voluntarily by
the petitioner, shall be conclusive evidence on the issue of
the petitioner's competence to practice law.

If the petition is filed seven years or more after the effective
date of disbarment, reinstatement will be conditioned upon:

(A) attainment of a passing score, within nine months
following an order conditionally granting the petition, on a
regularly-scheduled Uniform Bar Examination prepared by
the National Conference of Bar Examiners;

(B) attainment of a passing score, within nine months
following an order conditionally granting the petition, on a
regularly-scheduled Multistate Professional Responsibility
Examination administered by the National Conference of
Bar Examiners; and

(C) successful completion, within nine months following an
order conditionally granting the petition, of the State-
Specific Component prescribed by the North Carolina Board
of Law Examiners.

North Dakota No Court Rule 4.5
Can seek Reinstatement must be conditioned upon the certification by
reinstatement the bar examiners of the successful completion, after the
after 5 years order for reinstatement of an examination for admission to
practice.

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The petitioner has the burden of demonstrating the
petitioner's qualifications for reinstatement or readmission.

Factors that may be considered include evidence of the
following:

1. The petitioner's fitness and competence to practice law;
2. The petitioner has fully complied with the terms and
conditions of all applicable disciplinary orders and rules;
3.The petitioner has not engaged or attempted to engage in
the unauthorized practice of law during the period of
suspension or disbarment,

4.Where alcohol or drug abuse was a causative factor in the
lawyer's misconduct, the petitioner must show that the
petitioner has been successfully rehabilitated or is pursuing
appropriate rehabilitative treatment,

5.The petitioner recognizes the wrongfulness and
seriousness of the misconduct for which the petitioner was
suspended or disbarred;

6.The petitioner has not engaged in any other professional
misconduct since suspension or disbarment; or

7 Notwithstanding the conduct for which the petitioner was
disciplined, the petitioner has the requisite honesty and
integrity to practice law.

Ohio Yes Rule V.12(b

A person who is disbarred, who has resigned with
discipline pending, or, who has retired from the practice of
law on or after September |, 2007 shall not be readmitted to
the practice of law in Ohio.

Oldahoma No Oklahoma Rules Governing Disciplinary Procedure (Rule
4)
Can seek
reinstatement An applicant for reinstatement must establish affirmatively
after 5 years that, if readmitted, the applicant’s conduct will conform to

the high standards required of a member of the Bar. The
severity of the original offense and the circumstances
surrounding it shall be considered in evaluating an
application for reinstatement. The burden of proof, by clear
and convincing evidence, in all such reinstatement
proceedings shall be on the applicant. An applicant seeking
such reinstatement will be required to present stronger proof
of qualifications than one seeking admission for the first
time and must be sufficient to overcome the Supreme
Court’s former judgment adverse to the applicant. If
applicable, restitution, or the lack thereof, by the applicant to
an injured party will be taken into consideration.

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Specific findings shall be made upon each of the following:
(a) Whether or not the applicant possesses the good moral
character which would entitle him to be admitted to the
Oklahoma Bar Association;

(b) Whether or not the applicant has engaged in any
unauthorized practice of law during the period of suspension,
disbarment or resignation;

(c) Whether or not the applicant possesses the competency
and learning in the law required for admission to practice
law in the State of Oklahoma, except that any applicant who
has been disbarred shall be required to take and successfully
pass the regular examination given by the Board of Bar
Examiners of the Oklahoma Bar Association. Provided,
however, before the applicant shall be required to take and
pass the bar examination, they shall have a reasonable
opportunity to show by clear and convincing evidence that,
notwithstanding their long absence from the practice of law,
they have continued to study and kept themselves informed
as to current developments in the law sufficient to maintain
his competency.

Oregon Yes Bar Rule 6.1(e)
An attorney disbarred as a result of a disciplinary proceeding
Can seek commenced by formal complaint before January 1, 1996,
reinstatement may not apply for reinstatement until five years has elapsed
after 5 years from the effective date of his or her disbarment. An attorney

disbarred as a result of a disciplinary proceeding commenced
by a formal complaint after December 31, 1995, shall never
be eligible to apply and shall not be considered for
admission under ORS 9.220 or reinstatement under Title 8 of
these rules.

Pennsylvania No Pennsylvania Rules of Disciplinary Enforcement (218)
A disbarred attorney seeking reinstatement shall have the
Can seek burden of demonstrating by clear and convincing evidence
reinstatement that such person has the moral qualifications, competency
after 5 years and learning in law required for admission to practice law in

this Commonwealth and that the resumption of the practice
of law within the Commonwealth by such person will be
neither detrimental to the integrity and standing of the bar or
the administration of justice nor subversive of the public
interest.

Rhode Island No Reinstatement rule here.

An attorney seeking reinstatement shall have the burden of
demonstrating by clear and convincing evidence that they

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Can seek
reinstatement
after 5 years

have the moral qualifications, competency and learning in
law required for admission to practice law in this State and
that their resumption of the practice of law within the State
will be neither detrimental to the integrity and standing of
the Bar or the administration of justice nor subversive of the
public interest.

South Carolina

No

Can seek
reinstatement
after 5 years

As governed by Rule 33, found here.

A lawyer may be reinstated or readmitted only if the lawyer
meets each of the following criteria:

(1) The lawyer has fully complied with the terms and
conditions of all prior disciplinary orders.

(2) The lawyer has not engaged nor attempted to engage in
the unauthorized practice of law during the period of
suspension or disbarment.

(3) If the lawyer was suffering under a physical or mental
infirmity at the time of suspension or disbarment, including
alcoho! or other drug abuse, the infirmity has been removed.
Where alcohol or other drug abuse was a causative factor in
the lawyer's misconduct, the lawyer shall not be reinstated
unless:

(A) the lawyer has pursued appropriate rehabilitative
treatment;

(B) the lawyer has abstained from the use of alcohol or other
drugs for at least 1 year or the period of suspension,
whichever is shorter; and

(C) the lawyer is likely to continue to abstain from alcohol
or other drugs.

(4) The lawyer recognizes the wrongfulness and seriousness
of the misconduct for which the lawyer was suspended or
disbarred.

(5) The lawyer has not engaged in any other professional
misconduct since suspension or disbarment.

(6) Notwithstanding the conduct for which the lawyer was
disciplined, the lawyer has the requisite honesty and
integrity to practice law.

(7) The lawyer has kept informed about recent developments
in the law and is competent to practice.

(8) If disbarred, the lawyer has successfully completed the
examinations and training required by Rule 402(c)(5), (6)
and (8), SCACR.

(9) If suspended for a definite period of 9 months or more,
the lawyer has, during the period of suspension, completed
and reported continuing legal education and legal

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ethics/professional responsibility credits equal to those
required of regular members of the South Carolina Bar and
is currently in good standing with the Commission on
Continuing Legal Education and Specialization. The lawyer
must also complete the Legal Ethics and Practice Program
Ethics Schoo! within the year prior to filing the petition for
reinstatement. The lawyer shall attach to the petition for
reinstatement a statement from the Commission on
Continuing Legal Education and Specialization confirming
compliance with this requirement.

(10) If suspended or disbarred for conduct resulting in a
criminal conviction and sentence, the lawyer has
successfully completed all conditions of the sentence,
including, but not limited to, any period of probation or
parole.

(11) The lawyer has paid necessary expenses and
compensation approved by the Supreme Court to the
receiver or the attorney appointed to assist the receiver
pursuant to Rule 31, RLDE, to protect the interests of the
lawyer's clients for necessary expenses, or to the Lawyers’
Fund for Client Protection if the Fund has paid the appointed
attorney under Rule 31(g), RLDE.

(12) The lawyer has reimbursed the Lawyers’ Fund for
Client Protection for all claims paid on the lawyer's behalf or
has entered into a payment plan with the Commission on
Lawyer Conduct for reimbursement to the Lawyers’ Fund for
Client Protection for all claims paid on the lawyer's behalf.

The Supreme Court may impose any conditions that are
reasonably related to the grounds for the lawyer's original
suspension or disbarment, or to evidence presented at the
hearing regarding the lawyer's failure to meet the criteria for
reinstatement. The conditions may include, but are not
limited to, any of the following: limitation upon practice (to
one area of law or through association with an experienced
supervising lawyer); participation in continuing legal
education courses; monitoring of the lawyer's practice (for
compliance with trust account rules, accounting procedures,
or office management procedures); abstention from the use
of drugs or alcohol; active participation in Alcoholics
Anonymous or other alcohol or drug rehabilitation program,
monitoring of the lawyer's compliance with any other orders
(such as abstinence from alcohol or drugs, or participation in
alcoho! or drug rehabilitation programs).

South Dakota No Statute 16-19-83

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Can seek
reinstatement
after 5 years

Statute 16-19-84
Statute 16-19-86
Statute 16-19-87

The petitioner shall have the burden of demonstrating by
clear and convincing evidence that the petitioner has the
moral qualifications, competency, and learning in law
required for admission to practice law in this state and that
petitioner's resumption of the practice of law within the state
will not be detrimental to the integrity and standing of the
bar, the administration of justice, or subversive of the public
interest.

If the Supreme Court finds the petitioner fit to resume the

| practice of law, the Supreme Court shall enter a judgment of

reinstatement. The judgment may make reinstatement
conditional upon:

(1) The payment of all or part of the expenses of the
reinstatement and all prior proceedings; and

(2) The making of partial or complete restitution to parties
harmed by the misconduct which led to petitioner's
suspension or disbarment; and

(3) The furnishing of proof of competency as may be
required in the discretion of the Supreme Court, which proof
may include certification by the bar examiners of petitioner's
successful completion of examinations for admission to
practice after the suspension or disbarment

Tennessee

Yes

Individuals disbarred on or after July 1, 2020, are not
eligible for reinstatement.

On January 23, 2020, the Tennessee Supreme Court
amended its rules on discipline of lawyers to state that
attorneys who are “disbarred on or after July 1, 2020, are not
eligible for reinstatement.”

Release where information found is here.

Rule 9 (Disciplinary Enforcement) (Sec. 12.1) states:
Disbarment terminates the individual’s status as an attorney.

Texas

No

Can seek
reinstatement
after 5 years

Discipline for professional conduct outlined here.
Rule 11.02, petition for reinstatement here.

The disbarred lawyer must prove that reinstatement is in the
best interest of the public and the profession, as well as the

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ends of justice. The disbarred lawyer must still pass the Bar
Exam administered by the Texas Board of Law Examiners.

In determining the petitioner’s fitness for reinstatement, in
addition to any other relevant matters, the trial court may
consider:

A. Evidence concerning the nature and degree of
Professional Misconduct for which the petitioner was
disbarred or resigned and the circumstances attending the
offenses.

B. The petitioner’s understanding of the serious nature of the
acts for which he or she was disbarred or resigned.

C. The petitioner’s conduct during the Disciplinary
Proceeding and Disciplinary Action.

D. The profit to the petitioner and the hardship to others.

E. The petitioner’s attitude toward the administration of
justice and the practice of law.

F. The petitioner’s good works and other accomplishments.
G. Any other evidence relevant to the issues of the
petitioner’s fitness to practice law and the likelihood that the
petitioner will not engage in further misconduct.

Utah No Info from Bar Association here.
UCJA Rule 14-707

Can seek
reinstatement UCIA Rule 14-717
after 5 years

An Applicant for readmission to the Bar after disbarment or
resignation with discipline pending shall satisfy all
requirements of this article, including Rules 14-703 (MPRE
exam, record of ethical conduct) 14-707(c) (5-year wait for
reinstatement), 14-708 (character & fitness) and 14-716
(license fees/oath), and shall satisfy all other requirements
imposed by Rule 14-525, the OPC, and Utah courts.

A Disbarred Attorney Applicant has the burden of proving
rehabilitation by clear and convincing evidence. To prove
rehabilitation, the Applicant must demonstrate and provide
evidence of the following:

- strict compliance with all disciplinary and judicial orders;
- full restitution of funds or property where applicable;
-a lack of malice toward those who instituted the original

proceeding against the Applicant,

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- unimpeachable character and moral standing in the
community;

- acceptance of responsibility for the conduct leading to the
discipline;

- a desire and intent to conduct one's self in an exemplary
fashion in the future;

- treatment for and current control of any substance abuse
problem and/or psychological condition, if such were factors
contributing to the disbarment or resignation; and

- positive action showing rehabilitation by such things as a
person's occupation or community or civic service.

after 5 years

Vermont No Vermont Admin. Order 9, (Sec. 26(A) and (D))
An attorney seeking reinstatement shall have the burden of
Can seek demonstrating by clear and convincing evidence that they
reinstatement have the moral qualifications, competency, and learning
after 5 years required for admission to practice law in the state, and the
resumption of the practice of law will be neither detrimental
to the integrity and standing of the bar or the administration
of justice nor subversive of the public interest and that the
attorney has been rehabilitated.
Virginia No Virginia Supreme Court Rules, Part VI, Sec. IV, Par. 13 (13-
25)
Can seek
reinstatement The Petitioner must show:

~ Within five years prior to the filing of the petition,
Petitioner has attended 60 hours of continuing legal
education, of which at least ten hours shall be in the area of
legal ethics or professionalism;

- The Petitioner has taken the Multistate Professional
Responsibility Examination and received a scaled score of
85 or higher;

- The Petitioner has reimbursed all costs previously assessed
and all sums paid by the Bar as a result of Petitioner's
Misconduct.

Petitioner must further prove by clear and convincing
evidence that Petitioner is a person of honest demeanor and
good moral character and possesses the requisite fitness to
practice law.

The following factors are taken into consideration:

i. The severity of the Petitioner's Misconduct, including, but
not limited to, the nature and circumstances of the
Misconduct;

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ii. The Petitioner's character, maturity and experience at the
time of his or her Revocation;

iii. The time elapsed since the Petitioner's Revocation;

iv. Restitution to the clients and/or the Bar;

v. The Petitioner's activities since Revocation, including, but
not limited to, his or her conduct and attitude during that
period of time;

vi. The Petitioner's present reputation and standing in the
community;

vii. The Petitioner's familiarity with the Virginia Rules of
Professional Conduct and his or her current proficiency in
the law;

viii. The sufficiency of the punishment undergone by the
Petitioner;

ix. The Petitioner's sincerity, frankness and truthfulness in
presenting and discussing factors relating to his or her
Revocation and Reinstatement; and

x. The impact upon public confidence in the administration
of

Justice if the Petitioner's License is restored.

Upon approval of a petition by this Court, the Petitioner
shall meet the following requirements prior to and as a
condition of his or her Reinstatement:

a) Pay to the Bar any Costs assessed in connection with the
Reinstatement Proceeding;

b) Take and pass the written portion of the Virginia State
Bar examination;

c) If required by the Board, obtain and maintain a
professional liability insurance policy issued by a company
authorized to write such insurance in Virginia at the cost of
the Petitioner in an amount and for such term as set by the
Board; and

d) If required by the Board, obtain and maintain a blanket
fidelity bond or dishonesty insurance policy issued by a
company authorized to write such bonds or insurance in
Virginia at the Petitioner's cost in an amount and for such
term as set by the Board.

Washington No Washington State Court Rules APR 25.1. is here.

All Petitions for Reinstatement after Disbarment shall be
referred for hearing before the character and Fitness Board.
The provisions of APR 20 through 24.3 shall apply to
petitions for reinstatement unless otherwise provided for in
APR 25 through 25.6.

Can seek
reinstatement
after 5 years

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after 5 years

West Virginia No WVA Disciplinary Conduct Rule (3.33)
A person seeking reinstatement must recite in a petition the
Can seek cause of the disbarment and what the person has done to
reinstatement satisfy requirements as to rehabilitation, restitution,
after 5 years conditions or other acts incident thereto, by reason of which
the person should be reinstated as a member of the state bar
with their license to practice law restored.
Wisconsin No Wisconsin Disciplinary Rule 22.2-.34
Can seek A petition for reinstatement shall show all of the following:
reinstatement

(a) The petitioner desires to have the petitioner's license
reinstated.

(b) The petitioner has not practiced law during the period of
suspension or revocation.

(c) The petitioner has complied fully with the terms of the
order of suspension or revocation and will continue to
comply with them until the petitioner's license is reinstated.
(d) The petitioner has maintained competence and learning
in

the law by attendance at identified educational activities.
(e) The petitioner's conduct since the suspension or
revocation

has been exemplary and above reproach.

(f) The petitioner has a proper understanding of and attitude
toward the standards that are imposed upon members of the
bar and will act in conformity with the standards.

(g) The petitioner can safely be recommended to the legal
profession, the courts and the public as a person fit to be
consulted by others and to represent them and otherwise act
in matters of trust and confidence and in general to aid in the
administration of Justice as a member of the bar and as an
officer of the courts.

(h) The petitioner has fully complied with the requirements
set

forth in SCR 22.26.

(j) The petitioner's proposed use of the license if reinstated.
(k) A full description of all of the petitioner's business
activities during the period of suspension or revocation.

(m) The petitioner has made restitution to or settled all
claims of persons injured or harmed by petitioner's
misconduct, including reimbursement to the Wisconsin
lawyers’ fund for client protection for all payments made
from that fund, or, if not, the petitioner's explanation of the
failure or inability to do so.

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The petitioner has the burden of demonstrating. by clear,
satisfactory, and convincing evidence, all of the following:
(1) That they have the moral character to practice law in
Wisconsin.

(2) That their resumption of the practice of law will not be
detrimental to the administration of justice or subversive of
the public interest.

(3) That their representations in the petition, including the
representations required by SCR 22.29(4)(a) to (m) and
22.29(5). are substantiated.

(4) That they have complied fully with the terms of the order
of suspension or revocation and with the requirements of
SCR 22.26.

Here is information about reinstatement.

Wyoming No Wvoming Rules of Disciplinary Procedure are here.
. o ~ Qo « emnnnconinnte
Can seck Reinstatement Rule 22,
reinstatement
after 5 years The attorney seeking reinstatement must prove by clear and

convincing evidence that the attorney has been rehabilitated,
has complied with all applicable disciplinary orders and with
all provisions of these rules, has not engaged in the
unauthorized practice of law, and is fit to practice law.

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EXHIBIT 2
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Che Supreme Court of @hio

Disciplinary Counsel, ‘
Relator, é Case No. 2014-2157
v.
Steven James Terry, ¢ ORDER
Respondent. g

This matter came on for further consideration upon the filing by respondent of a motion to
vacate judgment, or alternatively, motion for waiver of Gov.Bar R. V(12)(B).

Upon consideration thereof, it is ordered by the court that the motion is denied.

Sfaron L. Kennedy
hief Justice

The Official Case Announcement can be found at http:/Avww.supremecourt.chio/gov/ROD/docs/
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